                 Case 19-12826               Doc 1        Filed 08/20/19 Entered 08/20/19 21:58:54                         Desc Main
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 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________ District of _________________
     District of Massachusetts           (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                                Chapter 11
                                                                Chapter 12
                                                                Chapter 13                                                Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Gaetano
                                        __________________________________________________           __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or          John
                                        __________________________________________________           __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Scarpaci
                                        __________________________________________________           __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names.




3.    Only the last 4 digits of                           9    1    7    9
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


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                                 About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                
                                 ✔ I have not used any business names or EINs.                 I have not used any business names or EINs.
     Identification Numbers
     (EIN) you have used in      _________________________________________________            _________________________________________________
     the last 8 years            Business name                                                Business name

     Include trade names and
                                 _________________________________________________            _________________________________________________
     doing business as names     Business name                                                Business name



                                 _________________________________________________            _________________________________________________
                                 EIN                                                          EIN

                                 _________________________________________________            _________________________________________________

                                 EIN                                                          EIN



5.   Where you live                                                                           If Debtor 2 lives at a different address:


                                 4 Main Street                                                _________________________________________________
                                 _________________________________________________
                                 Number     Street                                            Number     Street


                                 _________________________________________________            _________________________________________________


                                 Kingston                                MA
                                 _________________________________________________
                                                                                   02364      _________________________________________________
                                 City                            State   ZIP Code             City                            State   ZIP Code

                                 Plymouth County                                              _________________________________________________
                                 _________________________________________________
                                 County                                                       County


                                 If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                 above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                 any notices to you at this mailing address.                  any notices to this mailing address.


                                 _________________________________________________            _________________________________________________
                                 Number     Street                                            Number     Street

                                 _________________________________________________            _________________________________________________
                                 P.O. Box                                                     P.O. Box

                                 _________________________________________________            _________________________________________________
                                 City                            State   ZIP Code             City                            State   ZIP Code




6.   Why you are choosing        Check one:                                                   Check one:
     this district to file for
     bankruptcy                  
                                 ✔ Over the last 180 days before filing this petition, I       Over the last 180 days before filing this petition, I
                                       have lived in this district longer than in any other      have lived in this district longer than in any other
                                       district.                                                 district.

                                  I have another reason. Explain.                             I have another reason. Explain.
                                       (See 28 U.S.C. § 1408.)                                   (See 28 U.S.C. § 1408.)




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 Pa rt 2 :     T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.    The chapter of the             Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
       Bankruptcy Code you            for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       are choosing to file
       under
                                      
                                      ✔
                                        Chapter 7
                                       Chapter 11
                                       Chapter 12
                                       Chapter 13

 8.    How you will pay the fee       
                                      ✔
                                        I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                         local court for more details about how you may pay. Typically, if you are paying the fee
                                         yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                         submitting your payment on your behalf, your attorney may pay with a credit card or check
                                         with a pre-printed address.

                                       I need to pay the fee in installments. If you choose this option, sign and attach the
                                         Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                         By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                         less than 150% of the official poverty line that applies to your family size and you are unable to
                                         pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                         Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.     Have you filed for       
                                ✔ No
       bankruptcy within the
       last 8 years?             Yes.   District ____________________________________________ When ______________ Case number __________________


                                         District ____________________________________________ When ______________ Case number __________________


                                         District ____________________________________________ When ______________ Case number __________________




 10.   Are any bankruptcy              ✔ No
       cases pending or being
       filed by a spouse who is         Yes.
       not filing this case with
       you, or by a business
       partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
       affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                Debtor _________________________________________________                    R elationship to you ___________________________

                                District _______________________________________________ When _______________ Case number, if known__________________


11.    Do you rent your               
                                      ✔ No.    Go to line 12.
       residence?                      Yes.   Has your landlord obtained an eviction judgment against you?


                                                   No. Go to line 12.
                                                   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                    this bankruptcy petition.




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Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12.   Are you a sole proprietor          No. Go to Part 4.
      of any full- or part-time
      business?                         
                                        ✔ Yes. Name and location of business
      A sole proprietorship is a                 Rocky Nook Waterproofing & Mold Removal
      business you operate as an                 _______________________________________________________________________________________
                                                 Name of business, if any
      individual, and is not a
      separate legal entity such as              4 Main Street
      a corporation, partnership, or             _______________________________________________________________________________________
                                                 Number    Street
      LLC.
      If you have more than one
                                                 _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it               Kingston                                               MA           02364
      to this petition.                          _______________________________________________        _______      __________________________
                                                  City                                                  State        ZIP Code


                                                 Check the appropriate box to describe your business:
                                                    Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                    Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                    Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                    Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                 
                                                 ✔   None of the above


13.   Are you filing under              If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                 can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and               most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                        
                                        ✔ No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see               No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                      the Bankruptcy Code.

                                         Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                 Bankruptcy Code.


Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m e dia t e Att e nt ion


14.   Do you own or have any            
                                        ✔ No
      property that poses or is
      alleged to pose a threat           Yes.    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                  If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                  Where is the property?




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Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit             You must check one:                                          You must check one:
      counseling.
                                        
                                        ✔ I received a briefing from an approved credit               I received a briefing from an approved credit
                                           counseling agency within the 180 days before I               counseling agency within the 180 days before I
      The law requires that you            filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
      receive a briefing about credit      certificate of completion.                                   certificate of completion.
      counseling before you file for
                                           Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
      bankruptcy. You must
                                           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you          I received a briefing from an approved credit               I received a briefing from an approved credit
      cannot do so, you are not            counseling agency within the 180 days before I               counseling agency within the 180 days before I
      eligible to file.                    filed this bankruptcy petition, but I do not have a          filed this bankruptcy petition, but I do not have a
                                           certificate of completion.                                   certificate of completion.
      If you file anyway, the court
                                           Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                           plan, if any.                                                plan, if any.
      you paid, and your creditors
      can begin collection activities    I certify that I asked for credit counseling                I certify that I asked for credit counseling
      again.                               services from an approved agency, but was                    services from an approved agency, but was
                                           unable to obtain those services during the 7                 unable to obtain those services during the 7
                                           days after I made my request, and exigent                    days after I made my request, and exigent
                                           circumstances merit a 30-day temporary waiver                circumstances merit a 30-day temporary waiver
                                           of the requirement.                                          of the requirement.
                                           To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                           requirement, attach a separate sheet explaining              requirement, attach a separate sheet explaining
                                           what efforts you made to obtain the briefing, why            what efforts you made to obtain the briefing, why
                                           you were unable to obtain it before you filed for            you were unable to obtain it before you filed for
                                           bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
                                           required you to file this case.                              required you to file this case.
                                           Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                           dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                           briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.
                                           If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                           still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                           You must file a certificate from the approved                You must file a certificate from the approved
                                           agency, along with a copy of the payment plan you            agency, along with a copy of the payment plan you
                                           developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                           may be dismissed.                                            may be dismissed.
                                           Any extension of the 30-day deadline is granted              Any extension of the 30-day deadline is granted
                                           only for cause and is limited to a maximum of 15             only for cause and is limited to a maximum of 15
                                           days.                                                        days.

                                         I am not required to receive a briefing about               I am not required to receive a briefing about
                                           credit counseling because of:                                credit counseling because of:

                                            Incapacity.      I have a mental illness or a mental        Incapacity.      I have a mental illness or a mental
                                                              deficiency that makes me                                     deficiency that makes me
                                                              incapable of realizing or making                             incapable of realizing or making
                                                              rational decisions about finances.                           rational decisions about finances.
                                            Disability.      My physical disability causes me           Disability.      My physical disability causes me
                                                              to be unable to participate in a                             to be unable to participate in a
                                                              briefing in person, by phone, or                             briefing in person, by phone, or
                                                              through the internet, even after I                           through the internet, even after I
                                                              reasonably tried to do so.                                   reasonably tried to do so.
                                            Active duty.     I am currently on active military          Active duty.     I am currently on active military
                                                              duty in a military combat zone.                              duty in a military combat zone.
                                           If you believe you are not required to receive a             If you believe you are not required to receive a
                                           briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                           motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.




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Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                      16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                           
                                           ✔   No. Go to line 16b.
                                              Yes. Go to line 17.

                                      16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                              No. Go to line 16c.
                                           
                                           ✔   Yes. Go to line 17.

                                      16c. State the type of debts you owe that are not consumer debts or business debts.
                                           _______________________________________________________________

17.   Are you filing under
      Chapter 7?                       No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                        No
                                         ✔
      administrative expenses
      are paid that funds will be         Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do            1-49                                    1,000-5,000                             25,001-50,000
      you estimate that you            50-99                                   5,001-10,000                            50,001-100,000
      owe?                             100-199                                 10,001-25,000                           More than 100,000
                                      
                                      ✔ 200-999
19.   How much do you                 
                                      ✔ $0-$50,000                              $1,000,001-$10 million                  $500,000,001-$1 billion
      estimate your assets to          $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
      be worth?                        $100,001-$500,000                       $50,000,001-$100 million                $10,000,000,001-$50 billion
                                       $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
20.   How much do you                 
                                      ✔ $0-$50,000                              $1,000,001-$10 million                  $500,000,001-$1 billion
      estimate your liabilities        $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
      to be?                           $100,001-$500,000                       $50,000,001-$100 million                $10,000,000,001-$50 billion
                                       $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
Pa rt 7 :      Sign Be low

                                      I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                               correct.
                                      If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                      of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                      under Chapter 7.
                                      If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                      this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                      I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                      I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                      with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                      18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                       /s/ Gaetano John Scarpaci
                                         ______________________________________________              _____________________________
                                         Signature of Debtor 1                                           Signature of Debtor 2

                                                         08/20/2019
                                         Executed on _________________                                   Executed on __________________
                                                        MM    / DD    / YYYY                                            MM / DD     / YYYY




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                                I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are   to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one              available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented      knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                _________________________________
                                  /s/ Tiffanie Ellis-Niles                                          Date           08/20/2019
                                                                                                                  _________________
                                   Signature of Attorney for Debtor                                               MM     /    DD / YYYY



                                     Tiffanie Ellis-Niles
                                   _________________________________________________________________________________________________
                                   Printed name

                                     Lyles and Niles LLP
                                   _________________________________________________________________________________________________
                                   Firm name

                                    1191 N. Main Street
                                   _________________________________________________________________________________________________
                                   Number Street

                                    Suite 209
                                   _________________________________________________________________________________________________

                                    Randolph                                                        MA            02368
                                   ______________________________________________________ ____________ ______________________________
                                   City                                                    State        ZIP Code




                                   Contact phone (781)  767-7866
                                                  ______________________________        Email address
                                                                                                        niles.tiffanie@gmail.com
                                                                                                        _________________________________________



                                    664026                                                          MA
                                   ______________________________________________________ ____________
                                   Bar number                                              State




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Fill in this information                  Docand
                         to identify your case 1 thisFiled
                                                      filing:08/20/19                      Entered 08/20/19 21:58:54            Desc Main
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Debtor 1
                   Gaetano John Scarpaci
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the: District of Massachusetts District of __________
                                                                                    (State)
Case number         ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Sche dule A/B: Prope r t y                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Pa rt 1 :      De sc ribe Ea c h Re side nc e , Building, La nd, or Othe r Re a l Est a t e You Ow n or H a ve a n I nt e re st I n
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    
    ✔    No. Go to Part 2.
        Yes. Where is the property?                             What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                           the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property:
      1.1. _________________________________________
           Street address, if available, or other description
                                                                     Duplex or multi-unit building
                                                                     Condominium or cooperative                   Current value of the Current value of the
                                                                     Manufactured or mobile home                  entire property?     portion you own?
             _________________________________________
                                                                     Land                                         $________________ $_________________
                                                                     Investment property
                                                                                                                   Describe the nature of your ownership
             _________________________________________
             City                    State   ZIP Code
                                                                     Timeshare                                    interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.

                                                                 Who has an interest in the property? Check one.   __________________________________________

                                                                  Debtor 1 only                                    Check if this is community property
             _________________________________________
             County                                               Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




    If you own or have more than one, list here:                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare                                     Describe the nature of your ownership
                                                                    Other __________________________________      interest (such as fee simple, tenancy by
                                                                                                                   the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                 Debtor 1 only
             ________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                 At least one of the debtors and another             (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number:




                                                                                                                                                 page 1 of ___
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1.____                                                            What is the property? Check all that apply.             Do not deduct secured claims or exemptions. Put

            ________________________________________
                                                                     Single-family home                                  the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
            Street address, if available, or other description       Duplex or multi-unit building
                                                                     Condominium or cooperative                          Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
            ________________________________________                 Manufactured or mobile home
                                                                     Land                                                $________________         $_________________

            ________________________________________
                                                                     Investment property
            City                    State   ZIP Code                 Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                     Other __________________________________            the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                  Who has an interest in the property? Check one.
            ________________________________________               Debtor 1 only
            County
                                                                   Debtor 2 only
                                                                   Debtor 1 and Debtor 2 only                             Check if this is community property
                                                                                                                              (see instructions)
                                                                   At least one of the debtors and another
                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  0.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 


Pa rt 2 :      De sc ribe Y our V e hic le s


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   
   ✔     No
        Yes

            Make: ____________________________                    Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
    3.1.

            Model: ____________________________                   
                                                                  ✔ Debtor 1 only                                         the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                   Debtor 2 only
            Year:                      ____________
                                                                   Debtor 1 and Debtor 2 only                            Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
            Approximate mileage: ____________                      At least one of the debtors and another
            Other information:
                                                                   Check if this is community property (see              $________________         $________________
                                                                      instructions)



   If you own or have more than one, describe here:
            Make: ____________________________                    Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
    3.2.

            Model: ____________________________                    Debtor 1 only                                         the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                   Debtor 2 only
            Year:                     ____________                                                                        Current value of the      Current value of the
                                                                   Debtor 1 and Debtor 2 only                            entire property?          portion you own?
            Approximate mileage: ____________                      At least one of the debtors and another
            Other information:
                                                                   Check if this is community property (see              $________________         $________________
                                                                      instructions)




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                       ____________________________                           Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
  ____.    Make:
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




                                                                              Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
 ____      Make: ____________________________
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   ✔    No
       Yes


                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________
                                                                              Debtor 1 and Debtor 2 only                                               Current value of the             Current value of the
            Other information:                                                At least one of the debtors and another                                  entire property?                 portion you own?

                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:
                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________                                                                                                                    Current value of the             Current value of the
                                                                              Debtor 1 and Debtor 2 only                                               entire property?                 portion you own?
            Other information:                                                At least one of the debtors and another
                                                                                                                                                        $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                      0.00
                                                                                                                                                                                        $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................




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Pa rt 3 :      De sc ribe Y our Pe rsona l a nd H ouse hold It e m s

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
   Examples: Major appliances, furniture, linens, china, kitchenware
                             Lamps and accessories, Bedroom furniture, Televisions(s), Cooking Utensils
    No
   
   ✔ Yes. Describe. ........


                                                                                                                                                                                                      650.00
                                                                                                                                                                                                    $___________________

7. Electronics

   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   
   ✔ No

   Yes. Describe. ........                                                                                                                                                                           0.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                         0.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   ✔    No
       Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                        0.00
                                                                                                                                                                                                    $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No                   All clothing
   
   ✔    Yes. Describe. .........                                                                                                                                                                      500.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No                       Wedding rings
   
   ✔    Yes. Describe. .........                                                                                                                                                                      50.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   ✔    No
       Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list
                                         Cell phones
       No
   
   ✔    Yes. Give specific                                                                                                                                                                            100.00
                                                                                                                                                                                                    $___________________
        information...............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        1,300.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 


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Pa rt 4 :     De sc ribe Y our Fina nc ia l Asse t s

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                        Current value of the
                                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                                   or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   
   ✔   No
      Yes .....................................................................................................................................................................   Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   ✔   Yes .....................                 Institution name:


   17.1. Checking account:
                                                 Harbor One                                                                           700.00
                                                 ___________________________________________________________________________________ $__________________

   17.2. Checking account:                       ___________________________________________________________________________________ $__________________

   17.3. Savings account:                        ___________________________________________________________________________________ $__________________

   17.4. Savings account:                        ___________________________________________________________________________________ $__________________

   17.5. Certificates of deposit: ___________________________________________________________________________________                                                                                               $__________________
   17.6. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.7. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.8. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.9. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   
   ✔   No
      Yes ..................
   Institution or issuer name:
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________                                                                                              $__________________
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________                                                                                              $__________________



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
   
   ✔ No

    Yes. Give specific
       information about                                                                                                                                                                                            $__________________
       them. ........................
                                                                                                                                                                                                                    $__________________
  Name of entity:                                                                                                                                                                         % of ownership:
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
  _____________________________________________________________________________________________________                                                                                       ___________%
                                                                                                                                                                                                                    $__________________
  _____________________________________________________________________________________________________                                                                                       ___________%

  _____________________________________________________________________________________________________                                                                                       ___________%          $__________________


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20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    
    ✔ No

     Yes. Give specific
         information about
         them. ......................
    Issuer name:

    ___________________________________________________________________________________________________________________
                                                                                                                                       $__________________

    ___________________________________________________________________________________________________________________ $__________________

    ________________________________________________________________________________________________________________ $__________________

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   ✔ No

    Yes. List each
         account separately.                Institution name:
         Type of account:

 401(k) or similar plan:           _________________________________________________________________________________________________   $__________________
                                                                                                                                       $__________________
 Pension plan:                     _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 IRA:                              _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Retirement account:               _________________________________________________________________________________________________   $___________________
                                                                                                                                       $_________________
 Keogh:                            _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

    
    ✔    No
        Yes ...........................    Institution name or individual:

Electric:                  ____________________________________________________________________________________________________
                                                                                                                                       $___________________

Gas:                       ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Heating oil:               _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rental unit:               ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Prepaid rent:              _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Telephone:                 _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Water:                     _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rented furniture:        ______________________________________________________________________________________________________ $___________________
                                                                                                                                $___________________

Other:                   ___________________________________________________________________________________________________ $___________________
                                                                                                                             $___________________

                                                                                                                                       $__________________
                                                                                                                                       _
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

    
    ✔    No
        Yes ...........................   Issuer name and description:
_____________________________________________________________________________________________________________________                  $__________________

_____________________________________________________________________________________________________________________                  $__________________
_____________________________________________________________________________________________________________________                  $__________________
                                                                                                                                       $__________________
                                                                                                                                       $__________________
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   ✔   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   ✔   No
      Yes. Give specific information                                                                                         Federal:               0.00
                                                                                                                                                    $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                 0.00
                                                                                                                                                    $_________________
            and the tax years. ......................                                                                                                0.00
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   ✔   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Maintenance:                0.00
                                                                                                                                                        $________________
                                                                                                                             Support:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Divorce settlement:         0.00
                                                                                                                                                        $________________
                                                                                                                             Property settlement:        0.00
                                                                                                                                                        $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   ✔   No
      Yes. Give specific information. ...............
                                                                                                                                                          0.00
                                                                                                                                                        $______________________



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31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
   
   ✔   Yes. Name the insurance company             Company name:                                                                                 Beneficiary:                                        Surrender or refund value:
            of each policy and list its value. ...
      Hartford
      ____________________________________________________________________________
                                                                                                                                                 Tina Collins
                                                                                                                                               ____________________________                            18,500.00
                                                                                                                                                                                                     $__________________
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                               ___________________________                         $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   ✔    No
       Yes. Give specific information. .............
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   ✔    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   ✔    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   ✔    No
       Yes. Give specific information. ...........                                                                                                                                                   0.00
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       19,200.00
                                                                                                                                                                                                     $_____________________




Pa rt 5 :        De sc ribe Any Busine ss-Re la t e d Prope rt y Y ou Ow n or H a ve a n I nt e re st I n. List a ny re a l e st a t e in Pa rt 1 .

37. Do you own or have any legal or equitable interest in any business-related property?

   
   ✔    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       No
       Yes. Describe .......                                                                                                                                                                      $_____________________



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40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________


41. Inventory
       No
       Yes. Describe .......                                                                                                                                                                      $_____________________


42. Interests in partnerships or joint ventures

       No
       Yes. Describe ....... Name of entity:                                                                                                                         % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
       No
       Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                     No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
       No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Pa rt 6 :        De sc ribe Any Fa rm - a nd Com m e rc ia l Fishing-Re la t e d Prope rt y You Ow n or H a ve a n I nt e re st In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   ✔    No. Go to Part 7.
       Yes. Go to line 47.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
       No
       Yes ...........................

                                                                                                                                                                                                     $___________________



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48. Crops—either growing or harvested

          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

51. Any farm- and commercial fishing-related property you did not already list
          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                               $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Pa rt 7 :           De sc ribe All Prope rt y Y ou Ow n or H a ve a n I nt e re st in T ha t Y ou Did N ot List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     ✔     No
          Yes. Give specific
           information. ............




54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                                 $________________




Pa rt 8 :           List t he T ot a ls of Ea c h Pa rt of t his Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................
                                                                                                                                                                                                                0.00
                                                                                                                                                                                                               $________________

56. Part 2: Total vehicles, line 5                                                                                    0.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               1,300.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           19,200.00
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                               0.00
                                                                                                                + $________________
62. Total personal property. Add lines 56 through 61. ...................                                             20,500.00
                                                                                                                     $________________ Copy personal property total                                              20,500.00
                                                                                                                                                                                                              + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                       20,500.00
                                                                                                                                                                                                               $_________________



                                                                                                                                                                                                                                  10
                                                                                                                                                                                                                            10 of __
                                                                                                                                                                                                                       page ___
                  Case 19-12826               Doc 1          Filed 08/20/19 Entered 08/20/19 21:58:54                                      Desc Main
                                                              Document     Page 18 of 347
 Fill in this information to identify your case:

                     Gaetano John Scarpaci
 Debtor 1          __________________________________________________________________
                     First Name                Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Massachusetts District of __________
                                                                                      (State)
 Case number
  (If known)
                     ___________________________________________                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                              4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on         Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                 portion you own                           exemption you claim

                                                             Copy the value from                       Check only one box
                                                             Schedule A/B                              for each exemption
                 Household goods - Cooking Utensils                                                                                   Mass. Gen. Laws ch. 235, § 34 (1)
 Brief
 description:
                                                                     100.00
                                                                    $________________           
                                                                                                ✔ $ ____________
                                                                                                    100.00
                                                                                                  100% of fair market value, up to
 Line from                                                                                           any applicable statutory limit
 Schedule A/B:        6
                 Household goods - Televisions(s)                                                                                     Mass. Gen. Laws ch. 235, § 34 (1)
 Brief
 description:
                                                                      200.00
                                                                    $________________            $ ____________
                                                                                                 ✔  200.00
                                                                                                  100% of fair market value, up to
 Line from                                                                                           any applicable statutory limit
 Schedule A/B:        6
                 Household goods - Lamps and accessories                                                                              Mass. Gen. Laws ch. 235, § 34 (1)
 Brief
 description:                                                       $________________
                                                                      50.00                     
                                                                                                ✔ $ ____________
                                                                                                    50.00
                                                                                                  100% of fair market value, up to
 Line from                                                                                           any applicable statutory limit
 Schedule A/B:           6

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                              2
                                                                                                                                                             page 1 of __
                Case 19-12826 Doc 1 Filed 08/20/19 Entered 08/20/19 21:58:54 Desc Main
Debtor           Gaetano John Scarpaci Document
                _______________________________________________________ Page 19 of Case
                                                                                   347number (if known)_____________________________________
                First Name       Middle Name         Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                             Amount of the                       Specific laws that allow exemption
                                                                    Current value of the   exemption you claim
         on Schedule A/B that lists this property                   portion you own
                                                                   Copy the value from    Check only one box
                                                                    Schedule A/B           for each exemption
               Household goods - Bedroom furniture                                                                              Mass. Gen. Laws ch. 235, § 34 (1)
Brief
description:
                                                                      300.00
                                                                     $________________        300.00
                                                                                           ✔ $ ____________

                                                                                            100% of fair market value, up to
Line from                                                                                     any applicable statutory limit
Schedule A/B:         6
               Clothing - All clothing                                                                                          Mass. Gen. Laws ch. 235, § 34 (1)
Brief
description:                                                         $________________
                                                                      500.00               
                                                                                           ✔ $ ____________
                                                                                               500.00
                                                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit
Line from
Schedule A/B:         11
               Jewelry - Wedding rings                                                                                          Mass. Gen. Laws ch. 235, § 34 (18)
Brief
description:                                                         $________________
                                                                      50.00                
                                                                                           ✔ $ ____________
                                                                                               50.00
                                                                                            100% of fair market value, up to
Line from                                                                                     any applicable statutory limit
Schedule A/B:          12
               Other - Cell phones                                                                                              Mass. Gen. Laws ch. 235, § 34 (1)
Brief
description:
                                                                      100.00
                                                                     $________________        100.00
                                                                                           ✔ $ ____________

                                                                                            100% of fair market value, up to
Line from                                                                                     any applicable statutory limit
Schedule A/B:         14
               Harbor One (Checking)                                                                                            Mass. Gen. Laws ch. 235, § 34 (15);
Brief                                                                                                                           Mass. Gen. Laws ch. 246, § 28A
description:
                                                                      700.00
                                                                     $________________        700.00
                                                                                           ✔ $ ____________

                                                                                            100% of fair market value, up to
Line from                                                                                     any applicable statutory limit
Schedule A/B:          17.1
               Hartford                                                                                                         Mass. Gen. Laws ch. 175, § 135
Brief
description:
                                                                      18,500.00
                                                                     $________________        18,500.00
                                                                                           ✔ $ ____________

                                                                                            100% of fair market value, up to
Line from                                                                                     any applicable statutory limit
Schedule A/B:           31

Brief
description:                                                         $________________      $ ____________
                                                                                            100% of fair market value, up to
Line from                                                                                     any applicable statutory limit
Schedule A/B:
Brief
description:                                                         $________________      $ ____________
                                                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                         $________________      $ ____________
                                                                                            100% of fair market value, up to
Line from                                                                                     any applicable statutory limit
Schedule A/B:
Brief
description:                                                         $________________      $ ____________
                                                                                            100% of fair market value, up to
Line from                                                                                     any applicable statutory limit
Schedule A/B:
Brief
description:                                                         $________________      $ ____________
                                                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                         $________________      $ ____________
                                                                                            100% of fair market value, up to
Line from                                                                                     any applicable statutory limit
Schedule A/B:


 Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                2
                                                                                                                                                page ___ of __ 2
                     Case 19-12826                 Doc 1          Filed 08/20/19 Entered 08/20/19 21:58:54                                      Desc Main
                                                                   Document     Page 20 of 347
 Fill in this information to identify your case:

                     Gaetano John Scarpaci
 Debtor 1           __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Massachusetts District of __________
                                                                                           (State)
 Case number         ___________________________________________
 (If known)                                                                                                                                             Check if this is an
                                                                                                                                                           amended filing


Official Form 106D
Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
      
      ✔      No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.


Pa rt 1 :        List All Se c ure d Cla im s
                                                                                                                           Column A             Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                         Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                      that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor’s name.          value of collateral.                   claim                 If any

2.1                                                        Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

      ______________________________________               As of the date you file, the claim is: Check all that apply.

      ______________________________________
                                                               Contingent
      City                          State   ZIP Code           Unliquidated
  Who owes the debt? Check one.                                Disputed
       Debtor 1 only                                      Nature of lien. Check all that apply.
       Debtor 2 only
                                                               An agreement you made (such as mortgage or secured
       Debtor 1 and Debtor 2 only                              car loan)
       At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a
                                                               Judgment lien from a lawsuit
     community debt                                            Other (including a right to offset) ____________________
  Date debt was incurred ____________                      Last 4 digits of account number
2.2                                                        Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

      ______________________________________
                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________                   Contingent
      City                          State   ZIP Code           Unliquidated
  Who owes the debt? Check one.                                Disputed
       Debtor 1 only                                      Nature of lien. Check all that apply.
       Debtor 2 only
                                                               An agreement you made (such as mortgage or secured
       Debtor 1 and Debtor 2 only                              car loan)
       At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a                          Judgment lien from a lawsuit
     community debt                                            Other (including a right to offset) ____________________
  Date debt was incurred ____________                      Last 4 digits of account number
      Add the dollar value of your entries in Column A on this page. Write that number here:                               $_________________
                                                                                                                             0.00

   Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of ___
                                                                                                                                                                        1
              Case 19-12826                Doc 1        Filed 08/20/19 Entered 08/20/19 21:58:54                               Desc Main
              Gaetano John Scarpaci                      Document     Page 21 of 347
Debtor 1       _______________________________________________________                          Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt T ha t You Alre a dy List e d

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code


  Official Form 106D                       Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page ___
                                                                                                                                                   1 of ___
                                                                                                                                                        1
                         Case 19-12826                  Doc 1         Filed 08/20/19 Entered 08/20/19 21:58:54                                    Desc Main
  Fill in this information to identify your case:                      Document     Page 22 of 347
                           Gaetano John Scarpaci
      Debtor 1           __________________________________________________________________
                          First Name                    Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                    Middle Name              Last Name


      United States Bankruptcy Court for the: ______________________
                                              District of Massachusetts District of __________
                                                                                             (State)
      Case number         ___________________________________________
                                                                                                                                                         Check if this is an
      (If known)                                                                                                                                            amended filing


 Official Form 106E/F
 Sc he dule E/F: Cre dit ors Who H a ve U nse c ure d Cla im s                                                                                                        12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Pa rt 1 :             List All of Y our PRIORI T Y Unse c ure d Cla im s

 1. Do any creditors have priority unsecured claims against you?
         
         ✔ No. Go to Part 2.

          Yes.
 2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                        Total claim    Priority     Nonpriority
                                                                                                                                                       amount       amount
2.1
                                                                        Last 4 digits of account number                            $_____________ $___________ $____________
           ____________________________________________
           Priority Creditor’s Name
                                                                        When was the debt incurred?          ____________
           ____________________________________________
           Number            Street
           ____________________________________________                 As of the date you file, the claim is: Check all that apply.
           ____________________________________________                    Contingent
           City                                 State    ZIP Code
                                                                           Unliquidated
           Who incurred the debt? Check one.                               Disputed
                 Debtor 1 only                                         Type of PRIORITY unsecured claim:
                 Debtor 2 only                                            Domestic support obligations
                 Debtor 1 and Debtor 2 only                               Taxes and certain other debts you owe the government
                 At least one of the debtors and another
                                                                           Claims for death or personal injury while you were
                 Check if this claim is for a community debt               intoxicated
                                                                           Other. Specify
           Is the claim subject to offset?
                 No
                 Yes
2.2
                                                                        Last 4 digits of account number                                $_____________ $___________ $____________
            ____________________________________________
            Priority Creditor’s Name                                    When was the debt incurred?          ____________
            ____________________________________________
            Number           Street                                     As of the date you file, the claim is: Check all that apply.
            ____________________________________________                   Contingent
            ____________________________________________                   Unliquidated
            City                                State    ZIP Code
                                                                           Disputed
            Who incurred the debt? Check one.
                  Debtor 1 only                                        Type of PRIORITY unsecured claim:
                  Debtor 2 only                                           Domestic support obligations
                  Debtor 1 and Debtor 2 only                              Taxes and certain other debts you owe the government
                  At least one of the debtors and another
                                                                           Claims for death or personal injury while you were
                  Check if this claim is for a community debt              intoxicated
                                                                           Other. Specify
           Is the claim subject to offset?
                  No
                  Yes

 Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                            page 1 of ___
                                                                                                                                                                        263
 Debtor 1
                      Case
                       Gaetano19-12826
                                 John Scarpaci Doc 1        Filed 08/20/19 Entered 08/20/19
                      _______________________________________________________
                                                                                                      21:58:54 Desc Main
                                                                                         Case number (if known)_____________________________________
                      First Name    Middle Name     Last Name Document        Page 23 of 347
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

          1-800-PACK-RAT                                                                                                                                       Total claim
4.1
                                                                                     Last 4 digits of account number
         _____________________________________________________________                                                                                         0.00
                                                                                                                                                             $__________________
         Nonpriority Creditor’s Name
                                                                                     When was the debt incurred?           ____________
          11640 Northpark Drove
         _____________________________________________________________
         Number           Street
          Ste 200
         _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Wake Forest                         NC       27587
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
                                                                                        Unliquidated
         Who incurred the debt? Check one.                                              Disputed
         
         ✔      Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?
                                                                                     
                                                                                     ✔   Other. Specify

         
         ✔      No
               Yes
4.2
         179 Treamont St Condo                                                       Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
         _____________________________________________________________               When was the debt incurred?           ____________
         Nonpriority Creditor’s Name
         179 Treamont St
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
          Newton                                          MA
                                                      02458
                                                                                        Contingent
         _____________________________________________________________               
                                                                                     ✔   Unliquidated
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Disputed
         
         ✔      Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt
                                                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
         Is the claim subject to offset?
         
         ✔      No
               Yes
          191 Realty Trust
4.3
                                                                                     Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         191 Norfolk Avenue
         _____________________________________________________________
         Number           Street

         _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Boston                              MA       02119
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

         
         ✔      Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?                                             
                                                                                     ✔   Other. Specify Service Warranty

         
         ✔ No

               Yes


      Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                         2 of ___
                                                                                                                                                                              263
 Debtor 1
                     Case
                      Gaetano19-12826
                                John Scarpaci Doc 1        Filed 08/20/19 Entered 08/20/19
                     _______________________________________________________
                                                                                                     21:58:54 Desc Main
                                                                                        Case number (if known)_____________________________________
                     First Name    Middle Name     Last Name Document        Page 24 of 347
 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.4     23 Juniper Street Condo Association
       _____________________________________________________________                Last 4 digits of account number
       Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                            $__________________
        23 Junioer Street                                                           When was the debt incurred?           ____________
       _____________________________________________________________
       Number            Street
        Unit 1 & 2
       _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
        Boston                                           MA        02119
       _____________________________________________________________
       City                                              State      ZIP Code           Contingent
                                                                                    
                                                                                    ✔   Unliquidated
       Who incurred the debt? Check one.
                                                                                       Disputed
       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only
                                                                                       Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                  that you did not report as priority claims

              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify Service Warranty
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.5     Adam Fosterynolds Rd                                                        Last 4 digits of account number                                          0.00
                                                                                                                                                            $__________________
       _____________________________________________________________                When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
        57 Benjamin Re
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       West Greenwich                      RI       02817                              Contingent
       _____________________________________________________________
       City                                              State      ZIP Code        
                                                                                    ✔   Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                       Student loans

              At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify Service Warranty
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.6     Addie Heelan                                                                Last 4 digits of account number
        _____________________________________________________________                                                                                        0.00
                                                                                                                                                            $_________________
        Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
        20 Thompson Drive
        _____________________________________________________________
        Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Seekonk                             MA       02771
        _____________________________________________________________                  Contingent
        City                                             State      ZIP Code
        Who incurred the debt? Check one.                                           
                                                                                    ✔   Unliquidated

       
       ✔       Debtor 1 only
                                                                                       Disputed

              Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                              Student loans
              At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    ✔   Other. Specify Service Warranty
       
       ✔       No
              Yes


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                     Case
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                                John Scarpaci Doc 1        Filed 08/20/19 Entered 08/20/19
                     _______________________________________________________
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                     First Name    Middle Name     Last Name Document        Page 25 of 347
 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.7     Adobe
       _____________________________________________________________                Last 4 digits of account number
       Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                            $__________________
        One Newton Place                                                            When was the debt incurred?           ____________
       _____________________________________________________________
       Number            Street

       _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
        Newton                                           MA        02458
       _____________________________________________________________
       City                                              State      ZIP Code           Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.
                                                                                       Disputed
       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only
                                                                                       Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                  that you did not report as priority claims

              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.8     Adobe                                                                       Last 4 digits of account number                                          0.00
                                                                                                                                                            $__________________
       _____________________________________________________________                When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
        One Newton PLace
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Newton                              MA       02458                              Contingent
       _____________________________________________________________
       City                                              State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                       Student loans

              At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.9     Adrienne Bolger                                                             Last 4 digits of account number
        _____________________________________________________________                                                                                        0.00
                                                                                                                                                            $_________________
        Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
        24 Jackson Road
        _____________________________________________________________
        Number           Street
        Unit 1                                                                      As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Somerville                          MA       02145
        _____________________________________________________________                  Contingent
        City                                             State      ZIP Code
        Who incurred the debt? Check one.                                           
                                                                                    ✔   Unliquidated

       
       ✔       Debtor 1 only
                                                                                       Disputed

              Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                              Student loans
              At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    ✔   Other. Specify Service Warranty
       
       ✔       No
              Yes


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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.10 Al Chicoine
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         26 Sears Road                                                               When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Paxton                                           MA        01612
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.11 Al Marylou Zdanovich                                                            Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name

        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        51 Williams Drive
        _______________________________________________________________________
        Brewster                            MA       02631                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.12     Alan Brunelle                                                               Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         55 Winthrop Street
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Woonsocket                          RI       02895
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.13 Alex Phillibert
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         41 Bolster Street                                                           When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Everett                                          MA
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.14 Alexander Stavrianidis                                                          Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         17 Norfolk Place
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Sharon                              MA       02067                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.15     Alfred Evans                                                                Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         4 Cliffwood Lane
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         West Falmouth                       MA       02574
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.16 Alicia Talkowski
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         32 Holbrook Street                                                          When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Rockland                                         MA        02370
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.17 Allesandra Lastih                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         3 Aberdeen Drive
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Scituate                            MA       02066                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.18     Alondra Abdur-Rahman                                                        Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         335 Raymond Street
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         New Bedford                         MA       02745
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.19 Alyssa Brymer
        _____________________________________________________________               Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                           0.00
                                                                                                                                                            $__________________
         82 Crimson Harvest Drive                                                   When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
         Kingston                                                  02364
        _____________________________________________________________
        City                                              State     ZIP Code           Contingent
                                                                                    
                                                                                    ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                       Disputed
        
        ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                       Student loans
               Debtor 1 and Debtor 2 only
                                                                                       Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                 that you did not report as priority claims

               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.20 Alyssa Frates                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                            $__________________
        _____________________________________________________________               When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         158 Ohio Street
        _____________________________________________________________
        Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        New Bedford                         MA       02745                             Contingent
        _____________________________________________________________
        City                                              State     ZIP Code        
                                                                                    ✔   Unliquidated
        Who incurred the debt? Check one.                                              Disputed
        
        ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                       Student loans

               At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.21     Amanda Bruneau                                                             Last 4 digits of account number
         _____________________________________________________________                                                                                       0.00
                                                                                                                                                            $_________________
         Nonpriority Creditor’s Name                                                When was the debt incurred?           ____________
         25 Lakeside Ave
         _____________________________________________________________
         Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Weymouth                            MA       02189
         _____________________________________________________________                 Contingent
         City                                             State     ZIP Code
         Who incurred the debt? Check one.                                          
                                                                                    ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                       Disputed

               Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                             Student loans
               At least one of the debtors and another                                Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                             
                                                                                    ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.22 Amerra Hassan
        _____________________________________________________________               Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                           0.00
                                                                                                                                                            $__________________
         114 Pine Grove Road                                                        When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
         South Yarmouth                                            02664
        _____________________________________________________________
        City                                              State     ZIP Code           Contingent
                                                                                    
                                                                                    ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                       Disputed
        
        ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                       Student loans
               Debtor 1 and Debtor 2 only
                                                                                       Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                 that you did not report as priority claims

               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.23 Amir Rasheed                                                                   Last 4 digits of account number                                          0.00
                                                                                                                                                            $__________________
        _____________________________________________________________               When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         115 Ellise Street
        _____________________________________________________________
        Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Attleboro                           MA       02760                             Contingent
        _____________________________________________________________
        City                                              State     ZIP Code        
                                                                                    ✔   Unliquidated
        Who incurred the debt? Check one.                                              Disputed
        
        ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                       Student loans

               At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify Attleboro
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.24     Amity Noble                                                                Last 4 digits of account number
         _____________________________________________________________                                                                                       0.00
                                                                                                                                                            $_________________
         Nonpriority Creditor’s Name                                                When was the debt incurred?           ____________
         9 5th Avenue
         _____________________________________________________________
         Number           Street
                                                                                    As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Scituate                            MA       02066
         _____________________________________________________________                 Contingent
         City                                             State     ZIP Code
         Who incurred the debt? Check one.                                          
                                                                                    ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                       Disputed

               Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                             Student loans
               At least one of the debtors and another                                Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
               Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                             
                                                                                    ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.25 Amy Chanlley
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         5 Kaitlyn Way                                                               When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         New Bedford                                      MA        02745
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.26 Amy Kelly                                                                       Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         14 Tart Road
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Weymouth                            MA       02191                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.27     Amy Lassi                                                                   Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         30 D Terrace
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Malden                              MA       02148
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify
        
        ✔       No
               Yes


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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.28 Amy Plante
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         19 Autumn Road                                                              When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Medway                                           MA        02053
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.29 Amy Roderick                                                                    Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         21 Academy Ave
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Fairhaven                           MA       02719                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.30     Amy Shah                                                                    Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         11 Bow Run
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Saunderstown                        RI       02874
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.31 Ana Willis
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         21 Ashland Place                                                            When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         New Bedford                                      MA        02740
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.32 Andrea Lombardi                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         70 Fremont Ave
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Chelsea                             MA       02150                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.33     Andrew F Stout                                                              Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         20 Seaver Avenue
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Kingston                            MA       02364
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.34 Andrew Peebles
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         79 Florida Street                                                           When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Boston                                           MA        02124
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.35 Andy Rego                                                                       Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         65 New Carver Street
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Raynham                             MA       02767                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.36     Angies List                                                                 Last 4 digits of account number
         _____________________________________________________________                                                                                        258.33
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         1030 E. Washington Street
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Indianapolis                        IN       46202
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify
        
        ✔       No
               Yes


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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.37 Anita Mabardy
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         1663 Central Ave                                                            When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Needham                                          MA        02492
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.38 Ann Andrews                                                                     Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         42 Riverdale South
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        South Dennis                        MA       02660                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.39     Ann Beatrice                                                                Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         49 Barker Rd
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Malden                              MA       02148
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.40 Antoinette Fanjoy
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         223 Wareham Street                                                          When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Middleboro                                       MA        02346
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.41 Ara Realty Trust                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         160 West Union Street
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        East Bridgewater                    MA       02333                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.42     Ardis Markarian                                                             Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         43 Howland Street
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Provincetown                        MA       02657
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.43 Arian Radmand
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         17 Parker Court                                                             When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Natick                                           MA        01760
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.44 Arlean Bor                                                                      Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         629 Harvard Street
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Fall River                          MA       02720                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.45     Arthor Walsh                                                                Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         8 Lydon Lane
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Kingston                            MA       02364
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.46 Artie Dolan
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         21 Ewdard Road                                                              When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Marshfield                                       MA        02050
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.47 Authorize Net                                                                   Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         PO Box 947
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        American Fork                       UT       84003-0947                         Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.48     Authorize Net                                                               Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         P.O. Box 947
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         American Fork                       UT       84003-0947
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify
        
        ✔       No
               Yes


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 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.49 Ayman Fanek
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         310 Bark Street                                                             When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Swansea                                          MA        02777
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.50 Bart Riley                                                                      Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         49 Shore Road
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Kingston                            MA       02364                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.51     Benjamin Fawcett                                                            Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         20 Seaver Street
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Kingston                            MA       02364
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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 Debtor 1
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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.52 Beth & Richard Shorrock
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         408 Cornell Road                                                            When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Westport                                         MA        02790
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.53 Beth & Richard Shorrock                                                         Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         408 Cornell Road
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Westport                            MA       02790                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.54     Better Business Bureau                                                      Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         3033 Wilson Blvd
         _____________________________________________________________
         Number           Street
         Suite 600                                                                   As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Arlington                           VA       22201
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                              Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify
        
        ✔       No
               Yes


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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.55 Beverly Cummings
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         16 Hutchings Street                                                         When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Boston                                           MA        02121
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.56 Beverly Wilkins                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         529 Hildreth Street
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Dracut                              MA       01826                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.57     Beverly Wilkins                                                             Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         529 Hildreth Street
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Dracut                              MA       01826
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.58 Bill Abbott
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         2 Bound Brook Island                                                        When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Truro                                            MA
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.59 Bill Johnson                                                                    Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         1636 E Drift Road
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Westport                            MA       02790                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.60     Bill Johnson                                                                Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         1636 East Drift Road
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Westport                            MA       02790
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.61 Bill Rebello
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         105 Donald Lewis Drive                                                      When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Seekonk                                          MA        02771
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.62 Bob & Charlotte Greene                                                          Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         13 Lorna Ave
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Pembroke                            MA       02359                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.63     Bob Curray                                                                  Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         188 Precint Street
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         East Taunton                        MA       02718
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.64 Bob Donaldson
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         16 Tanglewood Terrace                                                       When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         East Orleans                                     MA        02643
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.65 Bob Jewekk                                                                      Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         66 Margin Street
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Cohasset                            MA       02025                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.66     Bob Vinson                                                                  Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         23 Vernon Street
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Plymouth                            MA       02360
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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                                                                                         Case number (if known)_____________________________________
                      First Name    Middle Name     Last Name Document        Page 45 of 347
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.67 Bonnie Bell
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         112 Sycamore Street                                                         When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Holbrook                                         MA        02343
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.68 Brenda Brantley                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         2360 Centre Street
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        West Roxbury                        MA       02132                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.69     Brendan Stafford                                                            Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         33 Harvard Road
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Dennisport                          MA       02439
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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 Debtor 1
                      Case
                       Gaetano19-12826
                                 John Scarpaci Doc 1        Filed 08/20/19 Entered 08/20/19
                      _______________________________________________________
                                                                                                      21:58:54 Desc Main
                                                                                         Case number (if known)_____________________________________
                      First Name    Middle Name     Last Name Document        Page 46 of 347
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.70 Brenton DeBoef
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         18 Barberry Hill Road                                                       When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Cumberland                                       RI        02864
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.71 Brian Lindley                                                                   Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         28 Preston Drive
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Warwick                             RI       02886                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.72     Brian Marsland                                                              Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         100 Silver Lake Road
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Bellingham                          MA       02019
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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 Debtor 1
                      Case
                       Gaetano19-12826
                                 John Scarpaci Doc 1        Filed 08/20/19 Entered 08/20/19
                      _______________________________________________________
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                      First Name    Middle Name     Last Name Document        Page 47 of 347
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.73 Brian Owens
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         195 Copeland Street                                                         When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street
         Unit B
        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Canton                                           MA        02021
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.74 Brian Owens                                                                     Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         195 Copeland St
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        Unit B
        _______________________________________________________________________
        Quincy                              MA       02169                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.75     Brian Slayter                                                               Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         32 Brooks Street
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Hanson                              MA       02341
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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 Debtor 1
                      Case
                       Gaetano19-12826
                                 John Scarpaci Doc 1        Filed 08/20/19 Entered 08/20/19
                      _______________________________________________________
                                                                                                      21:58:54 Desc Main
                                                                                         Case number (if known)_____________________________________
                      First Name    Middle Name     Last Name Document        Page 48 of 347
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.76 CNAC
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         1675 Main Street                                                            When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Brockton                                         MA        02301
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.77 Camenon Pendieten                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         40 Woodhavon Street
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Carver                              MA       02330                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.78     Cameron Dennis                                                              Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         20 Eastwood Lane
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Cotuit                              MA       02635
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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 Debtor 1
                      Case
                       Gaetano19-12826
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                      _______________________________________________________
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                      First Name    Middle Name     Last Name Document        Page 49 of 347
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.79 Cape Cod Alarm Co, Inc
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         204 Old Townhouse Road                                                      When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         West Yarmouth                                    MA        02673
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.80 Carl Ketchum                                                                    Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         545 West Falmouth Highway
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        West Falmouth                       MA       02574                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.81     Carla Jagti                                                                 Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         88 Holmes Road
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Warwick                             RI       02888
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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 Debtor 1
                      Case
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                      _______________________________________________________
                                                                                                      21:58:54 Desc Main
                                                                                         Case number (if known)_____________________________________
                      First Name    Middle Name     Last Name Document        Page 50 of 347
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.82 Carnali
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         52 Centre Street                                                            When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Quincy                                           MA        02169
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.83 Carol Cremmen                                                                   Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         338 Sam Turner Rd
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        East Falmouth                       MA       02536                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.84     Carol Cremmen                                                               Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         38 Sam Turner Road
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         East Falmouth                       MA       02536
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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                      Case
                       Gaetano19-12826
                                 John Scarpaci Doc 1        Filed 08/20/19 Entered 08/20/19
                      _______________________________________________________
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                      First Name    Middle Name     Last Name Document        Page 51 of 347
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.85 Carol Stergio
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         66 Margin Street                                                            When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Cohassett                                        MA
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.86 Carolina Benitez                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         5 Farm Pike
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Smithfield                          RI       02917                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.87     Carolyn Burke                                                               Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         1 Arnold Terrace
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Burlington                          MA       01803
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.88 Carolyn Girandola
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         10 Ashley Street                                                            When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Jamaica Plain                                    MA        02130
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.89 Carrie Grady                                                                    Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         23 Juniper Street
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        Unit 1
        _______________________________________________________________________
        Roxbury                             MA       02119                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.90     Carrie Hui                                                                  Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         195 Copeland Street
         _____________________________________________________________
         Number           Street
         Unit C                                                                      As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Quincy                              MA       02169
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.91 Casagrande Odair
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         3 Chapell Hill Drive                                                        When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Plymouth                                         MA        02360
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                        Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.92 Cassy Gavin                                                                     Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         13 Park Terrace
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Everett                             MA       02149                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.93     Catherin Kood                                                               Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         16 Katy Hatchs Road
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Falmouth                            MA       02450
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.94 Catherine Li
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         17 Bridke Path                                                              When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Canton                                           MA        02021
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.95 Catherine Robertson                                                             Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         12 Fox Run Road
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Sagamore Beach                      MA       02562                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.96     Cathy & Barry Hawes                                                         Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         599 West Shone Raod
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Warwick                             RI       02889
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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                      First Name    Middle Name     Last Name Document        Page 55 of 347
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.97 Cathy Simonelli
        _____________________________________________________________                Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                             $__________________
         105 Adams Ave                                                               When was the debt incurred?           ____________
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Saugus                                           MA        01906
        _____________________________________________________________
        City                                              State      ZIP Code           Contingent
                                                                                     
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.
                                                                                        Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                  that you did not report as priority claims

               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.98 Cathy Simonelli                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                             $__________________
        _____________________________________________________________                When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         105 Adams Ave
        _____________________________________________________________
        Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Saugus                              MA       01906                              Contingent
        _____________________________________________________________
        City                                              State      ZIP Code        
                                                                                     ✔   Unliquidated
        Who incurred the debt? Check one.                                               Disputed
        
        ✔       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                        Student loans

               At least one of the debtors and another
                                                                                        Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     
                                                                                     ✔   Other. Specify Service Warranty
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.99     Charisse Powell                                                             Last 4 digits of account number
         _____________________________________________________________                                                                                        0.00
                                                                                                                                                             $_________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
         20 Beatrice Way
         _____________________________________________________________
         Number           Street
                                                                                     As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Canton                              MA       02021
         _____________________________________________________________                  Contingent
         City                                             State      ZIP Code
         Who incurred the debt? Check one.                                           
                                                                                     ✔   Unliquidated

        
        ✔       Debtor 1 only
                                                                                        Disputed

               Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                              Student loans
               At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
               Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                              
                                                                                     ✔   Other. Specify Service Warranty
        
        ✔       No
               Yes


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                    Case
                     Gaetano19-12826
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                    _______________________________________________________
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.100 Charles Busa
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       29 Branch Rd                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       East Bridgewater                                 MA        02333
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.101 Charles Cummings                                                             Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       140 Rockland Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       North Easton                        MA       02356                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.102 Charles Kirchofer                                                            Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       72 Park Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Abington                            MA       02351
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.103 Charles Mukriski
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       43 Strand Ave                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Kingston                                         MA        02364
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.104 Charles Texeira                                                              Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       7 Island View Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lakeville                           MA       02347                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.105 Charles Wright                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       197 Water Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Pembroke                            MA       02359
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.106 Charlie Moore
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       258 Purchase Street                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       South Easton                                     MA        02375
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.107 Chawner Hurd & Louise Hurd                                                   Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       48 Nonquitt Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       South Dartmouth                     MA       02748                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.108 Cheryl Fitzgerald                                                            Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       19 Pleasant Court
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winthrop                            MA       02152
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.109 Cheryl Fraga
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       94 Bumila Drive                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Raynham                                          MA        02767
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.110 Chiztan Conroy                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       197 South Main Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cohasset                            MA       02025                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.111 Chris Currier                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       11 Fairlawn Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Needham                             MA       02492
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.112 Chris Griffin
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       14 Hillview Lane                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Plymouth                                         MA        02360
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.113 Chris Lamothe                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3 Highland Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Nahant                              MA       01908                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.114 Christina Bruja                                                              Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       37 Grant Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       West Newton                         MA       02465
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.115 Christina Elfar
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       65 Cedar Street                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Dedham                                           MA        02026
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.116 Christine Andrade                                                            Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       23 Brookwood Dr.
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Westport                            MA       02790                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.117 Christine Macewen                                                            Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       4 4 Bay Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Fairhaven                                    02719
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.118 Christy Buttery
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       250 Mill Road                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Eastham                                          MA        02642
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.119 Chuck Gisondi                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       11 Overton Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Brockton                            MA       02301                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.120 Cindy Fiedler                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       320 Balcom Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mansfield                           MA       02048
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.121 Corlie Tripp
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       830 Plymouth Street                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Middleboro                                       MA        02346
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.122 Cynthia Hathway                                                              Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       13 Cottage Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Taunton                                      02780                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.123 Cynthia Renaud                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       60 Mattapoisett Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Acushnet                            MA       02743
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.124 Cyrus Mizrahi
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       78 Loker Street                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Wayland                                          MA        01778
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.125 Cyrus Mizrahi                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       78 Loker Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wayland                             MA       01778                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.126 Dan Bhokeye                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       53 House Rock Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Weymouth                            MA       02188
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.127 Dan Branford
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       12 Juniper Hill                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       East Sandwich                                    MA        02537
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.128 Dan O'Brien                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       53 Paul David Way
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Stoughton                           MA       02072                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.129 Daniel Borezo                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       176 Lake Shore Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Weymouth                            MA       02189
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last Name Document        Page 66 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.130 Danielle DiBona
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       66 Myrtle Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Rockland                                         MA        02370
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.131 Dathon Wright                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       39 Roxbury Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Boston                              MA       02121                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.132 Dave Lawton                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       291 Bulgarmarsh Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Tiverton                            RI
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1        Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last Name Document        Page 67 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.133 Dave McCall
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       18 Rindone Street                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Holbrook                                         MA        02343
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.134 Dave Moodley                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1 Oriole Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       West Roxbury                        MA       02132                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.135 David & Susan Kopelman                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       99 Florence Street
       _____________________________________________________________
       Number           Street
       Building 20 Fl:3W                                                           As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Chestnut Hill                       MA       02467
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1        Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last Name Document        Page 68 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.136 David Fonseca
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       76 Pratt Street                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Halifax                                          MA        02338
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.137 David Greenhalgh                                                             Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       28 Almeda Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Seekonk                             MA       02771                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.138 David Joutras                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       36 Asheville Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hyde Park                           MA       02136
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1        Filed 08/20/19 Entered 08/20/19
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                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last Name Document        Page 69 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.139 David Krakauer
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       25 Chesham Road                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Brookline                                        MA        02445
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.140 David Manke                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       87 Francis Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Fairhaven                           MA       02719                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Fairhaven
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.141 David McDonald                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       10 Roberts Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Bridgewater                         MA       02324
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
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                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last Name Document        Page 70 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.142 David Meyer
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       136 Juniper Ave                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Attleboro                                        MA        02703
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.143 David Parker                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       153 Rocky Hill Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.144 David Piazza                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       117 Florida Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Boston                              MA       02124
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1        Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last Name Document        Page 71 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.145 Deb Hegarty
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       5 Laural Lane                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Walpole                                          MA        02081
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.146 Deb Lippincott                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       216 Highland Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jamestown                           RI       02835                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.147 Deb Ruprecht                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       44 Avenue A
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wareham                             MA       02571
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    Case
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                    _______________________________________________________
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                    First Name    Middle Name     Last Name Document        Page 72 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.148 Debby Sullivan
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       88 Nantasket St                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Marshfield                                       MA        02050
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.149 Debra Correia                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       20 Forest Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       North Dighton                       MA       02764                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.150 Debra Piaseeki                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       20 Howell Court
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Revere                              MA       02151
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.151 Debrah St Peter
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       15 Tomahawk Drive                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Buzzards Bay                                     MA        02532
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.152 Denise Mayo                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       61 Grant Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Needham                             MA       02492                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.153 Dennis Predovic                                                              Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       40 White Pond Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02363
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    Case
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.154 Dennis Thibert
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       151 Rome Drive                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Cranston                                         RI        02921
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.155 Dennis Thomas                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       31 Cooker Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       North Scituate                      RI       02857                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.156 Detran Hunter J.                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       459 Lunns Way
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Sub contractor
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.157 Detron Hunter
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       459 Lunns Way                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Plymouth                                         MA        02360
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.158 Devar Scott                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       63 Weird Rd
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Yarmouth Port                       MA       02675                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.159 Diana & Franco Maldonado                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       130 Black Cat Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.160 Diana Fratus
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       8 Grant Drive                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Pawtucket                                        RI        02861
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.161 Diana and Franco Maldonado                                                   Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       130 Black Cat Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.162 Diane Bondi Pickles                                                          Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       29 Cove Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marion                              MA       02738
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.163 Diane Giguere
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       30 Rodman Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Woonsocket                                       RI        02895
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.164 Diane Sellew                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       97 Howlands Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kingston                            MA       02364                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.165 Diane Stefanski                                                              Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       176 Canal Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marshfield                          MA       02050
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.166 Diogo Leonardo Soares
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       6 Cherry Street                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Plymouth                                         MA        02360
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.167 Dolores Murphy                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       193 Grove Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       #119
       _______________________________________________________________________
       Braintree                           MA       02184                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.168 Donald & Judith A. Shemnitz                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       2 Lantern Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       South Easton                        MA       02375
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.169 Donald Costello
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       12 Betty Avenue                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       East Sandwich                                    MA        02537
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.170 Donald Steede                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       107 Route 6A
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Yarmouthport                        MA       01388                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.171 Donna & Wayne Stone                                                          Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       87 Brook Hill Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Seekonk                             MA       02771
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.172 Donna Housman
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       73 Meadow Brook Road                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Brookline                                        MA        02445
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.173 Donna Kane                                                                   Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       119 Stonebridge Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hanson                              MA       02341                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.174 Dorie Quarles                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       400 Ireland Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Eastham                             MA       02642
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.175 Dorreen & Peter Serino
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       5 Oakdale Farm Road                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Whitman                                          MA        02382
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.176 Doug Simonton                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       30 Seafoam Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winthrop                            MA       02152                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.177 Dunkley                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       254 Handy Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Attleboro                           MA       02703
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1        Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last Name Document        Page 82 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.178 Dylan Comerford
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       7 Lala Jean Drive                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Bristol                                          RI        02809
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.179 ESI                                                                          Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       348 Circut Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hanover                             MA       02339                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.180 Ed Crickard                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       70 Carnberry Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.181 Ed Davidson
      _____________________________________________________________               Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                           0.00
                                                                                                                                                          $__________________
       165 Everett Street                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number           Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       Everett                                         MA        02149
      _____________________________________________________________
      City                                             State      ZIP Code           Contingent
                                                                                  
                                                                                  ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                     Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                     Student loans
            Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                  that you did not report as priority claims

            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.182 Ed Figueroa                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                          $__________________
      _____________________________________________________________               When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       77 Garden Hills Drive
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Cranston                            RI       02920                             Contingent
      _____________________________________________________________
      City                                             State      ZIP Code        
                                                                                  ✔   Unliquidated
      Who incurred the debt? Check one.                                              Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                     Student loans

            At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.183 Ed Freeman                                                                  Last 4 digits of account number
      _____________________________________________________________                                                                                        0.00
                                                                                                                                                          $_________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       73 Nonantum Street
      _____________________________________________________________
      Number           Street
       Unit 1                                                                     As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Brighton                            MA       02135
      _____________________________________________________________                  Contingent
      City                                             State      ZIP Code
      Who incurred the debt? Check one.                                           
                                                                                  ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                     Disputed

            Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                              Student loans
            At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             
                                                                                  ✔   Other. Specify Service Warranty
      
      ✔      No
            Yes


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 Debtor 1
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                    First Name    Middle Name     Last Name Document        Page 84 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.184 Ed Kowalski
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       117 Walker Street                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Falmouth                                         MA        02540
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.185 Edward J. Conway                                                             Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       84 Exchange Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rockland                            MA       02370                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.186 Elaine Patrick                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       180 North Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Foxboro                             MA       02035
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.187 Elana Adgate
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       177 Forest Street                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Braintree                                        MA        02184
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.188 Elana Adgate                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       177 Forest Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Braintree                           MA       02184                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Sub contractor
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.189 Elisabeth Kirwan                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       20 Carver Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marshfield                          MA       02050
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.190 Elizabeth Lehr
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       9 Deane Street                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Fairhaven                                        MA        02719
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.191 Ellen Ciambriello                                                            Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       242 Temi Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Raynham                             MA       02767                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.192 Ellen Gunning                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       83 Webster Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.193 Elliot Schneider
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       10 Owl Place                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Sharon                                           MA        02067
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.194 Emily Petta & Jim Norton                                                     Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2 Bound Brook Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cohasset                            MA       02025                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.195 Emily Stedman                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       7 Gull Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Falmouth                            MA       02540
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.196 Emmett Shields
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       58 Bay Road                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Duxbury                                          MA        02332
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.197 Erik Williams                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       331 Bay Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       North Easton                        MA       02356                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.198 Erin Gullekson                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       129 Indian Pond Rd
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kingston                            MA       02364
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.199 Erine Czerwinski
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       111 Plyouth Street                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       New Bedford                                      MA        02740
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.200 Ernest Romeo & Diane Hunt                                                    Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       465 Shootflying Hill Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Centerville                         MA       02632                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.201 Esther Jean Baptiste                                                         Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       5 Emory Court
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Saugus                              MA       01906
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.202 Ethan Hucket
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       34 Rialto Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Providence                                       RI        02908
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.203 Ethel Segal                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       20 Ransom Rd
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Newton Center                       MA       02459                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.204 Eugenia Gomes                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       322 Hawes Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Bedford                         MA       02745
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.205 Eve Bankert
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       20 Seaver Sve                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Kingston                                         MA        02364
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.206 Fabio Carvalho                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       11 Laura Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Attleboro                                    02760                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.207 Filliho Riaz                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       30 Cherry Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Sub contractor
      
      ✔       No
             Yes


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                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last Name Document        Page 92 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.208 Fillipho
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       30 Cherry Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Plymouth                                         MA        02360
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.209 Forest Pine Estate                                                           Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       26 Forest Pines Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       East Dennis                         MA       02641                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.210 Fran Buda                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       345 Hay Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Eastham                             MA       02642
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1        Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last Name Document        Page 93 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.211 Frank Scala
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       41 Ethel Street                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Roslindale                                       MA        02131
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.212 Frank Woodward                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5 Lisa Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mashpee                             MA       02649                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.213 Franklyn Daway                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       91 Keun Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Brockton                            MA       02302
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1        Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last Name Document        Page 94 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.214 Frantiz Dessalains
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       105 Hillberg Ave                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Brockton                                         MA        02301
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.215 Fratus Jay                                                                   Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       18 Peck Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt 2
       _______________________________________________________________________
       Plymouth                            MA       02360                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Sub contractor
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.216 Fratus Jay                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       18 Peck Ave
       _____________________________________________________________
       Number           Street
       Apt 2                                                                       As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1        Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last Name Document        Page 95 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.217 Furnance Brook Commons Condominium Trust
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       195 Copeland Street                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Quincy                                           MA        02169
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.218 G Singh                                                                      Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       83 Wilson Avenue
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Weymouth                            MA       02188                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.219 Gabriel Jean Philippe                                                        Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       12 Hounds Ditch
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Duxbury                             MA       02332
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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Debtor 1
                   Case
                    Gaetano19-12826
                              John Scarpaci Doc 1        Filed 08/20/19 Entered 08/20/19
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                                                                                      Case number (if known)_____________________________________
                   First Name    Middle Name     Last Name Document        Page 96 of 347
 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.220 Gabrielle Osborne
      _____________________________________________________________               Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                           0.00
                                                                                                                                                          $__________________
       111 Plain Street                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number           Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       Taunton                                         MA        02780
      _____________________________________________________________
      City                                             State      ZIP Code           Contingent
                                                                                  
                                                                                  ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                     Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                     Student loans
            Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                  that you did not report as priority claims

            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.221 Galina Tan                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                          $__________________
      _____________________________________________________________               When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       27 Aldrich Street
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Somerville                          MA       02145                             Contingent
      _____________________________________________________________
      City                                             State      ZIP Code        
                                                                                  ✔   Unliquidated
      Who incurred the debt? Check one.                                              Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                     Student loans

            At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.222 Ganesh Ganesan                                                              Last 4 digits of account number
      _____________________________________________________________                                                                                        0.00
                                                                                                                                                          $_________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       49 Nestle Neck Drive
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Middleboro                          MA       02346
      _____________________________________________________________                  Contingent
      City                                             State      ZIP Code
      Who incurred the debt? Check one.                                           
                                                                                  ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                     Disputed

            Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                              Student loans
            At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             
                                                                                  ✔   Other. Specify Service Warranty
      
      ✔      No
            Yes


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Debtor 1
                   Case
                    Gaetano19-12826
                              John Scarpaci Doc 1        Filed 08/20/19 Entered 08/20/19
                   _______________________________________________________
                                                                                                   21:58:54 Desc Main
                                                                                      Case number (if known)_____________________________________
                   First Name    Middle Name     Last Name Document        Page 97 of 347
 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.223 Gayle Reilly
      _____________________________________________________________               Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                           0.00
                                                                                                                                                          $__________________
       265 Phillips Road                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number           Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       Sagamore Beach                                  MA        02562
      _____________________________________________________________
      City                                             State      ZIP Code           Contingent
                                                                                  
                                                                                  ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                     Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                     Student loans
            Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                  that you did not report as priority claims

            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.224 George Oisony                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                          $__________________
      _____________________________________________________________               When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       12 South Meadow Road
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Carver                              MA       02330                             Contingent
      _____________________________________________________________
      City                                             State      ZIP Code        
                                                                                  ✔   Unliquidated
      Who incurred the debt? Check one.                                              Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                     Student loans

            At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.225 George Rowan                                                                Last 4 digits of account number
      _____________________________________________________________                                                                                        0.00
                                                                                                                                                          $_________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       53 Lewis Avenue
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Walpole                             MA       02081
      _____________________________________________________________                  Contingent
      City                                             State      ZIP Code
      Who incurred the debt? Check one.                                           
                                                                                  ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                     Disputed

            Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                              Student loans
            At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             
                                                                                  ✔   Other. Specify Service Warranty
      
      ✔      No
            Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1        Filed 08/20/19 Entered 08/20/19
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                    First Name    Middle Name     Last Name Document        Page 98 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.226 Gerald Joseph
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       335 Grand Ave                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Falmouth                                         MA        02540
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.227 Gerry McMahon                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       30 Ashdad Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Duxbury                             MA       02332                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.228 Gerry Tis                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       23 Tarton Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       East Falmouth                       MA       02536
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.229 Glenn English
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       55 Pine Street                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Stoneham                                         MA        02180
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.230 Greg Thomas                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       311 South Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wrentham                            MA       02093                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.231 Gus Schiessen                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       25 Judge Torres Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       East Greenwich                      RI       02818
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.232 HarborOne Bank
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       P.O. Box 720                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Brockton                                         MA        02303
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.233 Harris Supply                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       420 E Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Boston                              MA       02127                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.234 Harris Supply                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       420 E Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Boston                              MA       02127
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.235 Harry & Mary Bullock
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       2 Third Ave                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Pocasset                                         MA        02559
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.236 Heather Thorne                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3 White Pine Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Carver                              MA       02330                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.237 Hiah Hill                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       72 Richmond Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Weymouth                                     02188
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.238 Hilary Green
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       6 Trenton Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Charlestown                                      MA        02219
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.239 Hoadley Plumbing                                                             Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       672 Union Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rockland                            MA       02370                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.240 Hoadley Plumbing/ Steven Rodger                                              Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       672 Union Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rockland                            MA       02370
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 103 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.241 Home Depot
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       39 Long Pond Road                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Plymouth                                         MA        02360
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.242 Homesite                                                                     Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       PO Box 5300
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Binghamton                          NY       13902-9953                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.243 Howland Disposal Service                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       33 Court Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 104 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.244 Ina Yi
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       1871 Commonwealth Ave                                                       When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Brighton                                         MA        02135
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.245 Intuit Payment Solutions                                                     Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       PO Box 52003
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Phoenix                             AZ       85027                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.246 Ira Laxic                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       31 Zana Park Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Braintree                           MA       02184
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 105 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.247 Irene Ioffe
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       342 Long Pond Drive                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       West Chatham                                     MA        02669
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.248 Irene Leun                                                                   Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4 Raven Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sharon                              MA       02067                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.249 Isa Orvieto                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       108 Somerset Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Brookline                           MA       02445
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 106 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.250 Jack Casey
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       65 Old Mill Road                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Kingston                                         MA        02364
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.251 Jack Curtain                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       58 Chestnut Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Middleboro                          MA       02346                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.252 Jack Grusmark                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       30 Nautilus Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Bedford                         MA       02740
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 107 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.253 Jackie Steemson
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       378 Lake Shore Drive                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Sandwich                                         MA        02563
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.254 Jackie Waller                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       42 Country Club Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Randolph                            MA       02368                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.255 Jacklyn Bostonis                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       19 Banks Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winthrop                            MA       02152
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 108 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.256 Jackqulin Costonis
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       60 Park Ave                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Abington                                         MA        02351
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.257 Jacky Choueite                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       12 Amy Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Warwick                             RI       02886                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.258 Jadotte Fetchner                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       36 Chadderton Way
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Middleboro                          MA       02346
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 109 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.259 Jaime c/o Mario Vargas
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       123 Talbot Street                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Brockton                                         MA        02301
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.260 James Artz                                                                   Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       300 Reservoir Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Norton                              MA       02766                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.261 James Judge                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       6 Center Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kingston                            MA       02364
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
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                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 110 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.262 James Obeirne
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       29 Pine Cone Drive                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       West Yarmouth                                    MA        02673
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.263 Jan Kristenson                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       113 Gilmore Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wrentham                            MA       02093                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.264 Jane Lea                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       11 Fishermans Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       North Truro                         MA       02652
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    First Name    Middle Name     Last NameDocument         Page 111 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.265 Janet Giannetti
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       256 West Street                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Hyde Park                                        MA        02136
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.266 Janice Kristenson                                                            Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       113 Gilmore Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wrentham                            MA       02093                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.267 Janice Kristenson                                                            Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       P.O. Box 988
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wrentham                            MA       02093
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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                    First Name    Middle Name     Last NameDocument         Page 112 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.268 Janne Giordno
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       27 Hiha Ave                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Cranston                                         RI        02920
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.269 Jared Souza                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6 Bonney Briar Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.270 Jason Nappi                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       26 Signal Hill Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marshfield                          MA       02050
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 113 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.271 Jay Mitchell
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       7 Lot Philps Road                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Kingston                                         MA        02364
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.272 Jay Mitchell                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       57 Lot Phillips Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kingston                            MA       02364                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.273 Jean Allen                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       271 Central Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hingham                             MA       02043
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.274 Jean Ansello
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       39 Tenderwood                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Plymouth                                         MA        02360
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.275 Jean Arnold                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       23 Megs Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Orleans                             MA       02653                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.276 Jean Carlor Dar Santos                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       405 Court Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Sub contractor
      
      ✔       No
             Yes


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                    Case
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                                                                                                    21:58:54 Desc Main
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                    First Name    Middle Name     Last NameDocument         Page 115 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.277 Jean Carlor Dar Santos
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       405 Court Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Plymouth                                         MA        02360
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.278 Jean Digirolamo                                                              Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3 Hemlock Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Milford                             MA       01757                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.279 Jean Faletra                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       353 Essex Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mansfield                           MA       02048
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
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                    First Name    Middle Name     Last NameDocument         Page 116 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.280 Jeannine Sheehan
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       124 Lincoln St                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       North Easton                                     MA        02356
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.281 Jeff Bagge                                                                   Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       136 Main Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       West Barnstable                     MA       02668                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.282 Jeff Beroni                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       82 Highland Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Holden                              MA       01520
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
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                    First Name    Middle Name     Last NameDocument         Page 117 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.283 Jeff Cannon
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       7 Leonard Circle                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Medford                                          MA        02155
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.284 Jeff Graham                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       10 Disamar Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Taunton                             MA       02780                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.285 Jeff Miller                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       39 Pond Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Brewster                            MA       02631
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
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                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 118 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.286 Jeff Riedel
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       4 Willow Street                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Wareham                                          MA        02571
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.287 Jefferey Mattar & Jensen McKee                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5 nion Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Foxboro                             MA       02035                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.288 Jeffn Iverson                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       188 Howard Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Brockton                            MA       02301
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    Case
                     Gaetano19-12826
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                    _______________________________________________________
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                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 119 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.289 Jeffrey Spence
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       629 Scudder Avenue                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Hyannis                                          MA        02601
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.290 Jeniffer O'Rourke                                                            Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       610 East 6th Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Boston                              MA       02127                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.291 Jennifer Bates                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       324 Greenwood Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Vineyard Haven                      MA       02568
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.292 Jennifer Bates Nancy Wood
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       324 Greenwood Ave                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Vineyard Haven                                   MA        02568
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.293 Jennifer Burton                                                              Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       401 Station Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       West Barnstable                     MA       02668                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.294 Jenny Guirado                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       30 High Street
       _____________________________________________________________
       Number           Street
       Unit 101                                                                    As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Dedham                              MA       02026
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    Case
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.295 Jim Danahy
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       380 Tremont Street                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Duxbury                                          MA        02332
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.296 Jo-Ann Kwass                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       79 Mountwood Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marstons Mills                      MA       02648                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.297 Joad Antonio                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       16 Tremont Street
       _____________________________________________________________
       Number           Street
       Apt 5                                                                       As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kingston                            MA       02364
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.298 Joan & Eric Rollins
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       81 Oak St                                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Brockton                                         MA        02301
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.299 Joan Almeida                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       38 Lucy Avenue
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Tiverton                            RI       02878                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.300 Joan Perera                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       14 Strawberry Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Yarmouth Port                       MA       02675
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.301 Joann Bohorquez
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       522 Holly Road                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Marshfield                                       MA        02050
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.302 Joann Huss                                                                   Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       442 Main Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mashpee                             MA       02649                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.303 Joanne Brothers                                                              Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       Unit 6 Harborview
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kingston                            MA       02364
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.304 Joanne O'Day
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       8 Linhares Ave                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Mattapoisett                                     MA        02739
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.305 Joanne Peterson                                                              Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       26 Oak Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kingston                            MA       02364                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.306 Joe Eng                                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       23 Marsh View Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marshfield                          MA       02050
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.307 Joe Guqlielmo
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       340 Center Ave                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Unit 8
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Rockland                                         MA        02370
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.308 Joe McCachern                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       37 Waltham Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marshfield                          MA       02050                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.309 Joe McKeigue                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       123 Bluff Point Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cotuit                              MA       02635
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.310 Joe Weber
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       40 Warbler Lane                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       West Yarmouth                                    MA        02673
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.311 John Boyle                                                                   Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       38 Bradford Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Watertown                           MA       02472                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.312 John Cooper                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       69 Crowes Purchases Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       West Yarmouth                       MA       02673
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.313 John Lam
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       44 Francis Street                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Everett                                          MA        02149
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.314 John Mendros                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       174 West Elm Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Quincy                              MA       02169                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.315 John Montosi                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       66 Grove Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kingston                            MA       02634
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.316 John Paniccia
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       287 Buckskin Path                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Centerville                                      MA        02632
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.317 John S Pressert                                                              Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       87 Bayfield Road N
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Quincy                              MA       02171                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.318 Jordan Boucher                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       8 Off Second Brook Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kingston                            MA       02364
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.319 Jordan Boucher
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       8 Off Second Brook Street                                                   When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Kingston                                         MA        02364
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.320 Jorge Matesanz                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       124 Wild Harbor Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       N. Falmouth                         MA                                         Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.321 Jose Brasil                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       5 Kyle Jacob Rd
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Westport                            MA       02790
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.322 Joseph Oliveira
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       16 Austin Lane                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Acushnet                                         MA        02743
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.323 Josh Bernard                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       13 Winter Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rehoboth                            MA       02769                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.324 Joyce Pepe Caggiano                                                          Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       14A Crestway Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Boston                              MA       02128
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.325 Joyce Troy
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       46 Gardner Street                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Hingham                                          MA        02043
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.326 Judith Miller                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       229 Chruch Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Harwich                             MA       02645                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.327 Judith Smith                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       550 Route 6A
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       East Sandwich                       MA       02537
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.328 Judy Fabinouitz
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       52 Highland Road                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Somerville                                       MA        02144
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.329 Judy Shemnitz                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2 Lantern Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       South Easton                        MA       02375                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.330 Julie Grise                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       23 Captains Walk
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       North Chatham                       MA       02650
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.331 Justin Tabanes
      _____________________________________________________________               Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                           0.00
                                                                                                                                                          $__________________
       50 Hathlery Street                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number           Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       North Providence                                RI        02911
      _____________________________________________________________
      City                                             State      ZIP Code           Contingent
                                                                                  
                                                                                  ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                     Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                     Student loans
            Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                  that you did not report as priority claims

            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.332 Justin Thibodeau                                                            Last 4 digits of account number                                          0.00
                                                                                                                                                          $__________________
      _____________________________________________________________               When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       45 Doran Drive
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      East Falmouth                       MA       02536                             Contingent
      _____________________________________________________________
      City                                             State      ZIP Code        
                                                                                  ✔   Unliquidated
      Who incurred the debt? Check one.                                              Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                     Student loans

            At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.333 Kanna Hema                                                                  Last 4 digits of account number
      _____________________________________________________________                                                                                        0.00
                                                                                                                                                          $_________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       95 Brownell Street
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Attleboro                           MA       02703
      _____________________________________________________________                  Contingent
      City                                             State      ZIP Code
      Who incurred the debt? Check one.                                           
                                                                                  ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                     Disputed

            Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                              Student loans
            At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             
                                                                                  ✔   Other. Specify Service Warranty
      
      ✔      No
            Yes


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                    _______________________________________________________
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.334 Karen & David Ross
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       125 Surrey Lane                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Brewster                                         MA        02631
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.335 Karen & Wayne Roberts                                                        Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       42 Mill Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Yarmouth Port                       MA       02675                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.336 Karen Hanley                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       7 Marc Drive
       _____________________________________________________________
       Number           Street
       Unit 3 Building 7                                                           As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                                     02360
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.337 Karen Loeb Lifford
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       60 Hiawatha Road                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Buzzards Bay                                     MA        02532
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.338 Karianne Leivenfrost                                                         Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       18 Captain Besse Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       South Yarmouth                      MA       02664                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.339 Karren Budreau                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       42 Rudder Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hyannis                             MA       02601
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.340 Karyn Tosi
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       15 Arch Street                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       North Attleboro                                  MA        02760
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.341 Kate Dodson                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       42 Water Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winchester                          MA       01890                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.342 Kate Stobie                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       42 Logan Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Braintree                           MA       02184
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.343 Kathleen MKinney
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       26 Shawmut Street                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Quincy                                           MA        02169
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.344 Kathy Boyle                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       38 Bradford Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Watertown                           MA       02472                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.345 Kathy Davis                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       157 Village Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Millis                              MA       02054
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.346 Kathy Denaro
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       9 Bourne Hay Road                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Sandwich                                         MA        02563
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.347 Kathy Johnson                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       80 Argyle Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cranston                            RI       02920                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.348 Kathy Nash                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       95 Hampstead Way
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marshfield                          MA       02050
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 139 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.349 Katie Edwards
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       29 Little John Road                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       East Falmouth                                    MA        02536
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.350 Katie Edwards                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       29 Little John Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       East Falmouth                       MA       02536                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.351 Katie Edwards                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       29 Little John Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sandwich                            MA       02563
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 140 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.352 Katie Kuhl
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       16 Apple Tree Hill Road                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Hopkinton                                        MA        01748
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.353 Katie Speciale                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       95 Gage Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Revere                              MA       02151                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.354 Katy Lunch                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       216 Ashleigh Terrace
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Taunton                             MA       02780
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
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                    First Name    Middle Name     Last NameDocument         Page 141 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.355 Keith Barber
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       76 Prospect Ave                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Pocasset                                         MA        02559
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.356 Kelly Doherty                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       42 Lookout Eoad
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Yarmouth Port                       MA       02675                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.357 Kelsey Worcester                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       1282 Randolph St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Milton                              MA       02186
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 142 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.358 Ken Leach
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       470 Adams Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Quincy                                           MA        02169
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.359 Ken Lofland                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       PO Box 72
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Franklin                            MA       02038                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.360 Kenneth Dumas                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       6 School Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kingston                            MA       02364
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
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                    First Name    Middle Name     Last NameDocument         Page 143 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.361 Kerry Moreau
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       6 Orchard Drive                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       North Attleboro                                  MA        02760
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.362 Kevin Brooks                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       181 Walpole Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Norwood                             MA       02062                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.363 Kevin O;Keeffe                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       752 Washington Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Pembroke                            MA       02359
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 144 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.364 Kevin Roach
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       415 Pleasant Street                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Weymouth                                         MA        02190
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.365 Kevin Samuels                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       35 Concord Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rockland                            MA       02370                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.366 Kevin/Stephen Murphy                                                         Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       575 North Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Randolph                            MA       02368
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    Case
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.367 Kim Chandler
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       10 Missouri Street                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Marshfield                                       MA        02050
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.368 Kim Crowley                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4 Cobblers lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Beverly                             MA                                         Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.369 Kim Haelsen                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       29 Arro Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Providence                          RI       02904
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.370 Kim Mayhew
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       2 Warren Place                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Franklin                                         MA        02038
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.371 Kingston Block                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       72 Main Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kingston                            MA       02364                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.372 Kingston Block                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       72 Main Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kingston                            MA       02364
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.373 Kris Dodson
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       42 Water St                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Winchester                                       MA        01890
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.374 Kriste Costello                                                              Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       35 Finnott Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       West Bridgewater                    MA       02379                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.375 Kristie Hathaway                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       212 Cushing Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hingham                             MA       02043
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.376 Kristin Foley
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       2 Edmund H Nichols Rd                                                       When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       North Attleboro                                  MA        02760
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.377 Larisa Davidson                                                              Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       78 Antone Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       East Falmouth                       MA       02536                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.378 Laura Czarniar                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       30 Clearing Farm Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kingston                            MA       02364
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.379 Lauretta A. Maslanka
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       4 Worcester Road                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Sharon                                           MA        02067-2615
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.380 Laurie Kessinger                                                             Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       10 Coburn Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hull                                MA       02045                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.381 Lee Berger                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       14 Everett Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Buzzards Bay                        MA       02532
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    Case
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                    _______________________________________________________
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.382 Lennis Maynard
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       360 Ireland Way                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Eastham                                          MA        02642
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.383 Lenny Dawidowicz                                                             Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       9 Needles Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       North Falmouth                      MA       02556                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.384 Leslie Boux                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       55 Emerald Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Quincy                              MA       02169
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.385 Leslie Zella
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       45 Vartrinot Ave                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Hull                                             MA        02045
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.386 Lew Victor                                                                   Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       47 Galahad Way
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       North Easton                        MA       02356                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.387 Liberio Evaldo Alves                                                         Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       9 Sunsex Blvd
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Sub contractor
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.388 Liberio Evaldo Alves
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       9 Sunsex Blvd                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Plymouth                                         MA        02360
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.389 Likarr                                                                       Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6 Perry
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Foxboro                             MA       02035                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.390 Lilia Ormsbee                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       17 Autumn Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Medway                              MA       02053
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.391 Lina Cashill
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       23 Colby Drive                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Middleboro                                       MA        02344
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.392 Linda Collins                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       197 Little Pond County Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cumberland                          RI       02864                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.393 Linda Hallinan                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       30 Elm Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Maynard                             MA       01754
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.394 Linda McMorrow
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       66 Highland Street                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       South Easton                                     MA        02375
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.395 Linda Raute                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       76 Crystal Spring Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       North Falmouth                      MA       02556                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.396 Linda Smith                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       19 Atwood Avenue
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Middleboro                          MA       02346
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.397 Lisa Birkdale
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       31 Oak Street                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Dennis Port                                      MA        02639
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.398 Lisa Holmes                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       42 Prospect Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plympton                            MA       02367                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.399 Lois Sinatra                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       77 Trout Brook Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Norwell                             MA       02061
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.400 Lon Hughes and Max Wognarowski
      _____________________________________________________________               Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                           0.00
                                                                                                                                                          $__________________
       63 Plain Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       Middleboro                                                02346
      _____________________________________________________________
      City                                              State     ZIP Code           Contingent
                                                                                  
                                                                                  ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                     Disputed
      
      ✔       Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                     Student loans
             Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                 that you did not report as priority claims

             Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.401 Lori Armenti                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                          $__________________
       _____________________________________________________________              When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       105 Fiat Ave
       _____________________________________________________________
       Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cranston                            RI       02910                            Contingent
       _____________________________________________________________
       City                                             State     ZIP Code        
                                                                                  ✔   Unliquidated
       Who incurred the debt? Check one.                                             Disputed
      
      ✔       Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                     Student loans

             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
             Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.402 Louise Freeman                                                              Last 4 digits of account number
       _____________________________________________________________                                                                                       0.00
                                                                                                                                                          $_________________
       Nonpriority Creditor’s Name                                                When was the debt incurred?           ____________
       15 Michael Road
       _____________________________________________________________
       Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Raynham                             MA       02767
       _____________________________________________________________                 Contingent
       City                                             State     ZIP Code
       Who incurred the debt? Check one.                                          
                                                                                  ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                     Disputed

             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                             Student loans
             At least one of the debtors and another                                Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
             Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             
                                                                                  ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.403 Louise Kissell
      _____________________________________________________________               Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                           0.00
                                                                                                                                                          $__________________
       41 Lakewood Drive                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       Mashpee                                                   02649
      _____________________________________________________________
      City                                              State     ZIP Code           Contingent
                                                                                  
                                                                                  ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                     Disputed
      
      ✔       Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                     Student loans
             Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                 that you did not report as priority claims

             Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.404 Louise Marling                                                              Last 4 digits of account number                                          0.00
                                                                                                                                                          $__________________
       _____________________________________________________________              When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       31 Fearing Hill Road
       _____________________________________________________________
       Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wareham                             MA       02571                            Contingent
       _____________________________________________________________
       City                                             State     ZIP Code        
                                                                                  ✔   Unliquidated
       Who incurred the debt? Check one.                                             Disputed
      
      ✔       Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                     Student loans

             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
             Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.405 Lourdes Martinez                                                            Last 4 digits of account number
       _____________________________________________________________                                                                                       0.00
                                                                                                                                                          $_________________
       Nonpriority Creditor’s Name                                                When was the debt incurred?           ____________
       103 Muttin Lane
       _____________________________________________________________
       Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Weymouth                            MA       02189
       _____________________________________________________________                 Contingent
       City                                             State     ZIP Code
       Who incurred the debt? Check one.                                          
                                                                                  ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                     Disputed

             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                             Student loans
             At least one of the debtors and another                                Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
             Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             
                                                                                  ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.406 Lucas Mateus De Sousa
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       194 Water Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Plymouth                                         MA        02360
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Sub contractor
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.407 Lucas Mateus De Souza                                                        Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       194 Water Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.408 Lucas Silva                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       64 Cherry Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.409 Lucas Silva
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       64 Cherry Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Plymouth                                         MA        02360
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.410 Lucille Largey                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       359 Hudleston Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Fairhaven                           MA       02719                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.411 Luis Nido                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       41 Bronx Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       West Roxbury                        MA       02132
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.412 MCM                                                                                                                7482
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       2365 Northside Drive                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Suite 300
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       San Diego                                        CA        92108
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.413 Madaline Webster                                                             Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       10 Garnett Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Duxbury                             MA       02332                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.414 Manny Sequeira                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       63 Harvard Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Brockton                            MA       02301
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.415 Marani Family
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       58 Bay Road                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Duxbury                                          MA        02332
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.416 Marcelo Jorge                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       23 Cherry Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.417 Marcelo Jorqe                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       23 Cherry Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.418 Marcos Anderson
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       165 Stewart                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Fall River                                       MA        02720
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.419 Marcus Anderson                                                              Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       165 Stewart Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Fall River                          MA       02720                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.420 Marcus O DeFlorimonte                                                        Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       14-16 Rockview St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jamaica Plain                       MA       02130
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.421 Margret Sullivan
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       167 Sam Turner Road                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       East Falmouth                                    MA        02536
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.422 Marguerite Corrad                                                            Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       196 Woodside Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winthrop                            MA       02152                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.423 Maria Clemente                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       993 Park Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Stoughton                           MA       02072
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
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     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.424 Maria Clemente
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       993 Park Street                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Stoughton                                        MA        02072
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.425 Marian Burke                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       94 Arborway Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Scituate                            MA       02066                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.426 Marian Burke                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       94 Arborway Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Scituate                            MA       02066
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 165 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.427 Marie Clemente
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       993 Park Street                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Stoughton                                        MA        02072
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.428 Marina Berdicheusky                                                          Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3 Andrina Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       West Yarmouth                       MA       02673                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.429 Mark Abbott                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       261 Old Forge Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hanover                             MA       02339
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    Case
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                    _______________________________________________________
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                                                                                       Case number (if known)_____________________________________
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.430 Mark Baddeley
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       49 Border Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Cohasset                                         MA        02025
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.431 Mark EJR                                                                     Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       40 Pleasant Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Carver                              MA       02330                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.432 Mark Ejr                                                                     Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       40 Pleasant Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Carver                              MA       02330
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Sub contractor
      
      ✔       No
             Yes


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                    Case
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.433 Mark Finnerty
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       131 Plain Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Pembroke                                         MA        02359
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.434 Mark Finnerty                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       131 Plain Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Pembroke                            MA       02359                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.435 Martha Farrell                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       12 Allcott Circle
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Taunton                             MA       02780
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.436 Martin Balins
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       108 Prospect Street                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Weymouth                                         MA        02188
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.437 Martin Reilly                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       11 Wamsutta Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Scituate                            MA       02066                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.438 Martin Reilly                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       11 Wamsutta Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Scituate                            MA       02066
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.439 Mary & David Barllett
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       39 Marie Ave                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Brockton                                         MA        02302
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.440 Mary Beth Linnane                                                            Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       156 Hooppole Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mashpee                             MA       02649                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.441 Mary Ellen Matrorilli                                                        Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       86 Ellisville Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    First Name    Middle Name     Last NameDocument         Page 170 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.442 Mary Ellen Matrorilli
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       86 Ellisville Road                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Plymouth                                         MA        02360
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.443 Mary Lennon                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       66 Hale Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       E. Walpole
       _______________________________________________________________________
       East Walpole                        MA       02032                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.444 Mary Macinnes                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       217 Yankee Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Brewster                            MA       02631
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    Case
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                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.445 Mary Macinnes
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       217 Yankee Drive                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Brewster                                         MA        02631
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.446 Mary McBrady                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       11 Country Club Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.447 Mary McIsaac                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       182 High Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Carver                              MA       02330
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.448 Mary O'Donnell
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       32 Driftway Road                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Weymouth                                         MA        02191
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.449 Mary O'Donnell                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       32 Driftway Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Weymouth                            MA       02191                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.450 Mary Shannon                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       22 Volk Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Dedham                              MA       02026
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.451 Mary Slayter
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       3 Pleasant Street                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       West Dennis                                      MA        02676
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.452 Mary Stadelman                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       547 Washington Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Pembroke                            MA       02359                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.453 Mary Stadelmann                                                              Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       547 Washington Street
       _____________________________________________________________
       Number           Street
       B8                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Pembroke                            MA
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.454 Mary Zinck
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       110 Summit Ave                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       North Eastham                                    MA        02651
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.455 Mary Zinck                                                                   Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       110 Summit Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       North Eastham                       MA       02651                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.456 Marybeth LaRiyee                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       16 Gilman Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Roslindale                          MA       02131
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    First Name    Middle Name     Last NameDocument         Page 175 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.457 Marybeth Scalice
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       161 Sassamon Ave                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Milton                                           MA        02186
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.458 Marybeth Scalice                                                             Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       161 Sassamon Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Milton                              MA       02186                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.459 Mas Trayers                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       1 Sea Meadow
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sandwich                            MA       02563
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.460 Matt & Kristen Cataldo
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       93 Harrison Street                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Duxbury                                          MA        02332
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.461 Matt Gibson                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       209 South Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hanson                              MA       02341                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.462 Matt Kramer                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       29 Belcher Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Randolph                            MA       02368
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.463 Matt Merical
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       4 Prospect Court                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Kingston                                         MA        02364
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.464 Matthew Barrett                                                              Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       7 Water House Rd
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Stoneham                            MA       02180                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.465 Maura & Mike Powers                                                          Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       433 Lower County Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Dennis Port                         MA       02639
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.466 Maura and Mike Powers
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       433 Lower County Road                                                       When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Unit 27
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Dennis Port                                      MA        02629
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.467 Maureen Franklin                                                             Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       100 Marshall Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winthrop                            MA       02152                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.468 Maureen Hearns                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       50 Merion Way
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Yarmouth Port                       MA       02675
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.469 Maureen Hearns
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       50 Merion Way                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Yarmouth Port                                    MA        02675
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.470 Maurice Charves                                                              Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       48 Samoset Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Boston                              MA       02124                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.471 Max Wojnarowski                                                              Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       63 Plain Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Middleboro                          MA
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.472 Megan Stimpson
      _____________________________________________________________               Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                           0.00
                                                                                                                                                          $__________________
       42 Old Colony Road                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number           Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       North Falmouth                                  MA        02556
      _____________________________________________________________
      City                                             State      ZIP Code           Contingent
                                                                                  
                                                                                  ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                     Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                     Student loans
            Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                  that you did not report as priority claims

            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.473 Mei-Mei Ellerman                                                            Last 4 digits of account number                                          0.00
                                                                                                                                                          $__________________
      _____________________________________________________________               When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       32 Linden Street
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      F
      _______________________________________________________________________
      Wellesley                           MA       02482                             Contingent
      _____________________________________________________________
      City                                             State      ZIP Code        
                                                                                  ✔   Unliquidated
      Who incurred the debt? Check one.                                              Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                     Student loans

            At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.474 Meka Mwamze                                                                 Last 4 digits of account number
      _____________________________________________________________                                                                                        0.00
                                                                                                                                                          $_________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       107 Waban Hill Road
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Chestnut Hill                       MA       02467
      _____________________________________________________________                  Contingent
      City                                             State      ZIP Code
      Who incurred the debt? Check one.                                           
                                                                                  ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                     Disputed

            Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                              Student loans
            At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             
                                                                                  ✔   Other. Specify Service Warranty
      
      ✔      No
            Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.475 Melinda Sullivan
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       45 Washington Street                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Unit 303
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Plainville                                       MA        02762
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.476 Melissa Cartlano A                                                           Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       18 Peck Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Apt B
       _______________________________________________________________________
       Plymouth                            MA       02360                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Sub contractor
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.477 Melissa Cartolano                                                            Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       18 Peck Ave
       _____________________________________________________________
       Number           Street
       Apt B                                                                       As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.478 Melissa Moquin
      _____________________________________________________________               Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                           0.00
                                                                                                                                                          $__________________
       7 Copper Beech Drive                                                       When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       Kingston                                                  02634
      _____________________________________________________________
      City                                              State     ZIP Code           Contingent
                                                                                  
                                                                                  ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                     Disputed
      
      ✔       Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                     Student loans
             Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                 that you did not report as priority claims

             Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.479 Melissa Novaco                                                              Last 4 digits of account number                                          0.00
                                                                                                                                                          $__________________
       _____________________________________________________________              When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       237 York Street
       _____________________________________________________________
       Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Boston                              MA       02120                            Contingent
       _____________________________________________________________
       City                                             State     ZIP Code        
                                                                                  ✔   Unliquidated
       Who incurred the debt? Check one.                                             Disputed
      
      ✔       Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                     Student loans

             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
             Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.480 Melodi Allen                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                       0.00
                                                                                                                                                          $_________________
       Nonpriority Creditor’s Name                                                When was the debt incurred?           ____________
       15 Pleasant Court
       _____________________________________________________________
       Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Winthrop                            MA       02152
       _____________________________________________________________                 Contingent
       City                                             State     ZIP Code
       Who incurred the debt? Check one.                                          
                                                                                  ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                     Disputed

             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                             Student loans
             At least one of the debtors and another                                Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
             Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             
                                                                                  ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.481 Melodi Allen
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       15 Pleasant Court                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Winthrop                                         MA        02152
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.482 Merchant Services                                                            Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       P.O. Box 6010
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hagerstown                          MD       21741                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.483 Merchant Services                                                            Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       Po Box 6010
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hagerstown                          MD       21741-6010
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.484 MerchantPro Express
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       1305 Walt Whitman Road                                                      When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Suite 320
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Melville                                         NY        11747
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.485 Meredith Hopkins                                                             Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       120 Central Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Weymouth                            MA       02190                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.486 Meredith Hopkins                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       120 Central Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Weymouth                            MA       02190
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.487 Micael Greeley
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       54 Nichols Street                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Chelsea                                          MA        02150
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.488 Micael Mannion                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       61 Church Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Milton                              MA                                         Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.489 Michael Bushell                                                              Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       17 Victoria Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rehoboth                            MA       02769
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.490 Michael Donato
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       72 Ashland Street                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Milford                                          MA        01757
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.491 Michael Donato                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       72 Ashland Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Milford                             MA       01757                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.492 Michael Fitz                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       50 Hill Top Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mashpee                             MA
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.493 Michael Kazaka
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       48 Letton Ave                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Braintree                                        MA        02184
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.494 Michael Lah                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       909 Summer Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marshfield                          MA       02050                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.495 Michael Mannion                                                              Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       61 Church Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Milton                              MA       02186
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.496 Michele Siegal
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       142 Howlands Road                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Assonet                                          MA        02702
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.497 Michelle Bogne                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       115 South Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hingham                             MA       02043                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.498 Michelle Boyne                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       115 South Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hingham                             MA       02043
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
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     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.499 Michelle Dias
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       77 Cambo Street                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Brockton                                         MA        02301
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.500 Michelle Labrecque                                                           Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       149 Cross Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Norwell                             MA       02061                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.501 Michelle Ladreue                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       149 Cross St.
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Norwell                             MA       02061
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
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     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.502 Michelle Moore
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       33 Nut Island Ave                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Quincy                                           MA        02169
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.503 Michelle Newell                                                              Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       340 Shipond Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.504 Mike Barrett                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       78 Wagon Wheel Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       North Scituate                      MA       02060
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 191 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

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      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


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     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.505 Mike Barrett
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       78 Wagon Wheel                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Plymouth                                         MA        02360
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.506 Mike Barton                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       24 Faumer Mt Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sandwich                            MA       02563                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.507 Mike Ecker                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       5 Pinehurst Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mattapoisett                        MA       02739
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 192 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.508 Mike Hubert
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       24 Highland Street                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       South Dartmouth                                  MA        02748
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.509 Mike Keith                                                                   Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3 Howard Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       South Easton                        MA       02375                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.510 Mike Murray                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       66 Milford Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Medway                              MA
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 193 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.511 Mike Rogge
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       114 Hackett Ave                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Lakeville                                        MA        02347
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.512 Mike Vargas                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1129 Washington Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Boston                              MA       02124                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.513 Mike Voss                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       343 Foake Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Raynham                             MA       02767
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 194 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.514 Mike and Tina Colorusso
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       12 Greener Pasters Lane                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Plymouth                                         MA        02360
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.515 Mine Cote                                                                    Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       69 Bay State Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Rehoboth                            MA       02769                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.516 Missy Garnett                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       47 Cole Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kingston                            MA       02364
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    Case
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                    First Name    Middle Name     Last NameDocument         Page 195 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.517 Missy Pritti
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       18 Vitos Run                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Plymouth                                         MA        02360
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.518 Mohammed Habibullah                                                          Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       17 Even Circle
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mansfield                           MA       02048                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.519 Molly Lane                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       242 Williams Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Providence                          RI       02906
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 196 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.520 Motchell Santos
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       11 Repose Lane                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       East Wareham                                     MA        02538
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.521 Mr. & Mrs. Mackenzie                                                         Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       4 Enwright Way
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Bridgewater                         MA       02324                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.522 Mr. & Mrs. Maloney                                                           Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       80 Main Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Norfolk                             MA       02056
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 197 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.523 Mukriski
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       43 Strand Ave                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Kingston                                         MA        02364
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.524 Mullualem Teffama                                                            Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       110 Clark Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Everett                             MA       02149                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.525 Nadeia Abelard                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       325 Blue Hill Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Milton                              MA       02186
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    Case
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.526 Nadeia Abelard
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       325 Blue Hill Ave                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Milton                                           MA        02186
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.527 Nanci Hedgcorth                                                              Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       351 Ocean Grove Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Swansea                             MA       02777                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.528 Nancy Barro                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       65 Mantain Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Boston                              MA       02124
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    Case
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                                                                                       Case number (if known)_____________________________________
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.529 Nancy Brown
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       19 Captian Besse Road                                                       When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       South Yarmouth                                   MA        02664
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.530 Nancy Marsh                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       8 Hales Hollow
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Dover                               MA       02030                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.531 Nancy Marsh                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       8 Hales Hollow
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Dover                               MA       02030
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.532 Nancy Tanguay
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       37 Oriole Drive                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Medfield                                         MA        02052
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.533 Nathanson & Goldberg                                                         Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       Two Atlantic Avenue
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       5th Floor
       _______________________________________________________________________
       Boston                              MA       02110                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.534 Neil Krug                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       95 Manomes Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hull                                MA       02045
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    First Name    Middle Name     Last NameDocument         Page 201 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.535 Nicholas Milano
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       620 VFW Parkway                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       West Roxbury                                     MA        02132
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.536 Nicholas Milano                                                              Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       620 VFW Parkway
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       West Roxbury                        MA       02132                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.537 Nicholas Milano                                                              Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       620 VFW Parkway
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       West Roxbury                        MA       02132
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 202 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.538 Nina Gursha
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       5 Buckwood Drive                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       South Yarmouth                                   MA        02664
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.539 Norman Degreve                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       15 Downing Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hingham                             MA       02043                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.540 Norman Sizelove                                                              Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       40 Regis Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       East Falmouth                       MA       02536
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
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                    First Name    Middle Name     Last NameDocument         Page 203 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.541 Obey Ekhathor
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       451 Central Street                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Stoughton                                        MA        02072
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.542 Oscar Niod                                                                   Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       48 High Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Medfield                            MA       02052                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.543 Ossama Labib                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       9 Kenny Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Warren                              RI
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 204 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.544 Owens Ivan F.
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       29 Rosewood Drive                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Halifax                                          MA        02338
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.545 Pam Anderson                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       7 Eva Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Middleboro                          MA       02346                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.546 Pam Anderson                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       7 Eva Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Middleboro                          MA       02346
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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                    First Name    Middle Name     Last NameDocument         Page 205 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.547 Pat Bratsos
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       567 2nd Street                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Everett                                          MA        02149
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.548 Pat McGrath                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       67 Indian Field Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       South Dennis                        MA       02660                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.549 Pat Regan                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       52 West Moreland Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Arlington                           MA       02474
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 206 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.550 Pat Soisson
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       10 Happy Hollow Rd                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       North Easton                                     MA        02356
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.551 Pat Soisson                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       10 Happy Hollow Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       North Easton                        MA       02356                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.552 Patricah Busch                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       1580 Main Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Brewster                            MA       02631
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 207 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.553 Patricia Drain for Bruce Arons
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       12 Middle Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Plymouth                                         MA        02360
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.554 Patricia Duncan                                                              Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       140 Lakeview Blvd
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.555 Patrick Calnan                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       75 Sonoma Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Quincy                              MA       02171
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
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                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 208 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.556 Patrick Calnan
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       75 Sonoma Road                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Quincy                                           MA        02171
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.557 Patrick Hickoy                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       32 Cedar Lane Way
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Boston                              MA       02108                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.558 Patty Caron                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       474 Luther Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Somerset                            MA       02726
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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                    First Name    Middle Name     Last NameDocument         Page 209 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.559 Patty Heath
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       30 Michelle Ave                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Carver                                           MA        02330
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.560 Patty McNaughton                                                             Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       427 Scudder Avenue
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hyannis Port                        MA       02647                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.561 Paul Camara                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       83 Howlands Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kingston                            MA       02364
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Sub contractor
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.562 Paul Camara
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       83 Howlands Lane                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Kingston                                         MA        02364
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.563 Paul Campana                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       441 Winter Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Walpole                             MA       02081                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.564 Paul Campisano                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       341 Franklin Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mansfield                           MA       02048
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.565 Paul Collins
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       1 Michelmore Way                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Foxboro                                          MA        02035
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.566 Paul Collins                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1 Michelmore Way
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Foxboro                             MA       02035                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.567 Paul Ellitt                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       30 Mirasol Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Harwichport                         MA
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.568 Paul Folan
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       96 Williams Street                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Mansfield                                        MA        02048
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.569 Paul Furman                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       107 Oldham
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Pembroke                            MA       02359                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.570 Paul Furman                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       107 Oldham Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Pembroke                            MA       021359
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.571 Paul Furman
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       107 Oldham Street                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Newton                                           MA        02159
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.572 Paul Maloney                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5 Sheridan Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kingston                            MA       02364                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.573 Paul Maloney                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       5 Shendan Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kingston                            MA       02364
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.574 Paul Mathew
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       30 Upland Road                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Brookline                                        MA        02445
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.575 Paul McPherson                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6 Reflection Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sandwich                            MA       02563                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.576 Paul Nourse                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       107 Oat Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Pembroke                            MA       02359
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.577 Paul Zak
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       56 Hamlet Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Fall River                                       MA        02724
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.578 Paul Zak                                                                     Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       56 Hamlet Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Fall River                          MA       02724                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.579 Pauline & Carl Platter                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       111 Porter St Ext
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Brockton                            MA       02301
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.580 Pembroke Welding
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       161 Schooseh Street                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Pembroke                                         MA        02359
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.581 Perfira Edsgn                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6 Cherry Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.582 Peter Bonner                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       44 Brownell
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Warren                              RI       02885
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Debtor 1
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                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 217 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.583 Peter Cakridas Jr
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       15 Oak Road                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Canton                                           MA        02021
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.584 Peter Doug                                                                   Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       42 Danbury Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Weymouth                            MA       02190                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.585 Peter Douglass                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       42 Danbury Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       S. Weymouth                         MA
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 218 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.586 Peter Estrela
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       6 Angel Court                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Westport                                         MA        02790
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.587 Peter Jones                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       10 Pine Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sharon                              MA       02067                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.588 Peter Kanavos                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       29 Otter Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cummaquid                           MA       02637
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 219 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.589 Peter Kavanagh
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       119 Wesbourne Terace                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Needham                                          MA        02492
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.590 Peter Laybourn                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       58 Clowes Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Falmouth                            MA       02540                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.591 Peter Low Forest Pines Estate                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       26 Forest Pines Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       East Dennis                         MA       02641
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 220 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.592 Peter P Scrima
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       76 Charei Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Monponsett                                       MA        02350
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.593 Peter Scrima                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       76 Charles Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Monponsett                          MA       02350                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Sub contractor
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.594 Peter Scrima                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       76 Charles Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Monponsett                          MA       02350
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
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                    First Name    Middle Name     Last NameDocument         Page 221 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.595 Peter Skutnik
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       797 Brush Hill Road                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Milton                                           MA        02186
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.596 Petter Laybourn                                                              Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       58 Clowes Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Falmouth                                     02540                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.597 Phil Larocca                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       49 Taft Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       West Yarmouth                       MA       02673
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 222 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.598 Phil Mabardy
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       1663 Central Ave                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Needham                                          MA        02492
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.599 Phil Mabardy                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1663 Central Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Needham                             MA       02492                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.600 Philip Trzcinski                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       66 Oriole Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       West Roxbury                        MA       02132
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 223 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.601 Phillip Netel
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       231 Longpond Road                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Plymouth                                         MA        02360
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.602 Prashant Rathore                                                             Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6 Musket Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sharon                              MA       02067                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.603 Pritesh Shau                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       28 Carriage Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lexington                           MA       02420
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 224 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.604 Prudvi Raj Dommaraju
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       5 Vinal Hill Road                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Westborough                                      MA        01581
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.605 Qi Liu                                                                       Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       67 Haggarty Hill Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Saunderstown                        RI       02874                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.606 Qi Lui                                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       67 Haggarty Hill Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Saunderstown                        RI       02874
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 225 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.607 Quich Books
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       382 River Ave                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Providence                                       RI        02908
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.608 Quick Books                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       382 River Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Providence                          RI       02908                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.609 Quick Stone                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       1111 N Westshore Blvd
       _____________________________________________________________
       Number           Street
       Ste 650                                                                     As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Tampa                               FL       33607
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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                   Case
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                   First Name    Middle Name     Last NameDocument         Page 226 of 347
 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.610 Quick Stone
      _____________________________________________________________               Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                           0.00
                                                                                                                                                          $__________________
       1111 N. Westshore Blvd                                                     When was the debt incurred?           ____________
      _____________________________________________________________
      Number           Street
       STE 650
      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       Tampa                                           FL        33607
      _____________________________________________________________
      City                                             State      ZIP Code           Contingent
                                                                                     Unliquidated
      Who incurred the debt? Check one.
                                                                                     Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                     Student loans
            Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                  that you did not report as priority claims

            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.611 Quickstone Captial Solutions                                                Last 4 digits of account number                                          Unknown
                                                                                                                                                          $__________________
      _____________________________________________________________               When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       111 N. Westshore Blvd
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      Suite 650
      _______________________________________________________________________
      Tampa                               FL       33607                             Contingent
      _____________________________________________________________
      City                                             State      ZIP Code           Unliquidated
      Who incurred the debt? Check one.                                              Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                     Student loans

            At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.612 REFLEX                                                                      Last 4 digits of account number       6269
      _____________________________________________________________                                                                                        105.00
                                                                                                                                                          $_________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       PO Box 3220
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Buffalo                             NY       14240
      _____________________________________________________________                  Contingent
      City                                             State      ZIP Code
      Who incurred the debt? Check one.                                              Unliquidated

      
      ✔      Debtor 1 only
                                                                                     Disputed

            Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                              Student loans
            At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             
                                                                                  ✔   Other. Specify
      
      ✔      No
            Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
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                    First Name    Middle Name     Last NameDocument         Page 227 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.613 Rahul Kulkarni
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       48 Bella Road                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Sharon                                           MA        02067
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.614 Rahul Kulkarni                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       48 Bella Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sharon                              MA       02067                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.615 Ramji Sastri                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       60 Edge Hill Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sharon                              MA       02067
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    Case
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                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.616 Ramji Sastri
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       60 Edge Hill Road                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Sharon                                           MA        02067
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.617 Randall Murphy & Paul McPherson                                              Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6 Reflection Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sandwich                            MA       02563                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.618 Regina Mazzaro                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       44 Selwyn Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Roslindale                          MA       02131
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.619 Rhussel Pascual
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       111 Navarre Street                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Hyde Park                                        MA        02136
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.620 Rich Allaire                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       57 Burt Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Norton                              MA       02766                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.621 Richard Bean                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       422 Everett Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Westwood                            MA       02090
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.622 Richard Bean
      _____________________________________________________________               Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                           0.00
                                                                                                                                                          $__________________
       422 Everett Street                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number           Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       Westwood                                        MA        02090
      _____________________________________________________________
      City                                             State      ZIP Code           Contingent
                                                                                  
                                                                                  ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                     Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                     Student loans
            Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                  that you did not report as priority claims

            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.623 Richard Gemma                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                          $__________________
      _____________________________________________________________               When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       20 Mohawk Trail
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Cranston                            RI       02921                             Contingent
      _____________________________________________________________
      City                                             State      ZIP Code        
                                                                                  ✔   Unliquidated
      Who incurred the debt? Check one.                                              Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                     Student loans

            At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.624 Richard Gemma                                                               Last 4 digits of account number
      _____________________________________________________________                                                                                        0.00
                                                                                                                                                          $_________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       20 Mohawk Trail
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Cranston                            RI       02921
      _____________________________________________________________                  Contingent
      City                                             State      ZIP Code
      Who incurred the debt? Check one.                                           
                                                                                  ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                     Disputed

            Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                              Student loans
            At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             
                                                                                  ✔   Other. Specify Service Warranty
      
      ✔      No
            Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.625 Richard Jeffery
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       63 Marion Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Boston                                           MA        02128
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.626 Richard Ladder                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       171 Old Country Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       East Sandwich                       MA       02537                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.627 Richard Nelson                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       100 Aunt Sophie Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Brewster                            MA       02631
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.628 Richard Nelson
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       100 Aunt Sophie's Road                                                      When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Brewster                                         MA        02631
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.629 Richard Osborn                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       31 Prospect Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hingham                             MA                                         Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.630 Richard Osborn                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       31 Prospect St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hingham                             MA       02043
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    _______________________________________________________
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.631 Richard White
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       3 Longmeadow Drive                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Canton                                           MA        02021
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.632 Rick Killieen                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       16 Nausett Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sagamore Beach                                                                 Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.633 Rick Killieen                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       16 Nausett Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sagamore Beach                      MA
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.634 Rin Chitinanda
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       122 Clinton Road                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Weymouth                                         MA        02189
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.635 Rob Munstis                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       11 Cornish Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Carver                              MA       02330                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.636 Rob Munstis                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       11 Cornish Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Carver                              MA
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.637 Rob Ryan
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       28 Captain Besse                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       South Yarmouth                                   MA        02664
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.638 Robert Abreu                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       41 Hill Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Norton                              MA       02766                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.639 Robert Carruzza                                                              Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       151 Bennington Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Boston                              MA       02128
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.640 Robert O'Brien
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       92 Surfside Road                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       West Dennis                                      MA        02670
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.641 Robert abd Jean Dobachesky                                                   Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       53 Bayshore Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.642 Robin Pedder                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       98 CentreStreet
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Dover                               MA       02030
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.643 Rod Owens
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       15 Wayside Drive                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       West Harwich                                     MA        02671
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.644 Ron Bregoli                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       321 Plain Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Braintree                           MA       02184                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.645 Ron Linnell                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       2426 Main Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       West Barnstable                     MA       02668
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.646 Ron Mackenzie
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       74 Lakeview Ave                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Taunton                                          MA        02780
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.647 Ron Mackenzie                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       74 Lakeview Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Taunton                             MA       02780                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.648 Rosa Lee NeBaron                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       53 Rockland Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Malden                              MA       02148
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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                    Case
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.649 Rosalie Moretti
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       70 Jencho Lane                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       West Chatham                                     MA        02669
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.650 Ruben Martinez                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       13 Locust Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       East Sandwich                       MA       02537                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.651 Ruben Martinez                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       13 Locust Lane
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       East Sandwich                       MA       02537
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    Case
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.652 Rudy Digiacomo
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       1248 Great Plain Ave                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Needham                                          MA
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.653 Rudy Digiacomo                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1248 Great Plain Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Needham                             MA                                         Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.654 Russell Galoury                                                              Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       44 Edwand Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Watertown                           MA       02472
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                   Case
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                   First Name    Middle Name     Last NameDocument         Page 241 of 347
 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.655 Russell Pascual
      _____________________________________________________________               Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                           0.00
                                                                                                                                                          $__________________
       111 Navarre Street                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number           Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       Hyde Park                                       MA        02136
      _____________________________________________________________
      City                                             State      ZIP Code           Contingent
                                                                                  
                                                                                  ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                     Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                     Student loans
            Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                  that you did not report as priority claims

            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.656 Ryan Maloney                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                          $__________________
      _____________________________________________________________               When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       20 Atlas Street
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Fairhaven                           MA       02719                             Contingent
      _____________________________________________________________
      City                                             State      ZIP Code        
                                                                                  ✔   Unliquidated
      Who incurred the debt? Check one.                                              Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                     Student loans

            At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.657 Ryan Oremus                                                                 Last 4 digits of account number
      _____________________________________________________________                                                                                        0.00
                                                                                                                                                          $_________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       6 Walden Court
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Medfield                            MA       02052
      _____________________________________________________________                  Contingent
      City                                             State      ZIP Code
      Who incurred the debt? Check one.                                           
                                                                                  ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                     Disputed

            Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                              Student loans
            At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             
                                                                                  ✔   Other. Specify Service Warranty
      
      ✔      No
            Yes


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 Debtor 1
                    Case
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.658 Ryan P. McInnis
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       22 Rickard Street                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Carver                                           MA        02330
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.659 Ryana Bianchi                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       48 King Stret
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Norfolk                             MA       02056                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.660 Ryann Bennett                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       87 Colonial Way
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Brewster                            MA       02645
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
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                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 243 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.661 Sam Engel
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       55 Warren Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Wellfleet                                        MA        02667
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.662 Samuel Mattison                                                              Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       93 Spring Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wakefield                           MA       01880                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.663 Sandra Lax                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       398 Annable Point Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Centerville                         MA       02632
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 244 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.664 Sandra Lax
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       384 Annable Point Road                                                      When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Centerville                                      MA        02632
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.665 Sarah Dryden Peterson                                                        Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       25 Thomas Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Jamaica Plain                       MA       02130                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.666 Sarah Tapscott                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       101 Punkhorn Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Harwich                             MA       02645
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 245 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.667 Sarinna Chaing
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       572 Quinobequin Road                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Natick                                           MA
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.668 Scott McNeil                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       82 Acorn Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Bedford                         MA       02740                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.669 Scott Ninomiya                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       1225 Salem Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       North Andover                       MA       01845
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 246 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.670 Serina Chiang
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       299 Newport Ave                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Quincy                                           MA        02169
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.671 Shai Triyedi                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       45 Bell Flower Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Billerica                           MA       01821                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.672 Shalonda Bodden                                                              Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       37 Elizabeth Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Attleboro                           MA       02703
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
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                    First Name    Middle Name     Last NameDocument         Page 247 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.673 Sharon Barnes
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       37 Bay Road                                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Wrentham                                         MA        02093
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.674 Sharon Longo                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       83 2nd Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Newport                             RI       02840                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.675 Sheila Connolly                                                              Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       7 Jean Circle
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Randolph                            MA       02368
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 248 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.676 Sheila Rehrig
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       28 Loop Road                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Falmouth                                         MA        02450
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.677 Shelly Murphy                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       25 Kennedy Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kingston                            MA       02364                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.678 Sherrie Souza                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       726 Old Warren Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Swansea                             MA       02777
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.679 Sherwin Williams
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       84 Long Pond Road                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Plymouth                                         MA        02360
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.680 Sherwin Williams/ Bethany Newman                                             Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       84 Long Pond Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.681 Shiela Rehrig                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       28 Loop Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Falmouth                            MA       02450
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.682 Shirley Ramchandani
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       91 University Road                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Apt 5
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Brookline                                        MA        02445
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.683 Shirley Villeneuve                                                           Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5 Magnolia Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cumberland                          RI       02864                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.684 Signarama                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       130 Wood Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Braintree                           MA       02184
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
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                    First Name    Middle Name     Last NameDocument         Page 251 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.685 Snow &Jones
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       126 Long Pond Road                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       #2
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Plymouth                                         MA        02360
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.686 Sofia Hussain                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       36 Ware Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Somerville                          MA       02144                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.687 Sonya Mederios                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       49 Main Street Rear
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kingston                            MA       02364
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
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                    First Name    Middle Name     Last NameDocument         Page 252 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.688 Sopheoun Phav
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       187 Leroy Ave                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Warwick                                          RI        02889
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.689 Sopheoun Phav                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       187 Leroy Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Warwick                             RI       02889                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.690 South Shore Ornamental                                                       Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       58 W Elm Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Bryantville                         MA       02327
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 253 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.691 Srey Sherman
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       30 Bishop Road                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Sharon                                           MA        02067
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.692 Srey Yin                                                                     Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5 Fowler Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lowell                              MA       01854                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.693 Stendahl Condo Association                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       251 Shore Drive
       _____________________________________________________________
       Number           Street
       Units A & E                                                                 As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Mashpee                             MA       02649
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.694 Steph Fanter
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       265 Shorewood Drive                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       East Falmouth                                    MA        02536
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.695 Stephen DeSantis                                                             Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       13 May Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       E. Walpole
       _______________________________________________________________________
       East Walpole                        MA       02032                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.696 Stephen Vachon                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       457 Lincoln St
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Abington                            MA       02351
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    First Name    Middle Name     Last NameDocument         Page 255 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.697 Steve Dasaro
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       36 Silver Beach Avenue                                                      When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       North Falmouth                                   MA        02556
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.698 Steve Tresca                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1 Pilgrim Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Harwich Port                        MA       02646                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.699 Steve Tresca                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       49B Jackson Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Newton Center                       MA       02459
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    Case
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                    _______________________________________________________
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.700 Steve Tresca
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       49 B Jackson Street                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Newton Center                                    MA        02459
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.701 Steve and Donna Cohen                                                        Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       3 Rockwood Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Dennis                              MA       02638                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.702 Steven Collum                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       41 Columbus Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       North Easton                        MA       02356
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.703 Steven Tackitt
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       230 Chandler Street                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Duxbury                                          MA        02332
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.704 Susan Bloom Richard                                                          Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2644 Main Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Barnstable                          MA       02630                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.705 Susan Corbo                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       119 Whig Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Dennis                              MA       02638
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.706 Susan Corbo
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       119 Whig Street                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Dennis                                           MA        02638
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.707 Susan DiMotta                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       6 Second Landing Way
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Truro                               MA       02666                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.708 Susan DiMotta                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       6 Second Landing Way
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Truro                               MA       02666
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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Debtor 1
                   Case
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                   _______________________________________________________
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                                                                                      Case number (if known)_____________________________________
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 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.709 Susan Hall
      _____________________________________________________________               Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                           0.00
                                                                                                                                                          $__________________
       597 Twin Lakes Drive                                                       When was the debt incurred?           ____________
      _____________________________________________________________
      Number           Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       Halifax                                         MA        02338
      _____________________________________________________________
      City                                             State      ZIP Code           Contingent
                                                                                  
                                                                                  ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                     Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                     Student loans
            Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                  that you did not report as priority claims

            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.710 Susan Hoffman & Paul Hoffman                                                Last 4 digits of account number                                          0.00
                                                                                                                                                          $__________________
      _____________________________________________________________               When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       508 Mariner Circle
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Cotuit                              MA       02635                             Contingent
      _____________________________________________________________
      City                                             State      ZIP Code        
                                                                                  ✔   Unliquidated
      Who incurred the debt? Check one.                                              Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                     Student loans

            At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.711 Susan Schramm                                                               Last 4 digits of account number
      _____________________________________________________________                                                                                        0.00
                                                                                                                                                          $_________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       64 Willard Street
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Quincy                              MA       02169
      _____________________________________________________________                  Contingent
      City                                             State      ZIP Code
      Who incurred the debt? Check one.                                           
                                                                                  ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                     Disputed

            Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                              Student loans
            At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             
                                                                                  ✔   Other. Specify Service Warranty
      
      ✔      No
            Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.712 Susan Wilson
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       60 Pine Needle Road                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Wellfleet                                        MA        02667
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.713 Susanne Guirakhoo                                                            Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       311 Tappan Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Unit 2
       _______________________________________________________________________
       Brookline                           MA       02445                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.714 Susanne Guirakhoo                                                            Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       39 Chestnut Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Melrose                             MA       02176
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.715 Susanne McNeil
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       122 Tall Oaks Drive                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
       Unti P
      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Weymouth                                         MA        02190
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.716 TRS                                                                          Last 4 digits of account number                                          25.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       PO Box 60022
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       City of Industry                    CA       9171609922                        Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.717 Tamara Isaacs                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       779 Union Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Duxbury                             MA       02332
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.718 Tanya Ronga
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       11 Thornton Brook Road                                                      When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       West Yarmouth                                    MA        02673
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.719 Tanya Washburn                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       133 Hawthorne Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Weymouth                            MA       02189                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.720 Taylor Rental Norfolk                                                        Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       262 Dedham Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Norfolk                             MA
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.721 Taylor Rental Norfolk
      _____________________________________________________________               Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                           0.00
                                                                                                                                                          $__________________
       262 Dedham Street                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number           Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       Norfolk                                         MA
      _____________________________________________________________
      City                                             State      ZIP Code           Contingent
                                                                                     Unliquidated
      Who incurred the debt? Check one.
                                                                                     Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                     Student loans
            Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                  that you did not report as priority claims

            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.722 Ted Nemtvow                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                          $__________________
      _____________________________________________________________               When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       156 Chelsea Street #102
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Boston                              MA       02128                             Contingent
      _____________________________________________________________
      City                                             State      ZIP Code        
                                                                                  ✔   Unliquidated
      Who incurred the debt? Check one.                                              Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                     Student loans

            At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.723 Ted Nemtvow                                                                 Last 4 digits of account number
      _____________________________________________________________                                                                                        0.00
                                                                                                                                                          $_________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       156 Chelsea Street
      _____________________________________________________________
      Number           Street
       #102                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Boston                              MA       02128
      _____________________________________________________________                  Contingent
      City                                             State      ZIP Code
      Who incurred the debt? Check one.                                           
                                                                                  ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                     Disputed

            Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                              Student loans
            At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             
                                                                                  ✔   Other. Specify Service Warranty
      
      ✔      No
            Yes


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                    _______________________________________________________
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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.724 Ted Steiger
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       52 Point Hill Road                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       West Barnstable                                  MA        02668
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.725 Ted Steiger                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       52 Point Hill Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       West Barnstable                     MA       02668                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warrnaty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.726 Teresa Deulin                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       132 White Oak Way
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       > Attelbrpror                       MA
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.727 Terry Norton
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       185 Richmond Street                                                         When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       New Bedford                                      MA        02740
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.728 Theos Family Trust                                                           Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       65 Cedar Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Dedham                              MA       02026                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.729 Theresa Estel                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       9 Ashberry Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.730 Theresa McDermott
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       40 Rosemary Road                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Dedham                                           MA        02026
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.731 Therese Estel                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       9 Ashberry Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA                                         Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.732 Therese Estel                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       9 Ashberry Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    First Name    Middle Name     Last NameDocument         Page 267 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.733 Therese Furfey
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       8 Shapuit Bars Circle                                                       When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       West Falmouth                                    MA        02574
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.734 Thomas Alexander                                                             Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       35 Easton Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hyde Park                           MA       02136                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.735 Thomas Gainey                                                                Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       19 Rockwood Place
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Holbrook                            MA       02343
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.736 Thomas Judd
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       20 Amherst Street                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Roslindale                                       MA        02131
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.737 Thomas Lavaller                                                              Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       99 Lookout Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Yarmouth Port                       MA       02675                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.738 Tiffany Cogell                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       4 Grimes Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Lexington                           MA       02420
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 269 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.739 Tim Acker
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       507 Ocean Meadow                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Fairhaven                                        MA
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.740 Tim Seaver                                                                   Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       13 Oak Street Ext
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Franklin                            MA       02038                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.741 Tim Seaver                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       13 Oak Street Ext
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Franklin                            MA       02038
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 270 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.742 Tjaida Nauta & Ann Jones
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       238 Pimlico Pond Road                                                       When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Mashpee                                          MA        02649
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.743 Tom Healy                                                                    Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       89 Pilgrim Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marshfield                          MA                                         Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.744 Tom Healy                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       89 Pilgrim Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marshfield                          MA       02050
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 271 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.745 Tom Lyden
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       48 Lizotte Drive                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Bellingham                                       MA        02019
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.746 Tomphson Withman                                                             Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       2 Coventry Place
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sandwich                            MA       02563                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.747 Tony Fiore                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       98 Birch Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Pembroke                            MA       02359
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 272 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.748 Tony Gray
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       21 Edward Kelleher Drive                                                    When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Stoughton                                        MA        02072
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.749 Tony Holley                                                                  Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       68 Topliff Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Boston                              MA       02122                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.750 Tony Tong                                                                    Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       29 Maplewood Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       West Roxbury                        MA       02132
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
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                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 273 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.751 Top Lift Garden c/o Chalaun Lomax
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       191 Bowdoin Street                                                          When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Boston                                           MA        02125
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.752 Torrey Botelho                                                               Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       68 Glendale Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Brockton                            MA       02301                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.753 Town of Kingston                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        45.94
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       PO Box 900
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Kingston                            MA       02364
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 274 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.754 Tracy Leigh Steele
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       68 Forest Street                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Berkley                                          MA        02779
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.755 Trudl Van Slyck                                                              Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       198 Lexington Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Cambridge                           MA       02138                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.756 Tyler Gold                                                                   Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       153 Telegraph Hill Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Marshfield                          MA       02050
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 275 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.757 Tyrone Rydah
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       854 Centre Street                                                           When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Brockton                                         MA        02302
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.758 Udita Jain                                                                   Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       5 Andens Way
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Acton                               MA       01720                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.759 Val Cativalaho                                                               Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       110 Underwood Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Fall River                          MA       02720
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
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                    First Name    Middle Name     Last NameDocument         Page 276 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.760 Valter Ponte
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       39F American Legion Highway                                                 When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Westport                                         MA        02798
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.761 Veera Lin                                                                    Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       55 Maple Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plainville                          MA       02762                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.762 Vicki & Arthur Bonin                                                         Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       235 Main Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Foxboro                             MA       02035
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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                    Case
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                    First Name    Middle Name     Last NameDocument         Page 277 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.763 Vicki Allen
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       40 Massapoag Ave                                                            When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Sharon                                           MA        02067
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.764 Vickie Allen                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       40 Massapoag Ave
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sharon                              MA       02067                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.765 Victor Macedo Silva                                                          Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       21 Cherry Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Plymouth                            MA       02360
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.766 Victor Munger
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       10 Emerson Way                                                              When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Hopkinton                                        MA        01748
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.767 Vincent Andrews                                                              Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       345 Highland Avenue
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Randolph                            MA       02368                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.768 Walter & Mary O'Donnell                                                      Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       32 Driftway Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Weymouth                            MA       02191
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                              Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify
      
      ✔       No
             Yes


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 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.769 Wanddy & Daphnee LaFleur
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       74 Autran Ave                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       North Andover                                    MA        01845
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                   
                                                                                   ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.770 Wayne Mesard                                                                 Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       412 Cushing Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Hingham                             MA       02043                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.771 Wendy Powell                                                                 Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       50 Juniper Road
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       N. Attleboro                        MA       02076
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 280 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.772 Western World Ins
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            1,000.00
                                                                                                                                                           $__________________
       1253 Haddonfield Berlin Road                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Voorhess                                         NJ        08043-4847
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.773 William Barry                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       49 Midpoint Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Yarmouth Port                       MA       02675                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code        
                                                                                   ✔   Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.774 William Buker Jr                                                             Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       20 Budono Drive
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Acushnet                            MA       02743
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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Debtor 1
                   Case
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                   _______________________________________________________
                                                                                                   21:58:54 Desc Main
                                                                                      Case number (if known)_____________________________________
                   First Name    Middle Name     Last NameDocument         Page 281 of 347
 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.775 Yi Lin
      _____________________________________________________________               Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                           0.00
                                                                                                                                                          $__________________
       79 Lincoln Ave                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number           Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       Quincy                                          MA        02170
      _____________________________________________________________
      City                                             State      ZIP Code           Contingent
                                                                                  
                                                                                  ✔   Unliquidated
      Who incurred the debt? Check one.
                                                                                     Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                     Student loans
            Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                  that you did not report as priority claims

            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.776 Yiheng Liang                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                          $__________________
      _____________________________________________________________               When was the debt incurred?           ____________
      Nonpriority Creditor’s Name
       11 Chestire Road
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Sharon                              MA       02067                             Contingent
      _____________________________________________________________
      City                                             State      ZIP Code        
                                                                                  ✔   Unliquidated
      Who incurred the debt? Check one.                                              Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                     Student loans

            At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Service Warranty
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.777 Zack Dumas                                                                  Last 4 digits of account number
      _____________________________________________________________                                                                                        0.00
                                                                                                                                                          $_________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       180 Sanford Road
      _____________________________________________________________
      Number           Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Westport                            MA       02790
      _____________________________________________________________                  Contingent
      City                                             State      ZIP Code
      Who incurred the debt? Check one.                                           
                                                                                  ✔   Unliquidated

      
      ✔      Debtor 1 only
                                                                                     Disputed

            Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                              Student loans
            At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                             
                                                                                  ✔   Other. Specify Service Warranty
      
      ✔      No
            Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
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 Debtor 1
                    Case
                     Gaetano19-12826
                               John Scarpaci Doc 1         Filed 08/20/19 Entered 08/20/19
                    _______________________________________________________
                                                                                                    21:58:54 Desc Main
                                                                                       Case number (if known)_____________________________________
                    First Name    Middle Name     Last NameDocument         Page 282 of 347
 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.778 Zip Recruiter
      _____________________________________________________________                Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                            0.00
                                                                                                                                                           $__________________
       1453 3rd Street                                                             When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Santa Monica                                     CA        90401
      _____________________________________________________________
      City                                              State      ZIP Code           Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.
                                                                                      Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                      Student loans
             Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
             At least one of the debtors and another                                  that you did not report as priority claims

             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.779 Zip recruiter                                                                Last 4 digits of account number                                          0.00
                                                                                                                                                           $__________________
       _____________________________________________________________               When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
       1453 3rd Street
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Santa Monica                        CA       90401                             Contingent
       _____________________________________________________________
       City                                             State      ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                              Disputed
      
      ✔       Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                      Student loans

             At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify
      Is the claim subject to offset?
      
      ✔       No
             Yes
4.780 anna Willis                                                                  Last 4 digits of account number
       _____________________________________________________________                                                                                        0.00
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
       21 Ashland Place
       _____________________________________________________________
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New Bedford                         MA       02740
       _____________________________________________________________                  Contingent
       City                                             State      ZIP Code
       Who incurred the debt? Check one.                                           
                                                                                   ✔   Unliquidated

      
      ✔       Debtor 1 only
                                                                                      Disputed

             Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only                                              Student loans
             At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
             Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   ✔   Other. Specify Service Warranty
      
      ✔       No
             Yes


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Debtor 1
                Case
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                _______________________________________________________
                                                                                                21:58:54 Desc Main
                                                                                   Case number (if known)_____________________________________
                First Name    Middle Name     Last NameDocument         Page 283 of 347
Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Plymouth District Court                                          On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      52 Obery Street                                                       4.165of (Check one):
                                                                       Line _____                      Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                            
                                                                                                      ✔ Part 2: Creditors with Nonpriority Unsecured Claims

     _____________________________________________________
                                                                       Last 4 digits of account number
      Plymouth                             MA    02360
     _____________________________________________________
     City                                  State        ZIP Code


     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                        Line _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                        Claims

     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code


     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                        Line _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                        Claims

     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code


     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                        Line _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                        Claims

     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code


     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                        Line _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                        Claims

     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code


     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                        Line _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                        Claims

     _____________________________________________________              Last 4 digits of account number
     City                                  State        ZIP Code


     _____________________________________________________              On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________              Line _____ of (Check one):     Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                       Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________              Claims

     _____________________________________________________
     City                                  State        ZIP Code
                                                                        Last 4 digits of account number


  Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                              page __
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Debtor 1
               Case
                Gaetano19-12826
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               _______________________________________________________
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                                                                                  Case number (if known)_____________________________________
               First Name    Middle Name     Last NameDocument         Page 284 of 347
Pa rt 4 :   Add the Am ount s for Ea c h Type of U nse c ure d Cla im


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.                         0.00
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.                         0.00
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.                         0.00
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                                           0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                           0.00
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.                          0.00
Total claims                                                                            $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.
                                                                                                            0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.                          0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                                      1,434.27


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                                       1,434.27
                                                                                        $_________________________




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                                                            Document      Page 285 of 347
 Fill in this information to identify your case:

                       Gaetano John Scarpaci
 Debtor               __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


 United States Bankruptcy Court for the:______________________
                                        District of Massachusetts District of ________
                                                                                 (State)
 Case number           ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      ✔    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                     1
                                                                                                                                              page 1 of ___
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 Fill in this information to identify your case:

                     Gaetano John Scarpaci
 Debtor 1           __________________________________________________________________
                        First Name                    Middle Name                  Last Name

 Debtor 2               ________________________________________________________________
 (Spouse, if filing) First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:_______________________
                                         District of Massachusetts District of ________
                                                                                               (State)
 Case number            ____________________________________________
  (If known)
                                                                                                                                                  Check if this is an
                                                                                                                                                    amended filing

Official Form 106H
Sc he dule H : Y our Code bt ors                                                                                                                              12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      ✔    No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      ✔    No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                  No
                  Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                   ______________________________________________________________________
                   Name of your spouse, former spouse, or legal equivalent

                   ______________________________________________________________________
                   Number            Street

                   ______________________________________________________________________
                   City                                             State                        ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                               Check all schedules that apply:
3.1
         ________________________________________________________________________________                         Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                                  Schedule E/F, line ______
          Street                                                                                                  Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                        ZIP Code

3.2
         ________________________________________________________________________________                         Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                                  Schedule E/F, line ______
          Street                                                                                                  Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                        ZIP Code

3.3
         ________________________________________________________________________________                         Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                                  Schedule E/F, line ______
          Street                                                                                                  Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                        ZIP Code



Official Form 106H                                                              Schedule H: Your Codebtors                                                       1
                                                                                                                                                      page 1 of ___
                  Case 19-12826            Doc 1          Filed 08/20/19 Entered 08/20/19 21:58:54                            Desc Main
                                                          Document      Page 287 of 347
 Fill in this information to identify your case:

                      Gaetano John Scarpaci
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name              Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name              Last Name


 United States Bankruptcy Court for the: ______________________
                                          District of Massachusetts District
                                                                                  tate)
 Case number         ___________________________________________                                      Check if this is:
  (If known)
                                                                                                       An amended filing
                                                                                                       A supplement showing postpetition chapter 13
                                                                                                         income as of the following date:
                                                                                                         ________________
Official Form 106I                                                                                       MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                           Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status               Employed                                        Employed
    employers.                                                          
                                                                        ✔ Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                    __________________________________          __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                         Employer’s name              __________________________________            __________________________________


                                         Employer’s address           _______________________________________     ________________________________________
                                                                       Number Street                               Number    Street

                                                                      _______________________________________     ________________________________________

                                                                      _______________________________________     ________________________________________

                                                                      _______________________________________     ________________________________________
                                                                       City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________                          ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                 For Debtor 1       For Debtor 2 or
                                                                                                                    non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.          2.
                                                                                                $___________           $____________

 3. Estimate and list monthly overtime pay.                                               3.   + $___________      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                          4.    $__________            $____________




Official Form 106I                                                Schedule I: Your Income                                                      page 1
                 Case 19-12826
                 Gaetano   John Scarpaci Doc 1 Filed 08/20/19                                         Entered 08/20/19 21:58:54 Desc Main
Debtor 1         _______________________________________________________
                 First Name         Middle Name               Last NameDocument                     Page 288 ofCase
                                                                                                                347 number (if known)_____________________________________

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.     $___________            $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.     $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.     $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.     $____________            $_____________
     5d. Required repayments of retirement fund loans                                                            5d.     $____________            $_____________
     5e. Insurance                                                                                               5e.     $____________            $_____________
     5f. Domestic support obligations                                                                            5f.     $____________            $_____________

     5g. Union dues                                                                                              5g.     $____________            $_____________

     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________       +   $_____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.     $____________            $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.     $____________            $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________            $_____________
     8e. Social Security                                                                                         8e.          900.00
                                                                                                                         $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________            $_____________

     8g. Pension or retirement income                                                                            8g.        1,900.00
                                                                                                                         $____________            $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.        2,800.00
                                                                                                                         $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                            2,800.00
                                                                                                                         $___________     +       $_____________    =      2,800.00
                                                                                                                                                                        $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                  11. + $_____________
                                                                                                                                                                            0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                           2,800.00
                                                                                                                                                                        $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                        12.
                                                                                                                                                                        Combined
                                                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     
     ✔     No.
          Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                page 2
                   Case 19-12826              Doc 1         Filed 08/20/19 Entered 08/20/19 21:58:54                                     Desc Main
                                                            Document      Page 289 of 347
  Fill in this information to identify your case:

                     Gaetano John Scarpaci
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name                 Last Name
                                                                                                               An amended filing
                                          District of Massachusetts
                                                                                                               A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________    District of __________                        expenses as of the following date:
                                                                                      (State)
                                                                                                                  ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  ✔ No
                                                                                          Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                  Yes. Fill out this information for           Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’
                                                                                                                                                      No
                                                                                           _________________________                ________
   names.                                                                                                                                             Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                  1,150.00
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                        0.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                        0.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                      0.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                      0.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                               page 1
                   Case 19-12826                Doc 1        Filed 08/20/19 Entered 08/20/19 21:58:54                     Desc Main
                                                             Document      Page 290 of 347
                    Gaetano John Scarpaci
 Debtor 1          _______________________________________________________                   Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                        Your expenses

                                                                                                                       $_____________________
                                                                                                                                        0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                  5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                    6a.    $_____________________
                                                                                                                                     100.00
        6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
                                                                                                                                        0.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_____________________
                                                                                                                                     225.00
        6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________
                                                                                                                                        0.00
 7. Food and housekeeping supplies                                                                              7.     $_____________________
                                                                                                                                     350.00
 8. Childcare and children’s education costs                                                                    8.     $_____________________
                                                                                                                                        0.00
 9. Clothing, laundry, and dry cleaning                                                                         9.     $_____________________
                                                                                                                                      70.00
10.    Personal care products and services                                                                      10.    $_____________________
                                                                                                                                      50.00
11.    Medical and dental expenses                                                                              11.    $_____________________
                                                                                                                                     500.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                       $_____________________
                                                                                                                                        0.00
       Do not include car payments.                                                                             12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
                                                                                                                                        0.00
14.     Charitable contributions and religious donations                                                        14.    $_____________________
                                                                                                                                        0.00
                                                                                                                                                      1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                     15a.   $_____________________
                                                                                                                                        0.00
        15b. Health insurance                                                                                   15b.   $_____________________
                                                                                                                                        0.00
        15c. Vehicle insurance                                                                                  15c.   $_____________________
                                                                                                                                        0.00
        15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________
                                                                                                                                        0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                       16.
                                                                                                                                       0.00
                                                                                                                       $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                         17a.   $_____________________
                                                                                                                                        0.00
        17b. Car payments for Vehicle 2                                                                         17b.   $_____________________
                                                                                                                                        0.00
        17c. Other. Specify:_______________________________________________                                     17c.   $_____________________
                                                                                                                                        0.00
        17d. Other. Specify:_______________________________________________                                     17d.   $_____________________
                                                                                                                                        0.00

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                    0.00
                                                                                                                       $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                           19.
                                                                                                                                        0.00
                                                                                                                       $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                        20a.   $_____________________
                                                                                                                                        0.00
        20b. Real estate taxes                                                                                  20b.   $_____________________
                                                                                                                                        0.00
        20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________
                                                                                                                                        0.00
        20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________
                                                                                                                                        0.00
        20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________
                                                                                                                                        0.00


      Official Form 106J                                         Schedule J: Your Expenses                                                   page 2
                  Case 19-12826               Doc 1        Filed 08/20/19 Entered 08/20/19 21:58:54                          Desc Main
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                   Gaetano John Scarpaci
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 2,445.00
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 2,445.00
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       2,800.00
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 2,445.00
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                    355.00
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.      Explain here:




      Official Form 106J                                       Schedule J: Your Expenses                                                        page 3
                  Case 19-12826                     Doc 1            Filed 08/20/19 Entered 08/20/19 21:58:54                                                   Desc Main
                                                                     Document      Page 292 of 347

 Fill in this information to identify your case:

 Debtor 1
                     Gaetano John Scarpaci
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Massachusetts District of __________
                                                                                                (State)
 Case number         ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 0.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 20,500.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 20,500.00
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 0.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 1,434.27
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 1,434.27
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 2,800.00
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 2,445.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                 Case 19-12826                Doc 1        Filed 08/20/19 Entered 08/20/19 21:58:54                                   Desc Main
                  Gaetano John Scarpaci                    Document      Page 293 of 347
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
    ✔


           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                  $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                               0.00
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                                         0.00
                                                                                                            $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                       page 2 of 2
                      Case 19-12826             Doc 1        Filed 08/20/19 Entered 08/20/19 21:58:54                                 Desc Main
                                                             Document      Page 294 of 347
Fill in this information to identify your case:

                  Gaetano John Scarpaci
Debtor 1          __________________________________________________________________
                    First Name              Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the:District of Massachusetts District of __________
                                                                                   (State)
Case number         ___________________________________________                                                                                Check if this is an
 (If known)                                                                                                                                       amended filing



  Official Form 108
  St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Pa rt 1 :        List Y our Cre dit ors Who H a ve Se c ure d Cla im s

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                    What do you intend to do with the property that   Did you claim the property
                                                                                        secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                    Surrender the property.                           No
          name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________


         Creditor’s                                                                     Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________


  Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                       page 1
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                     Gaetano John Scarpaci
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Debtor              ______________________________________________________                   Case number (If known)_____________________________________




 Pa rt 2 :          List Y our Une x pire d Pe rsona l Prope rty Le a se s

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

         Describe your unexpired personal property leases                                                            Will the lease be assumed?

         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
         Description of leased                                                                                       Yes
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:




 Pa rt 3 :          Sign Be low



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



  /s/ Gaetano John Scarpaci
         ___________________________________________             ___________________________________________
     Signature of Debtor 1                                         Signature of Debtor 2

             08/20/2019
     Date _________________                                        Date _________________
             MM /    DD   /   YYYY                                      MM /   DD /   YYYY




 Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                          page 2
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N ot ic e Re quire d by 1 1 U.S.C. § 3 4 2 (b) for
I ndividua ls Filing for Ba nk rupt cy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

     You are an individual filing for bankruptcy,
                                                                          $245     filing fee
       and                                                                 $75     administrative fee
                                                                +          $15     trustee surcharge
     Your debts are primarily consumer debts.
                                                                          $335     total fee
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                   Chapter 7 is for individuals who have financial
       primarily for a personal, family, or                     difficulty preventing them from paying their
       household purpose.”                                      debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
T he t ype s of ba nk rupt c y t ha t a re                      bankruptcy discharge relieves you after
a va ila ble t o individua ls                                   bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
     Chapter 7 — Liquidation
                                                                However, if the court finds that you have
     Chapter 11 — Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
     Chapter 12 — Voluntary repayment plan
                   for family farmers or                        may deny your discharge.
                   fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
     Chapter 13 — Voluntary repayment plan
                   for individuals with regular                 debts are not discharged under the law.
                   income                                       Therefore, you may still be responsible to pay:
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice of
                                                                    domestic support and property settlement
chapter.
                                                                     obligations;




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   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167 filing fee
If your income is above the median for your                     +          $550 administrative fee
state, you must file a second form —the                                  $1,717 total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If


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Re a d T he se I m port a nt Wa rnings


 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
 your property, you should hire an attorney and carefully consider all of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200 filing fee
                                                                future earnings. If the court approves your
+           $75 administrative fee
           $275 total fee
                                                                plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or
Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
family farmers and fishermen to repay their                     factors.
debts over a period of time using future
earnings and to discharge some debts that are                   After you make all the payments under your
not paid.                                                       plan, many of your debts are discharged. The
                                                                debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
            individuals with regular                                most student loans,
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee
                                                                    debts for fraud or defalcation while acting
+          $75    administrative fee
                                                                     in a fiduciary capacity,
          $310    total fee
                                                                    most criminal fines and restitution
Chapter 13 is for individuals who have regular                       obligations,
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.
                                                                    certain debts for acts that caused death or
You are eligible for chapter 13 only if your
                                                                     personal injury, and
debts are not more than certain dollar amounts
                                                                    certain long-term secured debts.
set forth in 11 U.S.C. § 109.


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                                                                A married couple may file a bankruptcy case
    Wa rning: File Y our Form s on T im e                       together—called a joint case. If you file a joint
                                                                case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The               your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
    not file this information within the deadlines set by       each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and                U nde rst a nd w hic h se rvic e s you
    their deadlines, go to:                                     c ould re c e ive from c re dit
    http://www.uscourts.gov/bkforms/bankruptcy_form             c ounse ling a ge nc ie s
    s.html#procedure.
                                                                The law generally requires that you receive a
                                                                credit counseling briefing from an approved
                                                                credit counseling agency. 11 U.S.C. § 109(h).
Ba nk rupt c y c rim e s ha ve se rious
                                                                If you are filing a joint case, both spouses must
c onse que nc e s
                                                                receive the briefing. With limited exceptions,
     If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
      assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
      under penalty of perjury—either orally or                 is usually conducted by telephone or on the
      in writing—in connection with a                           Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                generally must complete a financial
      All information you supply in connection                 management instructional course before you
      with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
      offices and employees of the U.S.                         provide both the briefing and the instructional
      Department of Justice.                                    course from:
                                                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
M a k e sure t he c ourt ha s your                              In Alabama and North Carolina, go to:
m a iling a ddre ss                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/

The bankruptcy court sends notices to the                       BankruptcyResources/ApprovedCredit

mailing address you list on Voluntary Petition                  AndDebtCounselors.aspx.

for Individuals Filing for Bankruptcy (Official
                                                                If you do not have access to a computer, the
Form 101). To ensure that you receive
                                                                clerk of the bankruptcy court may be able to
information about your case, Bankruptcy
                                                                help you obtain the list.
Rule 4002 requires that you notify the court of
any changes in your address.


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1-800-PACK-RAT                                         Alex Phillibert
11640 Northpark Drove                                  41 Bolster Street
Ste 200                                                Everett, MA
Wake Forest, NC 27587

                                                       Alexander Stavrianidis
179 Treamont St Condo                                  17 Norfolk Place
179 Treamont St                                        Sharon, MA 02067
Newton, MA 02458

                                                       Alfred Evans
191 Realty Trust                                       4 Cliffwood Lane
191 Norfolk Avenue                                     West Falmouth, MA 02574
Boston, MA 02119

                                                       Alicia Talkowski
23 Juniper Street Condo Association                    32 Holbrook Street
23 Junioer Street                                      Rockland, MA 02370
Unit 1 & 2
Boston, MA 02119
                                                       Allesandra Lastih
                                                       3 Aberdeen Drive
Adam Fosterynolds Rd                                   Scituate, MA 02066
57 Benjamin Re
West Greenwich, RI 02817
                                                       Alondra Abdur-Rahman
                                                       335 Raymond Street
Addie Heelan                                           New Bedford, MA 02745
20 Thompson Drive
Seekonk, MA 02771
                                                       Alyssa Brymer
                                                       82 Crimson Harvest Drive
Adobe                                                  Kingston, 02364
One Newton PLace
Newton, MA 02458
                                                       Alyssa Frates
                                                       158 Ohio Street
Adobe                                                  New Bedford, MA 02745
One Newton Place
Newton, MA 02458
                                                       Amanda Bruneau
                                                       25 Lakeside Ave
Adrienne Bolger                                        Weymouth, MA 02189
24 Jackson Road
Unit 1
Somerville, MA 02145                                   Amerra Hassan
                                                       114 Pine Grove Road
                                                       South Yarmouth, 02664
Al Chicoine
26 Sears Road
Paxton, MA 01612                                       Amir Rasheed
                                                       115 Ellise Street
                                                       Attleboro, MA 02760
Al Marylou Zdanovich
51 Williams Drive
Brewster, MA 02631                                     Amity Noble
                                                       9 5th Avenue
                                                       Scituate, MA 02066
Alan Brunelle
55 Winthrop Street
Woonsocket, RI 02895
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Amy Chanlley                                         Anita Mabardy
5 Kaitlyn Way                                        1663 Central Ave
New Bedford, MA 02745                                Needham, MA 02492


Amy Kelly                                            Ann Andrews
14 Tart Road                                         42 Riverdale South
Weymouth, MA 02191                                   South Dennis, MA 02660


Amy Lassi                                            Ann Beatrice
30 D Terrace                                         49 Barker Rd
Malden, MA 02148                                     Malden, MA 02148


Amy Plante                                           Antoinette Fanjoy
19 Autumn Road                                       223 Wareham Street
Medway, MA 02053                                     Middleboro, MA 02346


Amy Roderick                                         Ara Realty Trust
21 Academy Ave                                       160 West Union Street
Fairhaven, MA 02719                                  East Bridgewater, MA 02333


Amy Shah                                             Ardis Markarian
11 Bow Run                                           43 Howland Street
Saunderstown, RI 02874                               Provincetown, MA 02657


Ana Willis                                           Arian Radmand
21 Ashland Place                                     17 Parker Court
New Bedford, MA 02740                                Natick, MA 01760


Andrea Lombardi                                      Arlean Bor
70 Fremont Ave                                       629 Harvard Street
Chelsea, MA 02150                                    Fall River, MA 02720


Andrew F Stout                                       Arthor Walsh
20 Seaver Avenue                                     8 Lydon Lane
Kingston, MA 02364                                   Kingston, MA 02364


Andrew Peebles                                       Artie Dolan
79 Florida Street                                    21 Ewdard Road
Boston, MA 02124                                     Marshfield, MA 02050


Andy Rego                                            Authorize Net
65 New Carver Street                                 P.O. Box 947
Raynham, MA 02767                                    American Fork, UT 84003-0947


Angies List                                          Authorize Net
1030 E. Washington Street                            PO Box 947
Indianapolis, IN 46202                               American Fork, UT 84003-0947
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Ayman Fanek                                        Bob Curray
310 Bark Street                                    188 Precint Street
Swansea, MA 02777                                  East Taunton, MA 02718


Bart Riley                                         Bob Donaldson
49 Shore Road                                      16 Tanglewood Terrace
Kingston, MA 02364                                 East Orleans, MA 02643


Benjamin Fawcett                                   Bob Jewekk
20 Seaver Street                                   66 Margin Street
Kingston, MA 02364                                 Cohasset, MA 02025


Beth & Richard Shorrock                            Bob Vinson
408 Cornell Road                                   23 Vernon Street
Westport, MA 02790                                 Plymouth, MA 02360


Better Business Bureau                             Bonnie Bell
3033 Wilson Blvd                                   112 Sycamore Street
Suite 600                                          Holbrook, MA 02343
Arlington, VA 22201

                                                   Brenda Brantley
Beverly Cummings                                   2360 Centre Street
16 Hutchings Street                                West Roxbury, MA 02132
Boston, MA 02121

                                                   Brendan Stafford
Beverly Wilkins                                    33 Harvard Road
529 Hildreth Street                                Dennisport, MA 02439
Dracut, MA 01826

                                                   Brenton DeBoef
Bill Abbott                                        18 Barberry Hill Road
2 Bound Brook Island                               Cumberland, RI 02864
Truro, MA

                                                   Brian Lindley
Bill Johnson                                       28 Preston Drive
1636 E Drift Road                                  Warwick, RI 02886
Westport, MA 02790

                                                   Brian Marsland
Bill Johnson                                       100 Silver Lake Road
1636 East Drift Road                               Bellingham, MA 02019
Westport, MA 02790

                                                   Brian Owens
Bill Rebello                                       195 Copeland Street
105 Donald Lewis Drive                             Unit B
Seekonk, MA 02771                                  Canton, MA 02021


Bob & Charlotte Greene                             Brian Owens
13 Lorna Ave                                       195 Copeland St
Pembroke, MA 02359                                 Unit B
                                                   Quincy, MA 02169
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Brian Slayter                                      Carolyn Burke
32 Brooks Street                                   1 Arnold Terrace
Hanson, MA 02341                                   Burlington, MA 01803


CNAC                                               Carolyn Girandola
1675 Main Street                                   10 Ashley Street
Brockton, MA 02301                                 Jamaica Plain, MA 02130


Camenon Pendieten                                  Carrie Grady
40 Woodhavon Street                                23 Juniper Street
Carver, MA 02330                                   Unit 1
                                                   Roxbury, MA 02119

Cameron Dennis
20 Eastwood Lane                                   Carrie Hui
Cotuit, MA 02635                                   195 Copeland Street
                                                   Unit C
                                                   Quincy, MA 02169
Cape Cod Alarm Co, Inc
204 Old Townhouse Road
West Yarmouth, MA 02673                            Casagrande Odair
                                                   3 Chapell Hill Drive
                                                   Plymouth, MA 02360
Carl Ketchum
545 West Falmouth Highway
West Falmouth, MA 02574                            Cassy Gavin
                                                   13 Park Terrace
                                                   Everett, MA 02149
Carla Jagti
88 Holmes Road
Warwick, RI 02888                                  Catherin Kood
                                                   16 Katy Hatchs Road
                                                   Falmouth, MA 02450
Carnali
52 Centre Street
Quincy, MA 02169                                   Catherine Li
                                                   17 Bridke Path
                                                   Canton, MA 02021
Carol Cremmen
38 Sam Turner Road
East Falmouth, MA 02536                            Catherine Robertson
                                                   12 Fox Run Road
                                                   Sagamore Beach, MA 02562
Carol Cremmen
338 Sam Turner Rd
East Falmouth, MA 02536                            Cathy & Barry Hawes
                                                   599 West Shone Raod
                                                   Warwick, RI 02889
Carol Stergio
66 Margin Street
Cohassett, MA                                      Cathy Simonelli
                                                   105 Adams Ave
                                                   Saugus, MA 01906
Carolina Benitez
5 Farm Pike
Smithfield, RI 02917                               Charisse Powell
                                                   20 Beatrice Way
                                                   Canton, MA 02021
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Charles Busa                                      Chris Griffin
29 Branch Rd                                      14 Hillview Lane
East Bridgewater, MA 02333                        Plymouth, MA 02360


Charles Cummings                                  Chris Lamothe
140 Rockland Street                               3 Highland Road
North Easton, MA 02356                            Nahant, MA 01908


Charles Kirchofer                                 Christina Bruja
72 Park Ave                                       37 Grant Street
Abington, MA 02351                                West Newton, MA 02465


Charles Mukriski                                  Christina Elfar
43 Strand Ave                                     65 Cedar Street
Kingston, MA 02364                                Dedham, MA 02026


Charles Texeira                                   Christine Andrade
7 Island View Lane                                23 Brookwood Dr.
Lakeville, MA 02347                               Westport, MA 02790


Charles Wright                                    Christine Macewen
197 Water Street                                  4 4 Bay Street
Pembroke, MA 02359                                Fairhaven, 02719


Charlie Moore                                     Christy Buttery
258 Purchase Street                               250 Mill Road
South Easton, MA 02375                            Eastham, MA 02642


Chawner Hurd & Louise Hurd                        Chuck Gisondi
48 Nonquitt Ave                                   11 Overton Street
South Dartmouth, MA 02748                         Brockton, MA 02301


Cheryl Fitzgerald                                 Cindy Fiedler
19 Pleasant Court                                 320 Balcom Street
Winthrop, MA 02152                                Mansfield, MA 02048


Cheryl Fraga                                      Corlie Tripp
94 Bumila Drive                                   830 Plymouth Street
Raynham, MA 02767                                 Middleboro, MA 02346


Chiztan Conroy                                    Cynthia Hathway
197 South Main Street                             13 Cottage Street
Cohasset, MA 02025                                Taunton, 02780


Chris Currier                                     Cynthia Renaud
11 Fairlawn Street                                60 Mattapoisett Road
Needham, MA 02492                                 Acushnet, MA 02743
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Cyrus Mizrahi                                      David Greenhalgh
78 Loker Street                                    28 Almeda Drive
Wayland, MA 01778                                  Seekonk, MA 02771


Dan Bhokeye                                        David Joutras
53 House Rock Road                                 36 Asheville Road
Weymouth, MA 02188                                 Hyde Park, MA 02136


Dan Branford                                       David Krakauer
12 Juniper Hill                                    25 Chesham Road
East Sandwich, MA 02537                            Brookline, MA 02445


Dan O'Brien                                        David Manke
53 Paul David Way                                  87 Francis Street
Stoughton, MA 02072                                Fairhaven, MA 02719


Daniel Borezo                                      David McDonald
176 Lake Shore Drive                               10 Roberts Drive
Weymouth, MA 02189                                 Bridgewater, MA 02324


Danielle DiBona                                    David Meyer
66 Myrtle Street                                   136 Juniper Ave
Rockland, MA 02370                                 Attleboro, MA 02703


Dathon Wright                                      David Parker
39 Roxbury Street                                  153 Rocky Hill Road
Boston, MA 02121                                   Plymouth, MA 02360


Dave Lawton                                        David Piazza
291 Bulgarmarsh Road                               117 Florida Street
Tiverton, RI                                       Boston, MA 02124


Dave McCall                                        Deb Hegarty
18 Rindone Street                                  5 Laural Lane
Holbrook, MA 02343                                 Walpole, MA 02081


Dave Moodley                                       Deb Lippincott
1 Oriole Street                                    216 Highland Drive
West Roxbury, MA 02132                             Jamestown, RI 02835


David & Susan Kopelman                             Deb Ruprecht
99 Florence Street                                 44 Avenue A
Building 20 Fl:3W                                  Wareham, MA 02571
Chestnut Hill, MA 02467

                                                   Debby Sullivan
David Fonseca                                      88 Nantasket St
76 Pratt Street                                    Marshfield, MA 02050
Halifax, MA 02338
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Debra Correia                                       Diana and Franco Maldonado
20 Forest Street                                    130 Black Cat Road
North Dighton, MA 02764                             Plymouth, MA 02360


Debra Piaseeki                                      Diane Bondi Pickles
20 Howell Court                                     29 Cove Street
Revere, MA 02151                                    Marion, MA 02738


Debrah St Peter                                     Diane Giguere
15 Tomahawk Drive                                   30 Rodman Street
Buzzards Bay, MA 02532                              Woonsocket, RI 02895


Denise Mayo                                         Diane Sellew
61 Grant Street                                     97 Howlands Lane
Needham, MA 02492                                   Kingston, MA 02364


Dennis Predovic                                     Diane Stefanski
40 White Pond Road                                  176 Canal Street
Plymouth, MA 02363                                  Marshfield, MA 02050


Dennis Thibert                                      Diogo Leonardo Soares
151 Rome Drive                                      6 Cherry Street
Cranston, RI 02921                                  Plymouth, MA 02360


Dennis Thomas                                       Dolores Murphy
31 Cooker Drive                                     193 Grove Street
North Scituate, RI 02857                            Braintree, MA 02184


Detran Hunter J.                                    Donald & Judith A. Shemnitz
459 Lunns Way                                       2 Lantern Lane
Plymouth, MA 02360                                  South Easton, MA 02375


Detron Hunter                                       Donald Costello
459 Lunns Way                                       12 Betty Avenue
Plymouth, MA 02360                                  East Sandwich, MA 02537


Devar Scott                                         Donald Steede
63 Weird Rd                                         107 Route 6A
Yarmouth Port, MA 02675                             Yarmouthport, MA 01388


Diana & Franco Maldonado                            Donna & Wayne Stone
130 Black Cat Road                                  87 Brook Hill Drive
Plymouth, MA 02360                                  Seekonk, MA 02771


Diana Fratus                                        Donna Housman
8 Grant Drive                                       73 Meadow Brook Road
Pawtucket, RI 02861                                 Brookline, MA 02445
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Donna Kane                                        Edward J. Conway
119 Stonebridge Drive                             84 Exchange Street
Hanson, MA 02341                                  Rockland, MA 02370


Dorie Quarles                                     Elaine Patrick
400 Ireland Drive                                 180 North Street
Eastham, MA 02642                                 Foxboro, MA 02035


Dorreen & Peter Serino                            Elana Adgate
5 Oakdale Farm Road                               177 Forest Street
Whitman, MA 02382                                 Braintree, MA 02184


Doug Simonton                                     Elisabeth Kirwan
30 Seafoam Ave                                    20 Carver Street
Winthrop, MA 02152                                Marshfield, MA 02050


Dunkley                                           Elizabeth Lehr
254 Handy Street                                  9 Deane Street
Attleboro, MA 02703                               Fairhaven, MA 02719


Dylan Comerford                                   Ellen Ciambriello
7 Lala Jean Drive                                 242 Temi Road
Bristol, RI 02809                                 Raynham, MA 02767


ESI                                               Ellen Gunning
348 Circut Street                                 83 Webster Ave
Hanover, MA 02339                                 Plymouth, MA 02360


Ed Crickard                                       Elliot Schneider
70 Carnberry Drive                                10 Owl Place
Plymouth, MA 02360                                Sharon, MA 02067


Ed Davidson                                       Emily Petta & Jim Norton
165 Everett Street                                2 Bound Brook Lane
Everett, MA 02149                                 Cohasset, MA 02025


Ed Figueroa                                       Emily Stedman
77 Garden Hills Drive                             7 Gull Road
Cranston, RI 02920                                Falmouth, MA 02540


Ed Freeman                                        Emmett Shields
73 Nonantum Street                                58 Bay Road
Unit 1                                            Duxbury, MA 02332
Brighton, MA 02135

                                                  Erik Williams
Ed Kowalski                                       331 Bay Road
117 Walker Street                                 North Easton, MA 02356
Falmouth, MA 02540
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Erin Gullekson                                     Fran Buda
129 Indian Pond Rd                                 345 Hay Road
Kingston, MA 02364                                 Eastham, MA 02642


Erine Czerwinski                                   Frank Scala
111 Plyouth Street                                 41 Ethel Street
New Bedford, MA 02740                              Roslindale, MA 02131


Ernest Romeo & Diane Hunt                          Frank Woodward
465 Shootflying Hill Road                          5 Lisa Lane
Centerville, MA 02632                              Mashpee, MA 02649


Esther Jean Baptiste                               Franklyn Daway
5 Emory Court                                      91 Keun Road
Saugus, MA 01906                                   Brockton, MA 02302


Ethan Hucket                                       Frantiz Dessalains
34 Rialto Street                                   105 Hillberg Ave
Providence, RI 02908                               Brockton, MA 02301


Ethel Segal                                        Fratus Jay
20 Ransom Rd                                       18 Peck Ave
Newton Center, MA 02459                            Apt 2
                                                   Plymouth, MA 02360

Eugenia Gomes
322 Hawes Street                                   Furnance Brook Commons Condominium Trust
New Bedford, MA 02745                              195 Copeland Street
                                                   Quincy, MA 02169

Eve Bankert
20 Seaver Sve                                      G Singh
Kingston, MA 02364                                 83 Wilson Avenue
                                                   Weymouth, MA 02188

Fabio Carvalho
11 Laura Drive                                     Gabriel Jean Philippe
Attleboro, 02760                                   12 Hounds Ditch
                                                   Duxbury, MA 02332

Filliho Riaz
30 Cherry Street                                   Gabrielle Osborne
Plymouth, MA 02360                                 111 Plain Street
                                                   Taunton, MA 02780

Fillipho
30 Cherry Street                                   Galina Tan
Plymouth, MA 02360                                 27 Aldrich Street
                                                   Somerville, MA 02145

Forest Pine Estate
26 Forest Pines Drive                              Ganesh Ganesan
East Dennis, MA 02641                              49 Nestle Neck Drive
                                                   Middleboro, MA 02346
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Gayle Reilly                                        Heather Thorne
265 Phillips Road                                   3 White Pine Lane
Sagamore Beach, MA 02562                            Carver, MA 02330


George Oisony                                       Hiah Hill
12 South Meadow Road                                72 Richmond Street
Carver, MA 02330                                    Weymouth, 02188


George Rowan                                        Hilary Green
53 Lewis Avenue                                     6 Trenton Street
Walpole, MA 02081                                   Charlestown, MA 02219


Gerald Joseph                                       Hoadley Plumbing
335 Grand Ave                                       672 Union Street
Falmouth, MA 02540                                  Rockland, MA 02370


Gerry McMahon                                       Hoadley Plumbing/ Steven Rodger
30 Ashdad Lane                                      672 Union Street
Duxbury, MA 02332                                   Rockland, MA 02370


Gerry Tis                                           Home Depot
23 Tarton Road                                      39 Long Pond Road
East Falmouth, MA 02536                             Plymouth, MA 02360


Glenn English                                       Homesite
55 Pine Street                                      PO Box 5300
Stoneham, MA 02180                                  Binghamton, NY 13902-9953


Greg Thomas                                         Howland Disposal Service
311 South Street                                    33 Court Street
Wrentham, MA 02093                                  Plymouth, MA 02360


Gus Schiessen                                       Ina Yi
25 Judge Torres Lane                                1871 Commonwealth Ave
East Greenwich, RI 02818                            Brighton, MA 02135


HarborOne Bank                                      Intuit Payment Solutions
P.O. Box 720                                        PO Box 52003
Brockton, MA 02303                                  Phoenix, AZ 85027


Harris Supply                                       Ira Laxic
420 E Street                                        31 Zana Park Ave
Boston, MA 02127                                    Braintree, MA 02184


Harry & Mary Bullock                                Irene Ioffe
2 Third Ave                                         342 Long Pond Drive
Pocasset, MA 02559                                  West Chatham, MA 02669
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Irene Leun                                        James Artz
4 Raven Lane                                      300 Reservoir Street
Sharon, MA 02067                                  Norton, MA 02766


Isa Orvieto                                       James Judge
108 Somerset Road                                 6 Center Street
Brookline, MA 02445                               Kingston, MA 02364


Jack Casey                                        James Obeirne
65 Old Mill Road                                  29 Pine Cone Drive
Kingston, MA 02364                                West Yarmouth, MA 02673


Jack Curtain                                      Jan Kristenson
58 Chestnut Street                                113 Gilmore Road
Middleboro, MA 02346                              Wrentham, MA 02093


Jack Grusmark                                     Jane Lea
30 Nautilus Street                                11 Fishermans Road
New Bedford, MA 02740                             North Truro, MA 02652


Jackie Steemson                                   Janet Giannetti
378 Lake Shore Drive                              256 West Street
Sandwich, MA 02563                                Hyde Park, MA 02136


Jackie Waller                                     Janice Kristenson
42 Country Club Drive                             113 Gilmore Road
Randolph, MA 02368                                Wrentham, MA 02093


Jacklyn Bostonis                                  Janice Kristenson
19 Banks Street                                   P.O. Box 988
Winthrop, MA 02152                                Wrentham, MA 02093


Jackqulin Costonis                                Janne Giordno
60 Park Ave                                       27 Hiha Ave
Abington, MA 02351                                Cranston, RI 02920


Jacky Choueite                                    Jared Souza
12 Amy Street                                     6 Bonney Briar Drive
Warwick, RI 02886                                 Plymouth, MA 02360


Jadotte Fetchner                                  Jason Nappi
36 Chadderton Way                                 26 Signal Hill Road
Middleboro, MA 02346                              Marshfield, MA 02050


Jaime c/o Mario Vargas                            Jay Mitchell
123 Talbot Street                                 7 Lot Philps Road
Brockton, MA 02301                                Kingston, MA 02364
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Jay Mitchell                                         Jeff Miller
57 Lot Phillips Road                                 39 Pond Street
Kingston, MA 02364                                   Brewster, MA 02631


Jean Allen                                           Jeff Riedel
271 Central Street                                   4 Willow Street
Hingham, MA 02043                                    Wareham, MA 02571


Jean Ansello                                         Jefferey Mattar & Jensen McKee
39 Tenderwood                                        5 nion Street
Plymouth, MA 02360                                   Foxboro, MA 02035


Jean Arnold                                          Jeffn Iverson
23 Megs Lane                                         188 Howard Street
Orleans, MA 02653                                    Brockton, MA 02301


Jean Carlor Dar Santos                               Jeffrey Spence
405 Court Street                                     629 Scudder Avenue
Plymouth, MA 02360                                   Hyannis, MA 02601


Jean Digirolamo                                      Jeniffer O'Rourke
3 Hemlock Lane                                       610 East 6th Street
Milford, MA 01757                                    Boston, MA 02127


Jean Faletra                                         Jennifer Bates
353 Essex Street                                     324 Greenwood Ave
Mansfield, MA 02048                                  Vineyard Haven, MA 02568


Jeannine Sheehan                                     Jennifer Bates Nancy Wood
124 Lincoln St                                       324 Greenwood Ave
North Easton, MA 02356                               Vineyard Haven, MA 02568


Jeff Bagge                                           Jennifer Burton
136 Main Street                                      401 Station Ave
West Barnstable, MA 02668                            West Barnstable, MA 02668


Jeff Beroni                                          Jenny Guirado
82 Highland Road                                     30 High Street
Holden, MA 01520                                     Unit 101
                                                     Dedham, MA 02026

Jeff Cannon
7 Leonard Circle                                     Jim Danahy
Medford, MA 02155                                    380 Tremont Street
                                                     Duxbury, MA 02332

Jeff Graham
10 Disamar Road                                      Jo-Ann Kwass
Taunton, MA 02780                                    79 Mountwood Road
                                                     Marstons Mills, MA 02648
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Joad Antonio                                       Joe McKeigue
16 Tremont Street                                  123 Bluff Point Drive
Apt 5                                              Cotuit, MA 02635
Kingston, MA 02364

                                                   Joe Weber
Joan & Eric Rollins                                40 Warbler Lane
81 Oak St                                          West Yarmouth, MA 02673
Brockton, MA 02301

                                                   John Boyle
Joan Almeida                                       38 Bradford Road
38 Lucy Avenue                                     Watertown, MA 02472
Tiverton, RI 02878

                                                   John Cooper
Joan Perera                                        69 Crowes Purchases Street
14 Strawberry Lane                                 West Yarmouth, MA 02673
Yarmouth Port, MA 02675

                                                   John Lam
Joann Bohorquez                                    44 Francis Street
522 Holly Road                                     Everett, MA 02149
Marshfield, MA 02050

                                                   John Mendros
Joann Huss                                         174 West Elm Ave
442 Main Street                                    Quincy, MA 02169
Mashpee, MA 02649

                                                   John Montosi
Joanne Brothers                                    66 Grove Street
Unit 6 Harborview                                  Kingston, MA 02634
Kingston, MA 02364

                                                   John Paniccia
Joanne O'Day                                       287 Buckskin Path
8 Linhares Ave                                     Centerville, MA 02632
Mattapoisett, MA 02739

                                                   John S Pressert
Joanne Peterson                                    87 Bayfield Road N
26 Oak Street                                      Quincy, MA 02171
Kingston, MA 02364

                                                   Jordan Boucher
Joe Eng                                            8 Off Second Brook Street
23 Marsh View Drive                                Kingston, MA 02364
Marshfield, MA 02050

                                                   Jorge Matesanz
Joe Guqlielmo                                      124 Wild Harbor Road
340 Center Ave                                     N. Falmouth, MA
Unit 8
Rockland, MA 02370
                                                   Jose Brasil
                                                   5 Kyle Jacob Rd
Joe McCachern                                      Westport, MA 02790
37 Waltham Ave
Marshfield, MA 02050
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Joseph Oliveira                                       Karen & David Ross
16 Austin Lane                                        125 Surrey Lane
Acushnet, MA 02743                                    Brewster, MA 02631


Josh Bernard                                          Karen & Wayne Roberts
13 Winter Street                                      42 Mill Lane
Rehoboth, MA 02769                                    Yarmouth Port, MA 02675


Joyce Pepe Caggiano                                   Karen Hanley
14A Crestway Road                                     7 Marc Drive
Boston, MA 02128                                      Unit 3 Building 7
                                                      Plymouth, 02360

Joyce Troy
46 Gardner Street                                     Karen Loeb Lifford
Hingham, MA 02043                                     60 Hiawatha Road
                                                      Buzzards Bay, MA 02532

Judith Miller
229 Chruch Street                                     Karianne Leivenfrost
Harwich, MA 02645                                     18 Captain Besse Road
                                                      South Yarmouth, MA 02664

Judith Smith
550 Route 6A                                          Karren Budreau
East Sandwich, MA 02537                               42 Rudder Road
                                                      Hyannis, MA 02601

Judy Fabinouitz
52 Highland Road                                      Karyn Tosi
Somerville, MA 02144                                  15 Arch Street
                                                      North Attleboro, MA 02760

Judy Shemnitz
2 Lantern Lane                                        Kate Dodson
South Easton, MA 02375                                42 Water Street
                                                      Winchester, MA 01890

Julie Grise
23 Captains Walk                                      Kate Stobie
North Chatham, MA 02650                               42 Logan Road
                                                      Braintree, MA 02184

Justin Tabanes
50 Hathlery Street                                    Kathleen MKinney
North Providence, RI 02911                            26 Shawmut Street
                                                      Quincy, MA 02169

Justin Thibodeau
45 Doran Drive                                        Kathy Boyle
East Falmouth, MA 02536                               38 Bradford Road
                                                      Watertown, MA 02472

Kanna Hema
95 Brownell Street                                    Kathy Davis
Attleboro, MA 02703                                   157 Village Street
                                                      Millis, MA 02054
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Kathy Denaro                                       Ken Lofland
9 Bourne Hay Road                                  PO Box 72
Sandwich, MA 02563                                 Franklin, MA 02038


Kathy Johnson                                      Kenneth Dumas
80 Argyle Street                                   6 School Street
Cranston, RI 02920                                 Kingston, MA 02364


Kathy Nash                                         Kerry Moreau
95 Hampstead Way                                   6 Orchard Drive
Marshfield, MA 02050                               North Attleboro, MA 02760


Katie Edwards                                      Kevin Brooks
29 Little John Road                                181 Walpole Street
East Falmouth, MA 02536                            Norwood, MA 02062


Katie Edwards                                      Kevin O;Keeffe
29 Little John Road                                752 Washington Street
Sandwich, MA 02563                                 Pembroke, MA 02359


Katie Kuhl                                         Kevin Roach
16 Apple Tree Hill Road                            415 Pleasant Street
Hopkinton, MA 01748                                Weymouth, MA 02190


Katie Speciale                                     Kevin Samuels
95 Gage Ave                                        35 Concord Street
Revere, MA 02151                                   Rockland, MA 02370


Katy Lunch                                         Kevin/Stephen Murphy
216 Ashleigh Terrace                               575 North Street
Taunton, MA 02780                                  Randolph, MA 02368


Keith Barber                                       Kim Chandler
76 Prospect Ave                                    10 Missouri Street
Pocasset, MA 02559                                 Marshfield, MA 02050


Kelly Doherty                                      Kim Crowley
42 Lookout Eoad                                    4 Cobblers lane
Yarmouth Port, MA 02675                            Beverly, MA


Kelsey Worcester                                   Kim Haelsen
1282 Randolph St                                   29 Arro Street
Milton, MA 02186                                   Providence, RI 02904


Ken Leach                                          Kim Mayhew
470 Adams Street                                   2 Warren Place
Quincy, MA 02169                                   Franklin, MA 02038
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Kingston Block                                       Leslie Boux
72 Main Street                                       55 Emerald Street
Kingston, MA 02364                                   Quincy, MA 02169


Kris Dodson                                          Leslie Zella
42 Water St                                          45 Vartrinot Ave
Winchester, MA 01890                                 Hull, MA 02045


Kriste Costello                                      Lew Victor
35 Finnott Street                                    47 Galahad Way
West Bridgewater, MA 02379                           North Easton, MA 02356


Kristie Hathaway                                     Liberio Evaldo Alves
212 Cushing Street                                   9 Sunsex Blvd
Hingham, MA 02043                                    Plymouth, MA 02360


Kristin Foley                                        Likarr
2 Edmund H Nichols Rd                                6 Perry
North Attleboro, MA 02760                            Foxboro, MA 02035


Larisa Davidson                                      Lilia Ormsbee
78 Antone Ave                                        17 Autumn Road
East Falmouth, MA 02536                              Medway, MA 02053


Laura Czarniar                                       Lina Cashill
30 Clearing Farm Road                                23 Colby Drive
Kingston, MA 02364                                   Middleboro, MA 02344


Lauretta A. Maslanka                                 Linda Collins
4 Worcester Road                                     197 Little Pond County Road
Sharon, MA 02067-2615                                Cumberland, RI 02864


Laurie Kessinger                                     Linda Hallinan
10 Coburn Street                                     30 Elm Street
Hull, MA 02045                                       Maynard, MA 01754


Lee Berger                                           Linda McMorrow
14 Everett Road                                      66 Highland Street
Buzzards Bay, MA 02532                               South Easton, MA 02375


Lennis Maynard                                       Linda Raute
360 Ireland Way                                      76 Crystal Spring Ave
Eastham, MA 02642                                    North Falmouth, MA 02556


Lenny Dawidowicz                                     Linda Smith
9 Needles Lane                                       19 Atwood Avenue
North Falmouth, MA 02556                             Middleboro, MA 02346
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Lisa Birkdale                                     Lucille Largey
31 Oak Street                                     359 Hudleston Ave
Dennis Port, MA 02639                             Fairhaven, MA 02719


Lisa Holmes                                       Luis Nido
42 Prospect Road                                  41 Bronx Road
Plympton, MA 02367                                West Roxbury, MA 02132


Lois Sinatra                                      MCM
77 Trout Brook Lane                               2365 Northside Drive
Norwell, MA 02061                                 Suite 300
                                                  San Diego, CA 92108

Lon Hughes and Max Wognarowski
63 Plain Street                                   Madaline Webster
Middleboro, 02346                                 10 Garnett Road
                                                  Duxbury, MA 02332

Lori Armenti
105 Fiat Ave                                      Manny Sequeira
Cranston, RI 02910                                63 Harvard Street
                                                  Brockton, MA 02301

Louise Freeman
15 Michael Road                                   Marani Family
Raynham, MA 02767                                 58 Bay Road
                                                  Duxbury, MA 02332

Louise Kissell
41 Lakewood Drive                                 Marcelo Jorge
Mashpee, 02649                                    23 Cherry Street
                                                  Plymouth, MA 02360

Louise Marling
31 Fearing Hill Road                              Marcelo Jorqe
Wareham, MA 02571                                 23 Cherry Street
                                                  Plymouth, MA 02360

Lourdes Martinez
103 Muttin Lane                                   Marcos Anderson
Weymouth, MA 02189                                165 Stewart
                                                  Fall River, MA 02720

Lucas Mateus De Sousa
194 Water Street                                  Marcus Anderson
Plymouth, MA 02360                                165 Stewart Street
                                                  Fall River, MA 02720

Lucas Mateus De Souza
194 Water Street                                  Marcus O DeFlorimonte
Plymouth, MA 02360                                14-16 Rockview St
                                                  Jamaica Plain, MA 02130

Lucas Silva
64 Cherry Street                                  Margret Sullivan
Plymouth, MA 02360                                167 Sam Turner Road
                                                  East Falmouth, MA 02536
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Marguerite Corrad                                  Martin Reilly
196 Woodside Ave                                   11 Wamsutta Road
Winthrop, MA 02152                                 Scituate, MA 02066


Maria Clemente                                     Mary & David Barllett
993 Park Street                                    39 Marie Ave
Stoughton, MA 02072                                Brockton, MA 02302


Marian Burke                                       Mary Beth Linnane
94 Arborway Drive                                  156 Hooppole Road
Scituate, MA 02066                                 Mashpee, MA 02649


Marie Clemente                                     Mary Ellen Matrorilli
993 Park Street                                    86 Ellisville Road
Stoughton, MA 02072                                Plymouth, MA 02360


Marina Berdicheusky                                Mary Lennon
3 Andrina Road                                     66 Hale Road
West Yarmouth, MA 02673                            E. Walpole
                                                   East Walpole, MA 02032

Mark Abbott
261 Old Forge Road                                 Mary Macinnes
Hanover, MA 02339                                  217 Yankee Drive
                                                   Brewster, MA 02631

Mark Baddeley
49 Border Street                                   Mary McBrady
Cohasset, MA 02025                                 11 Country Club Drive
                                                   Plymouth, MA 02360

Mark EJR
40 Pleasant Street                                 Mary McIsaac
Carver, MA 02330                                   182 High Street
                                                   Carver, MA 02330

Mark Ejr
40 Pleasant Street                                 Mary O'Donnell
Carver, MA 02330                                   32 Driftway Road
                                                   Weymouth, MA 02191

Mark Finnerty
131 Plain Street                                   Mary Shannon
Pembroke, MA 02359                                 22 Volk Road
                                                   Dedham, MA 02026

Martha Farrell
12 Allcott Circle                                  Mary Slayter
Taunton, MA 02780                                  3 Pleasant Street
                                                   West Dennis, MA 02676

Martin Balins
108 Prospect Street                                Mary Stadelman
Weymouth, MA 02188                                 547 Washington Street
                                                   Pembroke, MA 02359
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Mary Stadelmann                                    Maureen Franklin
547 Washington Street                              100 Marshall Street
B8                                                 Winthrop, MA 02152
Pembroke, MA

                                                   Maureen Hearns
Mary Zinck                                         50 Merion Way
110 Summit Ave                                     Yarmouth Port, MA 02675
North Eastham, MA 02651

                                                   Maurice Charves
Marybeth LaRiyee                                   48 Samoset Street
16 Gilman Street                                   Boston, MA 02124
Roslindale, MA 02131

                                                   Max Wojnarowski
Marybeth Scalice                                   63 Plain Street
161 Sassamon Ave                                   Middleboro, MA
Milton, MA 02186

                                                   Megan Stimpson
Mas Trayers                                        42 Old Colony Road
1 Sea Meadow                                       North Falmouth, MA 02556
Sandwich, MA 02563

                                                   Mei-Mei Ellerman
Matt & Kristen Cataldo                             32 Linden Street
93 Harrison Street                                 F
Duxbury, MA 02332                                  Wellesley, MA 02482


Matt Gibson                                        Meka Mwamze
209 South Street                                   107 Waban Hill Road
Hanson, MA 02341                                   Chestnut Hill, MA 02467


Matt Kramer                                        Melinda Sullivan
29 Belcher Street                                  45 Washington Street
Randolph, MA 02368                                 Unit 303
                                                   Plainville, MA 02762

Matt Merical
4 Prospect Court                                   Melissa Cartlano A
Kingston, MA 02364                                 18 Peck Ave
                                                   Apt B
                                                   Plymouth, MA 02360
Matthew Barrett
7 Water House Rd
Stoneham, MA 02180                                 Melissa Cartolano
                                                   18 Peck Ave
                                                   Apt B
Maura & Mike Powers                                Plymouth, MA 02360
433 Lower County Road
Dennis Port, MA 02639
                                                   Melissa Moquin
                                                   7 Copper Beech Drive
Maura and Mike Powers                              Kingston, 02634
433 Lower County Road
Unit 27
Dennis Port, MA 02629                              Melissa Novaco
                                                   237 York Street
                                                   Boston, MA 02120
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Melodi Allen                                      Michael Mannion
15 Pleasant Court                                 61 Church Street
Winthrop, MA 02152                                Milton, MA 02186


Merchant Services                                 Michele Siegal
Po Box 6010                                       142 Howlands Road
Hagerstown, MD 21741-6010                         Assonet, MA 02702


Merchant Services                                 Michelle Bogne
P.O. Box 6010                                     115 South Street
Hagerstown, MD 21741                              Hingham, MA 02043


MerchantPro Express                               Michelle Boyne
1305 Walt Whitman Road                            115 South Street
Suite 320                                         Hingham, MA 02043
Melville, NY 11747

                                                  Michelle Dias
Meredith Hopkins                                  77 Cambo Street
120 Central Street                                Brockton, MA 02301
Weymouth, MA 02190

                                                  Michelle Labrecque
Micael Greeley                                    149 Cross Street
54 Nichols Street                                 Norwell, MA 02061
Chelsea, MA 02150

                                                  Michelle Ladreue
Micael Mannion                                    149 Cross St.
61 Church Street                                  Norwell, MA 02061
Milton, MA

                                                  Michelle Moore
Michael Bushell                                   33 Nut Island Ave
17 Victoria Lane                                  Quincy, MA 02169
Rehoboth, MA 02769

                                                  Michelle Newell
Michael Donato                                    340 Shipond Road
72 Ashland Street                                 Plymouth, MA 02360
Milford, MA 01757

                                                  Mike Barrett
Michael Fitz                                      78 Wagon Wheel Road
50 Hill Top Road                                  North Scituate, MA 02060
Mashpee, MA

                                                  Mike Barrett
Michael Kazaka                                    78 Wagon Wheel
48 Letton Ave                                     Plymouth, MA 02360
Braintree, MA 02184

                                                  Mike Barton
Michael Lah                                       24 Faumer Mt Road
909 Summer Street                                 Sandwich, MA 02563
Marshfield, MA 02050
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Mike Ecker                                         Molly Lane
5 Pinehurst Ave                                    242 Williams Street
Mattapoisett, MA 02739                             Providence, RI 02906


Mike Hubert                                        Motchell Santos
24 Highland Street                                 11 Repose Lane
South Dartmouth, MA 02748                          East Wareham, MA 02538


Mike Keith                                         Mr. & Mrs. Mackenzie
3 Howard Street                                    4 Enwright Way
South Easton, MA 02375                             Bridgewater, MA 02324


Mike Murray                                        Mr. & Mrs. Maloney
66 Milford Street                                  80 Main Street
Medway, MA                                         Norfolk, MA 02056


Mike Rogge                                         Mukriski
114 Hackett Ave                                    43 Strand Ave
Lakeville, MA 02347                                Kingston, MA 02364


Mike Vargas                                        Mullualem Teffama
1129 Washington Street                             110 Clark Street
Boston, MA 02124                                   Everett, MA 02149


Mike Voss                                          Nadeia Abelard
343 Foake Street                                   325 Blue Hill Ave
Raynham, MA 02767                                  Milton, MA 02186


Mike and Tina Colorusso                            Nanci Hedgcorth
12 Greener Pasters Lane                            351 Ocean Grove Ave
Plymouth, MA 02360                                 Swansea, MA 02777


Mine Cote                                          Nancy Barro
69 Bay State Road                                  65 Mantain Ave
Rehoboth, MA 02769                                 Boston, MA 02124


Missy Garnett                                      Nancy Brown
47 Cole Street                                     19 Captian Besse Road
Kingston, MA 02364                                 South Yarmouth, MA 02664


Missy Pritti                                       Nancy Marsh
18 Vitos Run                                       8 Hales Hollow
Plymouth, MA 02360                                 Dover, MA 02030


Mohammed Habibullah                                Nancy Tanguay
17 Even Circle                                     37 Oriole Drive
Mansfield, MA 02048                                Medfield, MA 02052
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Nathanson & Goldberg                                Pat McGrath
Two Atlantic Avenue                                 67 Indian Field Drive
5th Floor                                           South Dennis, MA 02660
Boston, MA 02110

                                                    Pat Regan
Neil Krug                                           52 West Moreland Ave
95 Manomes Ave                                      Arlington, MA 02474
Hull, MA 02045

                                                    Pat Soisson
Nicholas Milano                                     10 Happy Hollow Road
620 VFW Parkway                                     North Easton, MA 02356
West Roxbury, MA 02132

                                                    Pat Soisson
Nina Gursha                                         10 Happy Hollow Rd
5 Buckwood Drive                                    North Easton, MA 02356
South Yarmouth, MA 02664

                                                    Patricah Busch
Norman Degreve                                      1580 Main Street
15 Downing Street                                   Brewster, MA 02631
Hingham, MA 02043

                                                    Patricia Drain for Bruce Arons
Norman Sizelove                                     12 Middle Street
40 Regis Road                                       Plymouth, MA 02360
East Falmouth, MA 02536

                                                    Patricia Duncan
Obey Ekhathor                                       140 Lakeview Blvd
451 Central Street                                  Plymouth, MA 02360
Stoughton, MA 02072

                                                    Patrick Calnan
Oscar Niod                                          75 Sonoma Road
48 High Street                                      Quincy, MA 02171
Medfield, MA 02052

                                                    Patrick Hickoy
Ossama Labib                                        32 Cedar Lane Way
9 Kenny Drive                                       Boston, MA 02108
Warren, RI

                                                    Patty Caron
Owens Ivan F.                                       474 Luther Ave
29 Rosewood Drive                                   Somerset, MA 02726
Halifax, MA 02338

                                                    Patty Heath
Pam Anderson                                        30 Michelle Ave
7 Eva Lane                                          Carver, MA 02330
Middleboro, MA 02346

                                                    Patty McNaughton
Pat Bratsos                                         427 Scudder Avenue
567 2nd Street                                      Hyannis Port, MA 02647
Everett, MA 02149
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Paul Camara                                    Paul McPherson
83 Howlands Lane                               6 Reflection Drive
Kingston, MA 02364                             Sandwich, MA 02563


Paul Campana                                   Paul Nourse
441 Winter Street                              107 Oat Street
Walpole, MA 02081                              Pembroke, MA 02359


Paul Campisano                                 Paul Zak
341 Franklin Street                            56 Hamlet Street
Mansfield, MA 02048                            Fall River, MA 02724


Paul Collins                                   Pauline & Carl Platter
1 Michelmore Way                               111 Porter St Ext
Foxboro, MA 02035                              Brockton, MA 02301


Paul Ellitt                                    Pembroke Welding
30 Mirasol Lane                                161 Schooseh Street
Harwichport, MA                                Pembroke, MA 02359


Paul Folan                                     Perfira Edsgn
96 Williams Street                             6 Cherry Street
Mansfield, MA 02048                            Plymouth, MA 02360


Paul Furman                                    Peter Bonner
107 Oldham                                     44 Brownell
Pembroke, MA 02359                             Warren, RI 02885


Paul Furman                                    Peter Cakridas Jr
107 Oldham Street                              15 Oak Road
Pembroke, MA 021359                            Canton, MA 02021


Paul Furman                                    Peter Doug
107 Oldham Street                              42 Danbury Road
Newton, MA 02159                               Weymouth, MA 02190


Paul Maloney                                   Peter Douglass
5 Shendan Drive                                42 Danbury Road
Kingston, MA 02364                             S. Weymouth, MA


Paul Maloney                                   Peter Estrela
5 Sheridan Drive                               6 Angel Court
Kingston, MA 02364                             Westport, MA 02790


Paul Mathew                                    Peter Jones
30 Upland Road                                 10 Pine Road
Brookline, MA 02445                            Sharon, MA 02067
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Peter Kanavos                                      Plymouth District Court
29 Otter Lane                                      52 Obery Street
Cummaquid, MA 02637                                Plymouth, MA 02360


Peter Kavanagh                                     Prashant Rathore
119 Wesbourne Terace                               6 Musket Lane
Needham, MA 02492                                  Sharon, MA 02067


Peter Laybourn                                     Pritesh Shau
58 Clowes Drive                                    28 Carriage Drive
Falmouth, MA 02540                                 Lexington, MA 02420


Peter Low Forest Pines Estate                      Prudvi Raj Dommaraju
26 Forest Pines Drive                              5 Vinal Hill Road
East Dennis, MA 02641                              Westborough, MA 01581


Peter P Scrima                                     Qi Liu
76 Charei Street                                   67 Haggarty Hill Road
Monponsett, MA 02350                               Saunderstown, RI 02874


Peter Scrima                                       Qi Lui
76 Charles Street                                  67 Haggarty Hill Road
Monponsett, MA 02350                               Saunderstown, RI 02874


Peter Skutnik                                      Quich Books
797 Brush Hill Road                                382 River Ave
Milton, MA 02186                                   Providence, RI 02908


Petter Laybourn                                    Quick Books
58 Clowes Drive                                    382 River Ave
Falmouth, 02540                                    Providence, RI 02908


Phil Larocca                                       Quick Stone
49 Taft Road                                       1111 N. Westshore Blvd
West Yarmouth, MA 02673                            STE 650
                                                   Tampa, FL 33607

Phil Mabardy
1663 Central Ave                                   Quick Stone
Needham, MA 02492                                  1111 N Westshore Blvd
                                                   Ste 650
                                                   Tampa, FL 33607
Philip Trzcinski
66 Oriole Street
West Roxbury, MA 02132                             Quickstone Captial Solutions
                                                   111 N. Westshore Blvd
                                                   Suite 650
Phillip Netel                                      Tampa, FL 33607
231 Longpond Road
Plymouth, MA 02360
                                                   REFLEX
                                                   PO Box 3220
                                                   Buffalo, NY 14240
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Rahul Kulkarni                                     Richard Osborn
48 Bella Road                                      31 Prospect Street
Sharon, MA 02067                                   Hingham, MA


Ramji Sastri                                       Richard Osborn
60 Edge Hill Road                                  31 Prospect St
Sharon, MA 02067                                   Hingham, MA 02043


Randall Murphy & Paul McPherson                    Richard White
6 Reflection Drive                                 3 Longmeadow Drive
Sandwich, MA 02563                                 Canton, MA 02021


Regina Mazzaro                                     Rick Killieen
44 Selwyn Street                                   16 Nausett Road
Roslindale, MA 02131                               Sagamore Beach,


Rhussel Pascual                                    Rick Killieen
111 Navarre Street                                 16 Nausett Road
Hyde Park, MA 02136                                Sagamore Beach, MA


Rich Allaire                                       Rin Chitinanda
57 Burt Street                                     122 Clinton Road
Norton, MA 02766                                   Weymouth, MA 02189


Richard Bean                                       Rob Munstis
422 Everett Street                                 11 Cornish Street
Westwood, MA 02090                                 Carver, MA


Richard Gemma                                      Rob Munstis
20 Mohawk Trail                                    11 Cornish Street
Cranston, RI 02921                                 Carver, MA 02330


Richard Jeffery                                    Rob Ryan
63 Marion Street                                   28 Captain Besse
Boston, MA 02128                                   South Yarmouth, MA 02664


Richard Ladder                                     Robert Abreu
171 Old Country Road                               41 Hill Street
East Sandwich, MA 02537                            Norton, MA 02766


Richard Nelson                                     Robert Carruzza
100 Aunt Sophie's Road                             151 Bennington Street
Brewster, MA 02631                                 Boston, MA 02128


Richard Nelson                                     Robert O'Brien
100 Aunt Sophie Road                               92 Surfside Road
Brewster, MA 02631                                 West Dennis, MA 02670
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Robert abd Jean Dobachesky                           Ryan Maloney
53 Bayshore Drive                                    20 Atlas Street
Plymouth, MA 02360                                   Fairhaven, MA 02719


Robin Pedder                                         Ryan Oremus
98 CentreStreet                                      6 Walden Court
Dover, MA 02030                                      Medfield, MA 02052


Rod Owens                                            Ryan P. McInnis
15 Wayside Drive                                     22 Rickard Street
West Harwich, MA 02671                               Carver, MA 02330


Ron Bregoli                                          Ryana Bianchi
321 Plain Street                                     48 King Stret
Braintree, MA 02184                                  Norfolk, MA 02056


Ron Linnell                                          Ryann Bennett
2426 Main Street                                     87 Colonial Way
West Barnstable, MA 02668                            Brewster, MA 02645


Ron Mackenzie                                        Sam Engel
74 Lakeview Ave                                      55 Warren Street
Taunton, MA 02780                                    Wellfleet, MA 02667


Rosa Lee NeBaron                                     Samuel Mattison
53 Rockland Ave                                      93 Spring Street
Malden, MA 02148                                     Wakefield, MA 01880


Rosalie Moretti                                      Sandra Lax
70 Jencho Lane                                       384 Annable Point Road
West Chatham, MA 02669                               Centerville, MA 02632


Ruben Martinez                                       Sandra Lax
13 Locust Lane                                       398 Annable Point Road
East Sandwich, MA 02537                              Centerville, MA 02632


Rudy Digiacomo                                       Sarah Dryden Peterson
1248 Great Plain Ave                                 25 Thomas Street
Needham, MA                                          Jamaica Plain, MA 02130


Russell Galoury                                      Sarah Tapscott
44 Edwand Road                                       101 Punkhorn Road
Watertown, MA 02472                                  Harwich, MA 02645


Russell Pascual                                      Sarinna Chaing
111 Navarre Street                                   572 Quinobequin Road
Hyde Park, MA 02136                                  Natick, MA
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Scott McNeil                                       Sherwin Williams/ Bethany Newman
82 Acorn Street                                    84 Long Pond Road
New Bedford, MA 02740                              Plymouth, MA 02360


Scott Ninomiya                                     Shiela Rehrig
1225 Salem Street                                  28 Loop Road
North Andover, MA 01845                            Falmouth, MA 02450


Serina Chiang                                      Shirley Ramchandani
299 Newport Ave                                    91 University Road
Quincy, MA 02169                                   Apt 5
                                                   Brookline, MA 02445

Shai Triyedi
45 Bell Flower Road                                Shirley Villeneuve
Billerica, MA 01821                                5 Magnolia Ave
                                                   Cumberland, RI 02864

Shalonda Bodden
37 Elizabeth Street                                Signarama
Attleboro, MA 02703                                130 Wood Road
                                                   Braintree, MA 02184

Sharon Barnes
37 Bay Road                                        Snow &Jones
Wrentham, MA 02093                                 126 Long Pond Road
                                                   Plymouth, MA 02360

Sharon Longo
83 2nd Street                                      Sofia Hussain
Newport, RI 02840                                  36 Ware Street
                                                   Somerville, MA 02144

Sheila Connolly
7 Jean Circle                                      Sonya Mederios
Randolph, MA 02368                                 49 Main Street Rear
                                                   Kingston, MA 02364

Sheila Rehrig
28 Loop Road                                       Sopheoun Phav
Falmouth, MA 02450                                 187 Leroy Ave
                                                   Warwick, RI 02889

Shelly Murphy
25 Kennedy Road                                    South Shore Ornamental
Kingston, MA 02364                                 58 W Elm Street
                                                   Bryantville, MA 02327

Sherrie Souza
726 Old Warren Road                                Srey Sherman
Swansea, MA 02777                                  30 Bishop Road
                                                   Sharon, MA 02067

Sherwin Williams
84 Long Pond Road                                  Srey Yin
Plymouth, MA 02360                                 5 Fowler Road
                                                   Lowell, MA 01854
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Stendahl Condo Association                          Susan Corbo
251 Shore Drive                                     119 Whig Street
Units A & E                                         Dennis, MA 02638
Mashpee, MA 02649

                                                    Susan DiMotta
Steph Fanter                                        6 Second Landing Way
265 Shorewood Drive                                 Truro, MA 02666
East Falmouth, MA 02536

                                                    Susan Hall
Stephen DeSantis                                    597 Twin Lakes Drive
13 May Street                                       Halifax, MA 02338
E. Walpole
East Walpole, MA 02032
                                                    Susan Hoffman & Paul Hoffman
                                                    508 Mariner Circle
Stephen Vachon                                      Cotuit, MA 02635
457 Lincoln St
Abington, MA 02351
                                                    Susan Schramm
                                                    64 Willard Street
Steve Dasaro                                        Quincy, MA 02169
36 Silver Beach Avenue
North Falmouth, MA 02556
                                                    Susan Wilson
                                                    60 Pine Needle Road
Steve Tresca                                        Wellfleet, MA 02667
49B Jackson Street
Newton Center, MA 02459
                                                    Susanne Guirakhoo
                                                    311 Tappan Street
Steve Tresca                                        Unit 2
49 B Jackson Street                                 Brookline, MA 02445
Newton Center, MA 02459

                                                    Susanne Guirakhoo
Steve Tresca                                        39 Chestnut Street
1 Pilgrim Road                                      Melrose, MA 02176
Harwich Port, MA 02646

                                                    Susanne McNeil
Steve and Donna Cohen                               122 Tall Oaks Drive
3 Rockwood Street                                   Unti P
Dennis, MA 02638                                    Weymouth, MA 02190


Steven Collum                                       TRS
41 Columbus Ave                                     PO Box 60022
North Easton, MA 02356                              City of Industry, CA 9171609922


Steven Tackitt                                      Tamara Isaacs
230 Chandler Street                                 779 Union Street
Duxbury, MA 02332                                   Duxbury, MA 02332


Susan Bloom Richard                                 Tanya Ronga
2644 Main Street                                    11 Thornton Brook Road
Barnstable, MA 02630                                West Yarmouth, MA 02673
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Tanya Washburn                                       Thomas Alexander
133 Hawthorne Street                                 35 Easton Ave
Weymouth, MA 02189                                   Hyde Park, MA 02136


Taylor Rental Norfolk                                Thomas Gainey
262 Dedham Street                                    19 Rockwood Place
Norfolk, MA                                          Holbrook, MA 02343


Ted Nemtvow                                          Thomas Judd
156 Chelsea Street #102                              20 Amherst Street
Boston, MA 02128                                     Roslindale, MA 02131


Ted Nemtvow                                          Thomas Lavaller
156 Chelsea Street                                   99 Lookout Road
Boston, MA 02128                                     Yarmouth Port, MA 02675


Ted Steiger                                          Tiffany Cogell
52 Point Hill Road                                   4 Grimes Road
West Barnstable, MA 02668                            Lexington, MA 02420


Teresa Deulin                                        Tim Acker
132 White Oak Way                                    507 Ocean Meadow
                                                     Fairhaven, MA

Terry Norton
185 Richmond Street                                  Tim Seaver
New Bedford, MA 02740                                13 Oak Street Ext
                                                     Franklin, MA 02038

Theos Family Trust
65 Cedar Street                                      Tjaida Nauta & Ann Jones
Dedham, MA 02026                                     238 Pimlico Pond Road
                                                     Mashpee, MA 02649

Theresa Estel
9 Ashberry Street                                    Tom Healy
Plymouth, MA 02360                                   89 Pilgrim Road
                                                     Marshfield, MA 02050

Theresa McDermott
40 Rosemary Road                                     Tom Healy
Dedham, MA 02026                                     89 Pilgrim Road
                                                     Marshfield, MA

Therese Estel
9 Ashberry Street                                    Tom Lyden
Plymouth, MA                                         48 Lizotte Drive
                                                     Bellingham, MA 02019

Therese Estel
9 Ashberry Street                                    Tomphson Withman
Plymouth, MA 02360                                   2 Coventry Place
                                                     Sandwich, MA 02563

Therese Furfey
8 Shapuit Bars Circle
West Falmouth, MA 02574
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Tony Fiore                                           Val Cativalaho
98 Birch Street                                      110 Underwood Street
Pembroke, MA 02359                                   Fall River, MA 02720


Tony Gray                                            Valter Ponte
21 Edward Kelleher Drive                             39F American Legion Highway
Stoughton, MA 02072                                  Westport, MA 02798


Tony Holley                                          Veera Lin
68 Topliff Street                                    55 Maple Street
Boston, MA 02122                                     Plainville, MA 02762


Tony Tong                                            Vicki & Arthur Bonin
29 Maplewood Street                                  235 Main Street
West Roxbury, MA 02132                               Foxboro, MA 02035


Top Lift Garden c/o Chalaun Lomax                    Vicki Allen
191 Bowdoin Street                                   40 Massapoag Ave
Boston, MA 02125                                     Sharon, MA 02067


Torrey Botelho                                       Vickie Allen
68 Glendale Ave                                      40 Massapoag Ave
Brockton, MA 02301                                   Sharon, MA 02067


Town of Kingston                                     Victor Macedo Silva
PO Box 900                                           21 Cherry Street
Kingston, MA 02364                                   Plymouth, MA 02360


Tracy Leigh Steele                                   Victor Munger
68 Forest Street                                     10 Emerson Way
Berkley, MA 02779                                    Hopkinton, MA 01748


Trudl Van Slyck                                      Vincent Andrews
198 Lexington Ave                                    345 Highland Avenue
Cambridge, MA 02138                                  Randolph, MA 02368


Tyler Gold                                           Walter & Mary O'Donnell
153 Telegraph Hill Road                              32 Driftway Road
Marshfield, MA 02050                                 Weymouth, MA 02191


Tyrone Rydah                                         Wanddy & Daphnee LaFleur
854 Centre Street                                    74 Autran Ave
Brockton, MA 02302                                   North Andover, MA 01845


Udita Jain                                           Wayne Mesard
5 Andens Way                                         412 Cushing Street
Acton, MA 01720                                      Hingham, MA 02043
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Wendy Powell
50 Juniper Road
N. Attleboro, MA 02076


Western World Ins
1253 Haddonfield Berlin Road
Voorhess, NJ 08043-4847


William Barry
49 Midpoint Drive
Yarmouth Port, MA 02675


William Buker Jr
20 Budono Drive
Acushnet, MA 02743


Yi Lin
79 Lincoln Ave
Quincy, MA 02170


Yiheng Liang
11 Chestire Road
Sharon, MA 02067


Zack Dumas
180 Sanford Road
Westport, MA 02790


Zip Recruiter
1453 3rd Street
Santa Monica, CA 90401


Zip recruiter
1453 3rd Street
Santa Monica, CA 90401


anna Willis
21 Ashland Place
New Bedford, MA 02740
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                             United States Bankruptcy Court
                             District of Massachusetts




         Gaetano John Scarpaci
In re:                                                         Case No.

                                                               Chapter    7
                     Debtor(s)




                             Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              08/20/2019                        /s/ Gaetano John Scarpaci
Date:
                                                Signature of Debtor



                                                Signature of Joint Debtor
                     Case 19-12826              Doc 1         Filed 08/20/19 Entered 08/20/19 21:58:54                           Desc Main
    Fill in this information to identify your case:           Document      Page 332 of 347
    Debtor 1           Gaetano John Scarpaci
                      __________________________________________________________________
                        First Name              Middle Name             Last Name

    Debtor 2            ________________________________________________________________
    (Spouse, if filing) First Name              Middle Name             Last Name


    United States Bankruptcy Court for the: District
                                            ______________________
                                                     of Massachusetts   District of __________

    Case number         ___________________________________________
    (If known)

                                                                                                           Check if this is an amended filing

 Official Form 122A─1Supp
St a t e m e nt of Ex e m pt ion from Pre sum pt ion of Abuse U nde r § 7 0 7 (b)(2 )                                                                        12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this
is required by 11 U.S.C. § 707(b)(2)(C).


Pa rt 1 :        I de nt ify t he K ind of De bt s Y ou H a ve

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily for a
   personal, family, or household purpose.” Make sure that your answer is consistent with the answer you gave on line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101).

     
     ✔
          No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
              this supplement with the signed Form 122A-1.
         Yes. Go to Part 2.

Pa rt 2 :        De t e rm ine Whe t he r M ilit a ry Se rvic e Provisions Apply t o Y ou


2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
    
     ✔ 
       No. Go to line 3.
    Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                  10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                  
                  ✔ No. Go to line 3.

                   Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                        Then submit this supplement with the signed Form 122A-1.
3. Are you or have you been a Reservist or member of the National Guard?
     
     ✔      No. Complete Form 122A-1. Do not submit this supplement.
           Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
          
          ✔      No. Complete Form 122A-1. Do not submit this supplement.
                Yes. Check any one of the following categories that applies:

                    I was called to active duty after September 11, 2001, for at least          If you checked one of the categories to the left, go to
                     90 days and remain on active duty.                                          Form 22A-1. On the top of page 1 of Form 22A-1, check
                                                                                                 box 3, The Means Test does not apply now, and sign
                    I was called to active duty after September 11, 2001, for at least
                                                                                                 Part 3. Then submit this supplement with the signed
                     90 days and was released from active duty on _______________,
                                                                                                 Form 22A-1. You are not required to fill out the rest of
                     which is fewer than 540 days before I file this bankruptcy case.
                                                                                                 Official Form 22A-1 during the exclusion period. The
                    I am performing a homeland defense activity for at least 90 days.           exclusion period means the time you are on active duty
                                                                                                 or are performing a homeland defense activity, and for
                    I performed a homeland defense activity for at least 90 days,               540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                     ending on _______________, which is fewer than 540 days before
                                                                                                 If your exclusion period ends before your case is closed,
                     I file this bankruptcy case.
                                                                                                 you may have to file an amended form later.




Official Form 122A-1Supp                          Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                  page 1
                  Case 19-12826              Doc 1          Filed 08/20/19 Entered 08/20/19 21:58:54 Desc Main
 Fill in this information to identify your case:            Document      Page 333 of 347
                                                                                       Check one box only as directed in this form and in
                                                                                                           Form 122A-1Supp:
 Debtor 1           Gaetano John Scarpaci
                   __________________________________________________________________
                     First Name              Middle Name                  Last Name
                                                                                                           
                                                                                                           ■   1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                  Last Name                           2. The calculation to determine if a presumption of
                                                                                                                  abuse applies will be made under Chapter 7
                                          __________
 United States Bankruptcy Court for the: District of Massachusetts
                                                         District of __________                                   Means Test Calculation (Official Form 122A–2).
 Case number         ___________________________________________                                              3. The Means Test does not apply now because of
 (If known)                                                                                                       qualified military service but it could apply later.


                                                                                                            Check if this is an amended filing

Official Form 122A─1
Cha pt e r 7 St a t e m e nt of Y our Curre nt M ont hly I nc om e                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Pa rt 1 :       Ca lc ula t e Y our Curre nt M ont hly I nc om e

 1. What is your marital and filing status? Check one only.
      ✔ Not married. Fill out Column A, lines 2-11.
      
      Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

       Married and your spouse is NOT filing with you. You and your spouse are:
         Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
         Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
      bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
      August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
      Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
      income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                           Column A             Column B
                                                                                                           Debtor 1             Debtor 2 or
                                                                                                                                non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
    (before all payroll deductions).                                                                        $_________            $__________

 3. Alimony and maintenance payments. Do not include payments from a spouse if
    Column B is filled in.                                                                                  $_________            $__________

 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column B is not
    filled in. Do not include payments you listed on line 3.                                                $_________            $__________

 5. Net income from operating a business, profession,
                                                                       Debtor 1       Debtor 2
    or farm
    Gross receipts (before all deductions)                                $______         $______
      Ordinary and necessary operating expenses                       –   $______     –   $______
                                                                                                    Copy
      Net monthly income from a business, profession, or farm             $______         $______ here     $_________            $__________

 6. Net income from rental and other real property                     Debtor 1       Debtor 2
    Gross receipts (before all deductions)                                $______         $______
      Ordinary and necessary operating expenses                       –   $______     –   $______
                                                                                                    Copy
      Net monthly income from rental or other real property               $______         $______ here     $_________            $__________
 7. Interest, dividends, and royalties                                                                      $_________            $__________



Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income
                   Case 19-12826                          Doc 1            Filed 08/20/19 Entered 08/20/19 21:58:54                                                  Desc Main
                                                                           Document      Page 334 of 347
Debtor 1           Gaetano    John Scarpaci
                   _______________________________________________________                                                   Case number (if known)_____________________________________
                   First Name          Middle Name                Last Name



                                                                                                                                Column A                    Column B
                                                                                                                                Debtor 1                    Debtor 2 or
                                                                                                                                                            non-filing spouse

    8. Unemployment compensation                                                                                                  $__________                  $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ............................... 
           For you .................................................................................. $______________
           For your spouse................................................................... $______________

    9. Pension or retirement income. Do not include any amount received that was a
       benefit under the Social Security Act.                                                                                     $__________                 $___________
    10. Income from all other sources not listed above. Specify the source and amount.
        Do not include any benefits received under the Social Security Act or payments received
        as a victim of a war crime, a crime against humanity, or international or domestic
        terrorism. If necessary, list other sources on a separate page and put the total below.

         ______________________________________                                                                                   $_________                  $___________
         ______________________________________                                                                                   $_________                  $___________
         Total amounts from separate pages, if any.                                                                            + $_________                + $___________
    11. Calculate your total current monthly income. Add lines 2 through 10 for each
        column. Then add the total for Column A to the total for Column B.                                                        $_________
                                                                                                                                                       +      $___________
                                                                                                                                                                                  =   $__________
                                                                                                                                                                                      Total current
                                                                                                                                                                                      monthly income

    Pa rt 2 :     De t e rm ine Whe t he r t he M e a ns T e st Applie s t o Y ou

    12. Calculate your current monthly income for the year. Follow these steps:
       12a.     Copy your total current monthly income from line 11. .................................................................................. Copy line 11 here        $__________

                Multiply by 12 (the number of months in a year).                                                                                                                  x 12
       12b.     The result is your annual income for this part of the form.                                                                                                12b.   $__________

    13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household. ............................................................................................. 13.   $__________
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.
    14. How do the lines compare?

       14a.  Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.

       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A–2.

    Pa rt 3 :      Sign Be low

                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                  /s/ Gaetano John Scarpaci
                        __________________________________________________________                                       ______________________________________
                       Signature of Debtor 1                                                                              Signature of Debtor 2

                            08/20/2019
                       Date _________________                                                                             Date _________________
                            MM / DD / YYYY                                                                                     MM / DD / YYYY

                       If you checked line 14a, do NOT fill out or file Form 122A–2.
                       If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯

Official Form 122A-1                                         Chapter 7 Statement of Your Current Monthly Income
                       Case 19-12826           Doc 1       Filed 08/20/19 Entered 08/20/19 21:58:54                              Desc Main
                                                           Document      Page 335 of 347
Fill in this information to identify your case:

Debtor 1           Gaetano John Scarpaci
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:District of Massachusetts District of __________
                                                                                (State)
Case number         ___________________________________________
(If known)
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Gaetano John Scarpaci
          ______________________________________________           _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


              08/20/2019
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                     Declaration About an Individual Debtor’s Schedules
                  Case 19-12826             Doc 1         Filed 08/20/19 Entered 08/20/19 21:58:54                            Desc Main
                                                          Document      Page 336 of 347
 Fill in this information to identify your case:

 Debtor 1          Gaetano John Scarpaci
                   __________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: District
                                          ______________________
                                                  of Massachusetts District of ______________
                                                                             (State)
 Case number         ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                           amended filing




Official Form 107
St a t e m e nt of Fina nc ia l Affa irs for I ndividua ls Filing for Ba nk rupt c y                                                                          4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Pa rt 1 :       Give De t a ils About Y our M a rit a l St a t us a nd Whe re Y ou Live d Be fore


 1. What is your current marital status?


       Married
      
      ✔ Not married



 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     ✔     No
          Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                         Dates Debtor 1        Debtor 2:                                             Dates Debtor 2
                                                                 lived there                                                                 lived there

                                                                                        Same as Debtor 1                                      Same as Debtor 1

               __________________________________________       From     ________         ___________________________________________           From ________
                Number    Street                                                          Number Street
                                                                To       __________                                                             To      ________
               __________________________________________                                 ___________________________________________

               __________________________________________                                 ___________________________________________
               City                     State ZIP Code                                    City                     State ZIP Code


                                                                                        Same as Debtor 1                                      Same as Debtor 1


               __________________________________________       From     ________         ___________________________________________           From ________
                Number    Street                                                          Number Street
                                                                To       ________                                                               To      ________
               __________________________________________                                 ___________________________________________

               __________________________________________                                 ___________________________________________
               City                     State ZIP Code                                    City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     ✔     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 1
                Case 19-12826                   Doc 1            Filed 08/20/19 Entered 08/20/19 21:58:54                                     Desc Main
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Debtor 1        Gaetano John Scarpaci
                _______________________________________________________                                      Case number (if known)_____________________________________
                First Name      Middle Name             Last Name


  Pa rt 2 : Ex pla in t he Sourc e s of Y our I nc om e

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
     
     ✔     Yes. Fill in the details.

                                                                Debtor 1                                              Debtor 2

                                                                Sources of income            Gross income             Sources of income           Gross income
                                                                Check all that apply.        (before deductions and   Check all that apply.       (before deductions and
                                                                                             exclusions)                                          exclusions)


            From January 1 of current year until
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips            $________________
                                                                                              0.00                        bonuses, tips           $________________
            the date you filed for bankruptcy:
                                                                   Operating a business                                 Operating a business


            For last calendar year:
                                                                   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips            $________________
                                                                                              0.00                        bonuses, tips           $________________
            (January 1 to December 31, _________)
                                       2018                     
                                                                ✔   Operating a business                                 Operating a business
                                              YYYY



            For the calendar year before that:                  
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips                                         bonuses, tips
                                                                                             $________________
                                                                                              0.00                                                $________________
            (January 1 to December 31, _________)
                                       2017                        Operating a business                                 Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

          No
     
     ✔     Yes. Fill in the details.

                                                     Debtor 1                                                          Debtor 2

                                                     Sources of income             Gross income from                   Sources of income          Gross income from
                                                     Describe below.               each source                         Describe below.            each source
                                                                                   (before deductions and                                         (before deductions and
                                                                                   exclusions)                                                    exclusions)


                                        _________________________                  $________________
                                                                                    0.00                      _________________________          $________________
 From January 1 of current
 year until the date you                _________________________                  $________________          _________________________          $________________
 filed for bankruptcy:
                                        _________________________                  $_________________         _________________________          $_________________


                                         _________________________
                                         Rocky                        $________________
                                               Nook Waterproofing & Mold Removal
                                                                        213,651.00                             _________________________         $________________
For last calendar year:
                                         _________________________ $________________                           _________________________         $________________
(January 1 to
             2018                        _________________________ $_________________                          _________________________         $_________________
December 31, _________)


For the calendar year                    _________________________ $________________
                                                                    0.00                                       _________________________         $________________
before that:                             _________________________ $________________                           _________________________         $________________
(January 1 to                            _________________________ $_________________                          _________________________         $_________________
             2017
December 31, _________)




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
               Case 19-12826                     Doc 1        Filed 08/20/19 Entered 08/20/19 21:58:54                           Desc Main
                                                              Document      Page 338 of 347
Debtor 1       Gaetano John Scarpaci
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Pa rt 3 :    List Ce rt a in Pa ym e nt s Y ou M a de Be fore Y ou File d for Ba nk rupt c y



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

     
     ✔     No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               
               ✔    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________           _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ______________


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________           _________                                                           Credit card
                      Number    Street
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________                                                                               Other ______________
                      City                    State       ZIP Code




                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________           _________                                                           Credit card
                      Number    Street
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________                                                                               Other _______________
                      City                    State       ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
                   Case 19-12826                  Doc 1          Filed 08/20/19 Entered 08/20/19 21:58:54                            Desc Main
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Debtor 1            Gaetano John Scarpaci
                   _______________________________________________________                            Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     ✔     No
          Yes. List all payments to an insider.
                                                                        Dates of      Total amount      Amount you still   Reason for this payment
                                                                        payment       paid              owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________              _________      $____________ $____________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     ✔     No
          Yes. List all payments that benefited an insider.
                                                                       Dates of        Total amount     Amount you still   Reason for this payment
                                                                       payment         paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________              _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
                  Case 19-12826                        Doc 1             Filed 08/20/19 Entered 08/20/19 21:58:54                                Desc Main
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Debtor 1          Gaetano    John Scarpaci
                  _______________________________________________________                                        Case number (if known)_____________________________________
                  First Name            Middle Name            Last Name




  Pa rt 4 :       I de nt ify Le ga l Ac t ions, Re posse ssions, a nd Fore c losure s

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     
     ✔     No
          Yes. Fill in the details.
                                                                      Nature of the case                   Court or agency                                 Status of the case

    Case title:
                                                                                                          ________________________________________           Pending
                                                                                                          Court Name
                                                                                                                                                             On appeal
                                                                                                          ________________________________________
                                                                                                          Number    Street                                   Concluded


                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number ________________________


                                                                                                          ________________________________________           Pending
                                                                                                          Court Name
    Case title:
                                                                                                                                                             On appeal
                                                                                                          ________________________________________
                                                                                                          Number    Street                                   Concluded


                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number ________________________

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     
     ✔     No. Go to line 11.
          Yes. Fill in the information below.

                                                                                Describe the property                                     Date          Value of the property



                   _________________________________________                                                                              __________     $______________
                   Creditor’s Name


                   _________________________________________
                   Number      Street                                           Explain what happened

                                                                                    Property was repossessed.
                   _________________________________________
                                                                                    Property was foreclosed.
                                                                                    Property was garnished.
                   _________________________________________
                   City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                                Describe the property                                     Date           Value of the property



                                                                                                                                         __________      $______________
                   _________________________________________
                   Creditor’s Name


                   _________________________________________
                   Number      Street
                                                                                Explain what happened

                   _________________________________________                        Property was repossessed.
                                                                                    Property was foreclosed.
                   _________________________________________                        Property was garnished.
                   City                               State   ZIP Code
                                                                                    Property was attached, seized, or levied.



Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
                  Case 19-12826                   Doc 1          Filed 08/20/19 Entered 08/20/19 21:58:54                              Desc Main
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Debtor 1          Gaetano John Scarpaci
                  _______________________________________________________                                Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     ✔     No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     ✔     No
          Yes

 Pa rt 5 :        List Ce rt a in Gift s a nd Cont ribut ions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     ✔     No
          Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600          Describe the gifts                                            Dates you gave        Value
             per person                                                                                                        the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
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Debtor 1            Gaetano John Scarpaci
                    _______________________________________________________                                     Case number (if known)_____________________________________
                    First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     ✔     No
          Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
             that total more than $600                                                                                                   contributed



           _____________________________________                                                                                         _________           $_____________
           Charity’s Name


           _____________________________________                                                                                         _________           $_____________


           _____________________________________
           Number       Street



           _____________________________________
           City            State    ZIP Code




 Pa rt 6 :          List Ce rt a in Losse s


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     ✔    No
          Yes. Fill in the details.

             Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
             the loss occurred                                                                                                                               lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule A/B: Property.


                                                                                                                                         _________           $_____________




 Pa rt 7 :        List Ce rt a in Pa ym e nt s or T ra nsfe rs

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                         transfer was made
             ___________________________________
             Person Who Was Paid

             ___________________________________
             Number       Street                                                                                                         _________           $_____________

             ___________________________________
                                                                                                                                         _________           $_____________
             ___________________________________
             City                       State    ZIP Code


             ____________________________________________
             Email or website address

             ___________________________________
             Person Who Made the Payment, if Not You



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Debtor 1           Gaetano John Scarpaci
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                     transfer was made     payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or   Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                               _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

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                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     ✔     No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust




 Pa rt 8 : List Ce rt a in Fina nc ia l Ac c ount s, I nst rum e nt s, Sa fe De posit Box e s, a nd St ora ge U nit s

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     ✔     No
          Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___              Checking               _________              $___________
            ____________________________________
            Number       Street
                                                                                                         Savings
            ____________________________________                                                         Money market
            ____________________________________
                                                                                                         Brokerage
            City                       State    ZIP Code                                                 Other__________

            ____________________________________                       XXXX–___ ___ ___ ___              Checking               _________              $___________
            Name of Financial Institution
                                                                                                         Savings
            ____________________________________
            Number       Street                                                                          Money market
            ____________________________________                                                         Brokerage
            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     
     ✔  No
          Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                  No
            ____________________________________                  _______________________________________
            Name of Financial Institution                         Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



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                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    
    ✔      No
          Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?


             ___________________________________                     _______________________________________                                                                No
             Name of Storage Facility                                Name                                                                                                   Yes
             ___________________________________                     _______________________________________
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Pa rt 9 :            I de nt ify Prope rt y Y ou H old or Cont rol for Som e one Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     
     ✔   No
          Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Pa rt 1 0 :          Give De t a ils About Environm e nt a l I nform a t ion

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     ✔     No
          Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



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                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     ✔     No
          Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                     Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                          _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     ✔     No
          Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                          case

           Case title
                                                                    ________________________________                                                                         Pending
                                                                    Court Name
                                                                                                                                                                             On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                        Concluded


           Case number                                              ________________________________
                                                                    City                        State   ZIP Code



 Pa rt 1 1 :         Give De t a ils About Y our Busine ss or Conne c t ions t o Any Busine ss

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           
           ✔    A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

          No. None of the above applies. Go to Part 12.
     
     ✔     Yes. Check all that apply above and fill in the details below for each business.
                                                  Describe the nature of the business                                                  Employer Identification number
            Rocky Nook Waterproofing & Mold Removal
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name

            4 Main Street
            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
            Kingston            MA     02364                                                                                           From     _______             To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______                 To _______
            ____________________________________
            City                        State    ZIP Code


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                   First Name      Middle Name              Last Name




                                                                    Describe the nature of the business                     Employer Identification number
                                                                                                                            Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                                                                            Dates business existed

            ____________________________________

                                                                    Name of accountant or bookkeeper
            ____________________________________                                                                            From     _______         To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     ✔     No
          Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Pa rt 1 2 :       Sign Be low


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




           ______________________________________________
            /s/ Gaetano John Scarpaci                                             _____________________________
            Signature of Debtor 1                                                    Signature of Debtor 2


            Date ________________
                  08/20/2019                                                         Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      ✔      No
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      ✔     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




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